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                    Amyloid, hypometabolism, and
CME
                    cognition in Alzheimer disease
                            An [11C]PIB and [18F]FDG PET study
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                                       and D.J. Brooks, MD, DSc



Abstract—Objective: To investigate the association between brain amyloid load in Alzheimer disease (AD) measured by
[11C]PIB-PET, regional cerebral glucose metabolism (rCMRGlc) measured by [18F]FDG-PET, and cognition. Methods:
Nineteen subjects with AD and 14 controls had [11C]PIB-PET and underwent a battery of psychometric tests. Twelve of
those subjects with AD and eight controls had [18F]FDG-PET. Parametric images of [11C]PIB binding and rCMRGlc were
interrogated with a region-of-interest atlas and statistical parametric mapping. [11C]PIB binding and rCMRGlc were
correlated with scores on psychometric tests. Results: AD subjects showed twofold increases in mean [11C]PIB binding in
cingulate, frontal, temporal, parietal, and occipital cortical areas. Higher cortical amyloid load correlated with lower scores
on facial and word recognition tests. Two patients fulfilling the clinical criteria for AD had normal [11C]PIB at baseline.
Over 20 months this remained normal in one but increased in the cingulate of the other. Mean levels of temporal and
parietal rCMRGlc were reduced by 20% in AD and these correlated with mini mental scores, immediate recall, and
recognition memory test for words. Higher [11C]PIB uptake correlated with lower rCMRGlc in temporal and parietal
cortices. Conclusion: [11C]PIB-PET detected an increased amyloid plaque load in 89% of patients with clinically probable
Alzheimer disease (AD). The high frontal amyloid load detected by [11C]PIB-PET in AD in the face of spared glucose
metabolism is of interest and suggests that amyloid plaque formation may not be directly responsible for neuronal
dysfunction in this disorder.
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Amyloid plaques and neurofibrillary tangles are the                          cortical areas of subjects with AD compared with
pathologic hallmark of Alzheimer disease (AD). Post-                         controls.9 Similar results were subsequently reported
mortem studies suggest that amyloid deposition                               by studies comparing the amyloid imaging agents
takes place decades before clinical symptoms of                              [11C]SB-13 and [11C]PIB.10 An [11C]PIB PET study
dementia appear.1,2 Studies have shown correlation                           examining the relationship between brain amyloid
between neurofibrillary tangles (NFTs) and cogni-                            load and CSF amyloid-␤42 has also replicated these
tion,3-5 while the relationship between amyloid                              findings.11 [18F]FDG measures the regional cerebral
plaque load and cognition is inconsistent.6,7                                glucose metabolism (rCMRGlc), a marker of synaptic
   The PET tracer [11C]PIB is an hydroxylated ben-                           activity. [18F]FDG-PET studies show that rCMRGlc
zothiazole (N-methyl-[11-C]2-(4=-methylaminophenyl)-                         is decreased by 10 to 20% in temporoparietal, occipi-
6-hydroxybenzo-thiazole) which has been used as an                           tal cortical regions and posterior cingulate gyri in
amyloid imaging agent.8 It was shown that there is a
                                                                             subjects with AD.
twofold increase in tracer retention in association
                                                                                In this present study we sought to examine the
                                                                             correlation between regional brain amyloid plaque
                                                                             load, measured with [11C]PIB-PET, regional cere-
 Additional material related to this article can be found on the Neurology   bral glucose metabolism, measured with [18F]FDG-
 Web site. Go to www.neurology.org and scroll down the Table of Con-         PET, and behavioral performance of subjects with
 tents for the February 13 issue to find the title link for this article.
                                                                             clinically diagnosed AD. We also used statistical


                                                              Editorial, see page 482

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Table 1 Demography and [11C]PIB uptake ratios

                                                                        AD                                Controls                        p Value

Demography
 Total no.                                                              19                                  14                               —
 Age, y, mean ⫾ SD                                               66.8 ⫾ 5.6                             64.8 ⫾ 6.2                          NS
 Male                                                                   9/19                                8/14                             —
 Duration of diagnosis, months, mean ⫾ SD                        14.5 ⫾ 6.5                                 —                                —
 MMSE, mean ⫾ SD                                                 21.2 ⫾ 3.9                                29–30                          ⬍0.0001
PIB uptake RATIO, mean ⫾ SD
 Hippocampus                                                     1.26 ⫾ 0.19                            1.16 ⫾ 0.14                         NS
 Amygdalae                                                       1.24 ⫾ 0.22                            1.05 ⫾ 0.09                         NS
 Parahippocampus                                                 1.36 ⫾ 0.22                            1.11 ⫾ 0.10                       ⬍0.01
 Primary motor cortex                                            1.70 ⫾ 0.33                            1.26 ⫾ 0.10                       ⬍0.001
 Primary sensory cortex                                          1.76 ⫾ 0.38                            1.21 ⫾ 0.09                       ⬍0.001
 Primary visual cortex                                           1.63 ⫾ 0.33                            1.17 ⫾ 0.10                       ⬍0.001

AD ⫽ Alzheimer disease.



parametric mapping (SPM) to localize significant in-                           msec, flip angle 30 degrees, field of view 25 cm, matrix 156 ⫻ 256,
creases in [11C]PIB uptake in AD at a voxel level.                             voxel dimensions 0.98 ⫻ 0.98 ⫻ 1.6 mm) were acquired for coreg-
                                                                               istration and assessment of atrophy while T2-weighted images
                                                                               were acquired to rule out any structural abnormality in AD and
Methods. We recruited subjects from the Hammersmith Hospi-                     control subjects.
tals Trust and the National Hospital for Neurology and Neurosur-                   [11C]PIB-PET. [11C]PIB was manufactured by Hammer-
gery, London, UK (table 1).                                                    smith Imanet, GE Healthcare, at the Cyclotron Building, Ham-
    Of the 19 subjects with AD who had [11C]PIB-PET, 12 subjects               mersmith Hospital. All subjects with AD and controls were
also had [18F]FDG-PET within 6 weeks (mean 3.4 ⫾ 2.1). All the                 scanned using a Siemens ECAT EXACT HR⫹ scanner21 with an
healthy controls were recruited from the spouses of the AD sub-                axial field of view of 15.5 cm. Sixty-three transaxial image planes
jects. Subjects were assigned a diagnosis of clinically probable AD            were displayed as 2.46-mm slices with a reconstructed axial reso-
based on the National Institute of Neurologic and Communicative                lution of 5.4 mm and a transaxial resolution of 5.6 mm. A 10-
Diseases and Stroke/AD and Related Disorders Association                       minute transmission scan was performed to measure tissue
(NINCDS-ADRDA) criteria.12 All subjects had detailed neurologic                attenuation. Dynamic emission scans were acquired in three-
assessments including taking a history from a close relative, ex-              dimensional mode. All subjects had an IV bolus injection of
amination, and routine blood analysis, and EEG. All AD subjects                [11C]PIB. The mean injected dose was 370 (⫾20) MBq and mean
were treated with acetylcholine esterase inhibitors from the time              specific activity of 20,235(⫾6,240) MBq/␮mol. PET emission scans
of diagnosis. Eighteen of the 19 AD subjects had a detailed neuro-             were acquired over 90 minutes using a predetermined protocol:
psychometric assessment using the following tests: 1) Mini-
                                                                               time frames 1 ⫻ 15s, 1 ⫻ 5s, 1 ⫻ 10s, 2 ⫻ 30s, 9 ⫻ 60s, 3 ⫻ 180s,
Mental State Examination13 (MMSE), 2) Warrington short
                                                                               14 ⫻ 300s. All data processing and image reconstruction was
recognition memory tests (WRTM) for words and faces, 3) AD
                                                                               performed using standard Siemens software which included scat-
Assessment Scale Word List Learning test and 30 minute delayed
                                                                               ter correction.
recall,14 4) immediate and delayed recall of modified complex fig-
                                                                                   Analysis of [11C]PIB-PET. Target region to cerebellum ratios
ure,15 5) Digit Span forwards,16 6) Trail Making Part A,17 7) clock
                                                                               (RATIO). The target region to cerebellar [11C]PIB uptake ratio
drawing,18 8) copy of modified complex figure,15 9) 30-item Boston
Naming Test,19 10) letter fluency (FAS),20 11) category fluency                image was created by dividing a mean 60- to 90-minute tracer
(animals, birds, and dogs).                                                    uptake image by the integral 60- to 90-minute uptake value of
    The inclusion criteria for AD subjects were as follows: 1) age 55          cerebellar gray matter (figure E-1 on the Neurology Web site at
to 79, 2) AD based on NINCDS-ADRDA and Diagnostic and Sta-                     www.neurology.org). Initially a 60- to 90-minute uptake image
tistical Manual of Mental Disorders (DSM-IV) criteria, 3) subjects             was created by integrating the activity collected from 60 to 90
with a clinical diagnosis of AD before they enrolled into the study,           minutes in Matlab 6. Single subject MRIs were coregistered to the
4) adequate visual and auditory acuity to complete the psycholog-              60- to 90-minute images using coregistration software (mpr).22 A
ical testing, 5) a reliable caregiver who could provide information            cerebellar gray matter region of interest (ROI) was traced manu-
about the patient’s clinical symptoms, 6) completion of standard               ally on the coregistered MRI. Mean cerebellar tracer uptake was
ADRC evaluation, and 7) capable of giving informed consent.                    then calculated by sampling the 60- to 90-minute image in Ana-
    The exclusion criteria were 1) significant white matter micro-             lyze AVW 6.1. The 60- to 90-minute image was then divided by the
vascular disease on MRI, 2) depression, 3) current or a recent                 cerebellar uptake value to create a 60- to 90-minute ratio (RATIO)
history of drug or alcohol abuse/dependence, 4) any significant                image using image calculator in Analyze AVW 6.1. Target to cere-
disease or unstable medical condition that could influence neuro-              bellar ratios at these later times provide a blood flow independent
psychological testing, 5) pregnancy, 6) participants in whom MRI               measure of [11C]PIB retention that is easy to calculate, robust,
is contraindicated, 7) a history of schizophrenia, schizoaffective             rests on minimum assumptions, and does not require arterial
disorder, bipolar disorder, or any history of electroconvulsive ther-          sampling.23,24
apy, 8) history of cancer within the last 5 years except skin and                  ROI analysis. We used statistical parametric mapping soft-
prostate cancer.                                                               ware (SPM99, Wellcome Department of Imaging Neuroscience,
    Similar exclusion criteria were also applied when selecting                UCL, London, UK; http:www.fil.ion.ucl.ac.uk/spm) to 1) segment
control subjects. Dementia was excluded in the control subjects by             individual patient MRIs to gray, white, and CSF, 2) coregister
detailed clinical examination and neuropsychological testing. Per-             PET to the individual MRIs, and 3) use individual MRIs to spa-
mission to perform these studies was obtained from the Ethics                  tially transform these and the coregistered PET images into Mon-
Committee of the Hammersmith Hospitals Trust while permission                  treal Neurologic Institute (MNI) standard stereotaxic space.
to administer radiotracers was obtained from the Administration                    Transaxial planes of individual subject MRIs were oriented
of Radioactive Substances Advisory Committee (ARSAC) UK.                       parallel to the AC-PC line. Integral images of [11C]PIB uptake
    MRI. MRIs were obtained with a 1.5 Tesla GE scanner. T1                    were coregistered to their MRI counterparts using SPM99. Then,
volumetric MRI (three-dimensional T1 volume, pulse sequence                    the individual 60 to 90= uptake RATIO images were coregistered
RF-Fast, acquisition times repetition time 30 msec, echo time 3                to the corresponding MRIs. Both coregistered RATIO images and
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MRIs were subsequently spatially normalized to the T1 MRI tem-
plate in MNI/ICBM152 space using the default settings in SPM99.
MRIs were segmented into gray matter, white matter, and CSF
using SPM99, and gray matter images thresholded at 50% proba-
bility. We convolved this binarised gray matter map with the
latest version of a probabilistic brain atlas.25 We then sampled
[11C]PIB uptake RATIO images using Analyze AVW 6.1 in the
following regions: frontal, temporal, and parietal association corti-
ces, anterior and posterior cingulate gyrus, striatum, thalamus,
and a cerebellar gray matter reference region (figure E-2). In
addition, we examined hippocampus, amygdala, and parahip-
pocampal gyrus, primary motor, primary sensory, and primary
visual cortex.
    Statistical parametric mapping of [11C]PIB-PET. Clusters of
significant differences in mean 60- to 90-minute [11C]PIB region
to cerebellar uptake ratios between 19 AD subjects and 14 control
subjects were also localized at a voxel level using SPM99. Spa-
tially normalized RATIO images were interrogated using a
threshold of p ⬍ 0.00001 with an extent threshold of 200 voxels to
detect significant change without applying analysis of covariance       Figure 1. Comparison between mean target region:cerebel-
(ANCOVA) or proportional scaling. As [11C]PIB uptake was high           lar 60 to 90 minutes. [11C]PIB RATIO between 19 sub-
in AD compared with the healthy control subjects SPM was not            jects with Alzheimer disease and 14 controls. Shows
able to interrogate the parametric images at a lower threshold for      anterior cingulate, posterior cingulate, thalamus, stria-
significance. We subsequently used a primary motor, primary sen-
sory, and primary visual cortical ROI mask to allow us to evaluate      tum, frontal, temporal, parietal, and occipital regions sig-
these regions with a lower statistical threshold for significance       nificantly increased (p ⬍ 0.001).
using SPM.
    [18F]FDG-PET scans. All subjects with AD and healthy con-
trols were scanned using a Siemens ECAT EXACT HR⫹ scanner
as described above. Subjects were asked to fast for 4 hours before      Factors consist of a numerical load for both ROIs and psychomet-
the bolus injection of 185 (⫾8) MBq of [18F]FDG. A 60-minute            ric scores. To each factor, SVD associates a singular value. For the
dynamic emission scan was acquired using predefined protocol            purposes of this analysis, singular values were used to calculate
with time frames 1 ⫻ 15s, 1 ⫻ 5s, 4 ⫻ 10s, 4 ⫻ 30s, 4 ⫻ 60s, 4 ⫻        the percentage of variance explained by each factor and Morgera’s
120s, and 9 ⫻ 300s. All subjects had radial artery cannulation.         covariance complexity.29
Continuous online sampling was performed for 15 minutes and
then discrete blood samples were taken at baseline, 5, 10, 15, 20,      Results. [11C]PIB-PET. ROI analysis of [11C]PIB-PET
30, 40, 50, and 60 minutes. A hematocrit was estimated from the         data. Seventeen of the 19 (89%) subjects with AD showed
baseline blood sample and plasma glucose levels were measured           (p ⬍ 0.001) raised [11C]PIB retention in association corti-
on selected samples.
    Analysis of [18F]FDG-PET. Parametric maps of absolute               cal and striatal areas in comparison to the healthy control
rCMRGlc were generated with spectral analysis using an arterial         group (figure 1). We found that levels of mean [11C]PIB
input function as previously described.26,27 We used a lumped con-      uptake in AD hippocampus and amygdala were in the up-
stant of 0.48. For ROI analysis of [18F]FDG scans all the individ-      per normal range while the parahippocampus showed a
ual images were coregistered to their corresponding MRIs and            mild but significant 20% increase in [11C]PIB uptake in
then normalized to MNI space as described above for [11C]PIB.
Gray and white matter were combined when creating the object            comparison to the control group. Primary cortical areas
map and the regions were sampled in the similar way as for              (motor, sensory, and visual cortex) showed around a 40%
[11C]PIB. We interrogated function of the anterior and posterior        increase in amyloid load vs the control group (table 1),
cingulate cortex, thalamus, striatum, frontal, temporal, parietal,      lower than the twofold increases seen in association corti-
and occipital cortical regions. In addition we examined hippocam-       cal areas (figure 1).
pus, amygdale, parahippocampal gyrus, and also sampled primary
motor and primary sensory cortex rCMRGlc.                                  Two of the 19 subjects with AD had regional [11C]PIB
    Statistical parametric mapping of [18F]FDG-PET. A between           uptake that was within the range of control subjects. A
group comparison of parametric rCMRGlc images of 12 AD and              70-year-old woman (Case 1) was clinically diagnosed with
eight control subjects was performed employing SPM to localize          AD 6 months before PET. The MRI showed mild cortical
significant changes in mean [18F]FDG uptake at a voxel level
                                                                        atrophy, but there was no significant hippocampal atro-
using a threshold of p ⬍ 0.001 with an extent threshold of 50
voxels. ANCOVA was applied to remove the confounding effects of         phy. This patient was reassessed 20 months later and
global on regional uptake variance.                                     [11C]PIB uptake was essentially unchanged, however, her
    Statistical analysis. Statistical analyses were performed us-       behavioral performance had deteriorated. [18F]FDG-PET
ing SPSS for Windows version 12 (SPSS, Chicago, IL). Between-           was normal on both occasions. The second patient (Case 2)
group regional differences were analyzed using Student t test.
                                                                        was a 66-year-old man who was also clinically diagnosed
Individual AD subject values outside the control mean ⫾ 2 SD
were taken as statistically significant outliers. Correlations be-      with AD 6 months before PET. MRI showed generalized
tween regional [11C]PIB uptake with regional rCMRGlc were in-           cortical atrophy but did not reveal significant hippocampal
terrogated using Pearson’s correlation. Whole cortical [11C]PIB         atrophy. His [11C]PIB uptake ratios at baseline were
and regional (posterior cingulate, frontal, temporal, parietal, and     within two SD of the control mean. The neuropsychometric
occipital) cortical [11C]PIB uptake were correlated with perfor-
mance on neuropsychometric tests for the 18 subjects with AD
                                                                        scores at the baseline and follow-up after 20 months were
using Spearman’s rank correlation statistic. In 11 subjects with        largely unchanged though some worsened or improved. His
AD the regional cortical and hippocampal, amygdala, and para-           cingulate [11C]PIB uptake at 20 months had mildly in-
hippocampal rCMRGlc were correlated with neuropsychometric              creased: 1.40 in anterior cingulate gyrus (baseline ⫽ 1.17),
scores using Spearman’s rank correlation. Colinearity between           1.31 in posterior cingulate (baseline ⫽ 1.19), and was now
[11C]PIB imaging data and psychometric data were investigated
using Partial Least Squares.28 In short, the method uses singular       above the normal range. He did not have baseline
value decomposition (SVD) to extract the factors of the cross-          [18F]FDG-PET but a scan at 20 months showed a reduc-
covariance matrix between ROI data and the psychometric scores.         tion in hippocampal rCMRGlc.
                                                                                                  February 13, 2007   NEUROLOGY 68      503




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                                                             Figure 3. Reduction in temporoparietal glucose metabo-
                                                             lism comparing 12 subjects with Alzheimer disease vs 8
                                                             controls in SPM (p ⬍ 0.001).

                                                             cingulate showed a relative reduction of 10.8% (p ⬍ 0.008),
                                                             temporal cortex 10.6% (p ⬍ 0.001), and parietal cortex
                                                             5.9% (p ⬍ 0.0003) in AD subjects compared with healthy
                                                             controls. SPM localized significant relative rCMRGlc de-
                                                             creases in temporoparietal and occipital regions in AD, but
                                                             not in frontal regions (figure 3).
                                                                Individually, 10 of our 12 AD cases studied with FDG
                                                             PET showed significant reductions in cortical rCMRGlc.
                                                             Two cases, however, had normal levels of rCMRGlc, one of
                                                             whom had raised and the other normal [11C]PIB uptake.
Figure 2. Localization of increased [11C]PIB uptake in       A sub-analysis of hippocampus rCMRGlc showed individu-
Alzheimer disease compared with normal revealed by           ally decreased glucose metabolism in 9 of the 12 subjects.
SPM, p ⬍ 0.00001. Primary motor (PM) and primary vi-         Those two who did not show decreased cortical hypometab-
sual (PV) cortical areas, thalamus (TH), brainstem (BS),     olism also had normal hippocampal rCMRGlc. Primary
and cerebellum (CB) show no significant increase in PIB      motor and sensory cortex did not show a significant de-
uptake compared with control subjects at that threshold.     crease in rCMRGlc in the subjects with AD. When individ-
                                                             ual rCMRGlc values were compared with [11C]PIB uptake
                                                             ratios, lower rCMRGlc values correlated with higher
   Statistical parametric mapping of [11C]PIB-PET.           [11C]PIB uptake ratios in temporal (p ⫽ 0.047, r ⫽
SPM localized significantly increased mean [11C]PIB up-      ⫺0.583) and parietal (p ⫽ 0.041, r ⫽ ⫺0.595) but not in
take in frontal, temporal, and parietal association areas    frontal (p ⫽ 0.998, r ⫽ 0.001) cortical regions (figure 4).
and the striatum of the AD cohort in comparison to the          Cognitive testing and [11C]PIB uptake in AD. The av-
control group. Primary motor, primary visual cortex, thal-   erage neuropsychometry scores for the AD subjects and
amus, and brainstem [11C]PIB uptake was not signifi-         control subjects are detailed in table 2. Higher whole corti-
cantly raised at a threshold of p ⬍ 0.00001 vs the control   cal [11C]PIB uptake correlated with lower scores on the
group (figure 2). Using a mask to isolate primary motor,     Warrington short recognition memory test for words and
primary sensory, and primary visual areas [11C]PIB up-       faces. Amyloid load in frontal, temporal, parietal, and oc-
take was significantly raised at a threshold of p ⬍ 0.0001
in these regions.
   [18F]FDG-PET. Analysis of [18F]FDG uptake. With
ROI analysis, the AD group of 12 subjects showed mean
rCMRGlc reductions of 23% in the posterior cingulate gy-
rus (p ⬍ 0.0006), 23% in the temporal cortex (p ⬍ 0.0005),
19% in the parietal cortex (p ⬍ 0.0002), and 17% in the
occipital (p ⬍ 0.007) cortex compared to the control
subjects (figure E-3). AD hippocampus showed a mean
rCMRGlc reduction of 32% (p ⬍ 0.001) compared to the
control group. AD amygdale showed a rCMRGlc reduction
of 30% (p ⬍ 0.001), while parahippocampal gyrus showed a     Figure 4. Higher [11C]PIB RATIO correlates with lower
reduction of 27% (p ⬍ 0.001).                                temporal and parietal rCMRGlc, while there is no correla-
   After normalization to whole brain glucose, posterior     tion in the frontal region.
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Table 2 Memory tests of subjects with Alzheimer disease (AD) and control subjects

                                                                                   Forward       Trail        Trail       Boston                      Letter
                              Immediate      Delayed      WRMT         WRMT         digit       Making       Making       Naming         Rey         fluency        Category
                  MMSE          recall        recall      words         faces       span        A (sec)        B           Test          Copy         (FAS)          fluency

Controls, mean   29.4 (1.2)    8.2 (0.9)     7.8 (1.4)   24 (1.3)     21.2 (1.2)   7.7 (2.5)   32.4 (9.7)   69.6 (27.5)   26.2 (2.3)   23.9 (0.3)   46.9 (13.2)    52.4 (12.7)
  (SD)
AD, mean (SD)    21.2 (3.9)    3.9 (1.7)     1.4 (2.6)   17.2 (3.5)   17.9 (3.2)   6.6 (1.7)    107 (81)    205 (112)     17.8 (6)      15 (3.5)    26.6 (11.8)    18.3 (11.1)
p Value           ⬍0.001       ⬍0.001        ⬍0.001       ⬍0.001       ⬍0.001      ⬍0.001       ⬍0.004       ⬍0.001        ⬍0.001       ⬍0.007        ⬍0.01          ⬍0.001

MMSE ⫽ Mini-Mental State Examination; WRMT ⫽ Warrington Recognition Memory Test.



cipital regions also correlated with performance on the                                  high frontal as well as temporoparietal signals. This
Warrington short recognition memory tests for words and                                  pattern of [11C]PIB uptake has previously been de-
faces (table 3). Exclusion of the two AD subjects who had                                scribed9 and, in fact, is in keeping with the known
normal baseline levels of [11C]PIB uptake from the analy-                                pathologic distribution of beta amyloid in AD.30 PIB
sis abolished correlations between recognition memory
                                                                                         is a neutral thioflavin which in AD brain slices
scores and cortical amyloid load. Partial Least Square
analysis revealed that the cross-covariance matrix had one
                                                                                         shows nanomolar affinity for neuritic amyloid
dimension only (Morgera’s Complexity 0.002) that con-                                    plaques but low affinity toward diffuse amyloid de-
sisted of one factor explaining 99% of the total covariance.                             posits and intracellular NFTs. Braak’s pathologic
This factor consisted of all sampled ROI and memory                                      studies have shown that the deposition of amyloid
scores (short faces/short words). When the two subjects                                  plaques in early AD takes place in both the basal
with AD with negligible PIB uptake were excluded, the                                    frontal and temporal neocortex and then spreads to
amount of variance explained by the factor did not change                                the adjoining neocortical areas and hippocampus.30 It
significantly (94% of total covariance).                                                 could be argued that relative sparing of frontal blood
   Relationship between cognitive testing and rCMRGlc in                                 flow could contribute to the relatively raised
AD. We studied 11 subjects with AD. Levels of temporal                                   [11C]PIB signal in AD. However, blood flow indepen-
lobe metabolism correlated with scores for the MMSE
                                                                                         dent DV images of [11C]PIB uptake generated with
(Spearman’s rho, ␳ ⫽ 0.717, p ⫽ 0.013), immediate recall
(␳ ⫽ 0.801, p ⫽ 0.003), category fluency test (␳ ⫽ 0.695, p ⫽
                                                                                         Logan plots or compartmental analysis also show
0.026), and recognition memory for words (␳ ⫽ 0.650, p ⫽                                 increased frontal amyloid making this explanation
0.030). The hippocampal rCMRGlc correlated with imme-                                    unlikely.31
diate recall (␳ ⫽ 0.723, p ⫽ 0.012). Amygdale rCMRGlc                                       The relatively low [11C]PIB uptake by the hip-
correlated with the recognition memory for words (␳ ⫽                                    pocampus, amygdala, and parahippocampus com-
0.632, p ⫽ 0.037). These correlations remained significant                               pared with cortical association areas in AD has not
even after the exclusion of the one patient with AD with                                 been previously reported. As we did not use a partial
normal rCMRGlc levels.                                                                   volume correction it could be argued that the low
                                                                                         [11C]PIB binding in these areas in part reflects atro-
Discussion. Our study demonstrates that uptake                                           phy, however, this explanation cannot fully explain
of the beta amyloid marker [11C]PIB is significantly                                     the low specific signal as we found a twofold increase
increased in early AD vs healthy controls. This is                                       in anterior cingulate amyloid load, a structure of
consistent with findings reported in a previous                                          similar volume. Relatively late deposition of amyloid
study.9 Individually, 17 of our 19 clinically probable                                   in the hippocampus has been described in neuro-
AD subjects revealed an increased amyloid plaque                                         pathologic studies.30 Our [11C]PIB and FDG PET
load and the group showed mean 2- to 2.5-fold in-
                                                                                         findings coupled with neuropathologic observations
creases in association cortical area and cingulate
                                                                                         are important as they suggest that amyloid deposi-
gyri [11C]PIB uptake vs the controls. This magni-
                                                                                         tion is not necessarily associated with neuronal dys-
tude of increase in signal suggests that [11C]PIB-
PET should prove a sensitive diagnostic marker for                                       function, as reflected by the reduced glucose
AD.                                                                                      metabolism in these areas, or impaired performance
   A striking feature of [11C]PIB uptake in AD is the                                    on tests of recall. This viewpoint is reinforced by the


Table 3 Spearman’s rho (␳) correlation with [11C]PIB uptake and neuropsychometry

                              Posterior
                           cingulate gyrus                  Frontal                 Temporal                  Parietal                 Occipital                  Whole brain

WRMT words                     ␳ ⫽ ⫺0.455                  ␳ ⫽ ⫺0.469               ␳ ⫽ ⫺0.494               ␳ ⫽ ⫺0.497                ␳ ⫽ ⫺0.529                  ␳ ⫽ ⫺0.493
                               p ⫽ NS                      p ⫽ 0.050                p ⫽ 0.037                p ⫽ 0.036                 p ⫽ 0.024                   p ⫽ 0.038
WRMT faces                     ␳ ⫽ ⫺0.355                  ␳ ⫽ 0.475                ␳ ⫽ 0.469                ␳ ⫽ ⫺0.552                ␳ ⫽ ⫺0.523                  ␳ ⫽ ⫺0.533
                               p ⫽ NS                      p ⫽ 0.046                p ⫽ 0.050                p ⫽ 0.017                 p ⫽ 0.026                   p ⫽ 0.023

WRMT ⫽ Warrington Recognition Memory Test.

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finding of increased amyloid load in frontal regions      and amygdale hypometabolism clearly demonstrates
without associated reductions in glucose metabolism.      the involvement of the limbic cortex in AD. The re-
   Graphical Logan analysis using an arterial             duced percentage reductions after normalization to
plasma input function has been suggested to be the        global rCMRGlc are attributable to the globally de-
preferred method for [11C]PIB-PET analysis by             creased glucose metabolism in AD subjects compared
Price et al.31 A more simplified ratio method has also    with controls.
been evaluated against arterial plasma input depen-          Along with only moderate increases in [11C]PIB
dent methods.23 Target to cerebellum uptake ratios        uptake relative to association cortex, we found no
over 60 to 90 minutes provide a reliable method of        significant reductions in rCMRGlc for the primary
analysis of [11C]PIB-PET scans, comparable results        motor and sensory cortex rCMRGlc in AD compared
to Logan plot derived DVRs, and are simpler to gen-       with control subjects. There are differences in opin-
erate.23,31 We have previously reported that 60 to 90     ion concerning the involvement of the primary corti-
minute uptake RATIOs correlate closely with DV ra-        cal areas in AD. Neuropathologic studies30,32,39 have
tios generated by both compartmental modeling and         shown that in the preliminary stages of disease there
spectral analysis using arterial input functions.24       is involvement of the basal forebrain, the pathology
The cerebellar time activity curves for [11C]PIB          then spreading to cortical association and only fi-
were not different between patient and control            nally to primary cortical areas.
groups. The advantage of a 60 to 90= RATIO method            In our study we demonstrated that 17 out of 19
is that it potentially shortens the scan time and the     subjects with AD individually had increased levels of
analysis is simple.                                       association cortical [11C]PIB binding while 10 out of
   To date, the use of statistical parametric mapping     12 subjects showed decreased temporo-parietal
(SPM) to interrogate [11C]PIB-PET findings has not        [18F]FDG uptake. After 20 months one of the two
been reported. In AD use of SPM localized wide-           AD subjects with normal [11C]PIB uptake at base-
spread significant increases in [11C]PIB uptake in        line, a 70-year-old woman, continued to show no sig-
frontal, temporal, and parietal association cortices      nificant change on imaging but she had deteriorated
and also in striatum. SPM is voxel based and makes        clinically. The other case, a 66-year-old man, showed
no a priori assumptions about the locations of signif-    mildly increased cingulate [11C]PIB uptake on
icant differences. It allows the entire brain volume to   follow-up and reduced hippocampal rCMRGlc com-
be interrogated and so can detect changes which may       patible with AD. He was started on the cholinester-
not be picked up by an ROI analysis which requires a      ase inhibitor donepezil and reported subjective
predefined template. Compared with the control sub-       improvement though still has poor recall.
jects SPM detected no significantly increased                None of our 14 control subjects had raised levels of
[11C]PIB uptake in the brainstem and thalamus of          [11C]PIB uptake. It has been reported that the pro-
AD subjects. It also showed that, despite the signifi-    portion of subjects exhibiting incidental amyloid de-
cant 2- to 2.5-fold increases in [11C]PIB binding in      posits and neurofibrillary changes rises with
frontal, temporal, parietal, occipital regions, the in-   advancing age.32 We presume that the lack of any
creases in amyloid load in primary cortical areas         significant uptake in our control subjects partly re-
(motor and visual) in AD did not reach significance       flects their relatively young age (mean age 65).
at a threshold of p ⬍ 0.00001. Use of this strict            Using neuropathologic confirmation as a gold
threshold allowed us to see which regions are maxi-       standard, it has been reported that the sensitivity of
mally affected. However, when a lower threshold of        a diagnosis of AD based on clinical criteria varies
p ⬍ 0.0001 was employed and primary motor, pri-           from 49 to 100% (average 81% across series) and
mary sensory, and primary visual cortex were isolated     specificity varies from 47 to 100% (average 70%
with a mask SPM localized a significant uptake in         across series).40 Pathologic studies have confirmed
these regions consistent with the ROI analysis. This is   that it is possible to have significant memory prob-
in line with the pathologic studies that suggest rela-    lems without substantial plaque and tangle load—
tively late involvement of these regions in AD.32         especially in more elderly subjects.6,41 These cases
   [18F]FDG-PET showed the classic AD pattern of          without significant plaque and tangle load presum-
temporo-parietal and posterior cingulate hypometab-       ably have mechanisms other than amyloid deposition
olism in our subjects.33,34 We were also able to dem-     underlying their memory impairment. Although we
onstrate significantly decreased hippocampal and          need pathologic confirmation for a definitive diagno-
amygdalae glucose metabolism in 75% of individual         sis, clinically our two [11C]PIB-PET negative sub-
subject with AD. Even though we did not attempt           jects at baseline fulfilled the NINCDS-ADRDA
a partial volume correction, hippocampal hypome-          criteria for a clinical diagnosis of AD and one of them
tabolism has been reported to be one of the earliest      now shows [11C]PIB PET findings compatible with
functional changes in AD and mild cognitive impair-       early disease.
ment.35 Other groups have also reported reductions           In our study we found a correlation between the
in hippocampal, amygdale, and posterior cingulate         amyloid deposition measured with [11C]PIB PET
hypometabolism in AD.36,37 Lesion studies have docu-      and reduced resting glucose metabolism reflected
mented amnesia in subjects with damage to hip-            by [18F]FDG uptake in temporal and parietal re-
pocampi.38 The hippocampal, parahippocampal gyri          gions while there was a lack of correlation between
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   Amyloid, hypometabolism, and cognition in Alzheimer disease: An [11C]PIB and
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                        GOVERNMENT
                          EXHIBIT

                       4:21-CR-009-GCH
                            No. 142B




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Ex. 142B, p. 12 of 23
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 ORIGINAL ARTICLE



Posterior parietooccipital hypometabolism may differentiate mild
cognitive impairment from dementia in Parkinson’s disease
David Garcia-Garcia & Pedro Clavero & Carmen Gasca
Salas & Isabel Lamet & Javier Arbizu & Rafael Gonzalez-
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Abstract                                                               Results PD patients with MCI (PD-MCI patients) exhibited
Purpose Patients with Parkinson’s disease (PD) may                     decreased FDG uptake in the frontal lobe, and to a lesser
have normal cognition, mild cognitive impairment                       extent in parietal areas compared with cognitively normal
(MCI) or dementia. We investigated differences in cere-                patients. Patients with dementia showed reduced metabo-
bral metabolism associated with these three cognitive                  lism in the parietal, occipital and temporal areas and a less
states and the relationship between metabolism and cog-                extensive reduction in the frontal lobe compared with PD-
nitive dysfunction.                                                    MCI patients, while widespread hypometabolism was seen
Methods FDG PET and a battery of neuropsychological tests              in comparison with patients with normal cognition. PD-MCI
were used to study PD patients with dementia (n019), MCI               patients exhibited reduced FDG uptake in the parietal and
(n028) and normal cognition (n021), and control subjects               occipital lobes and in localized areas of the frontal and
(n020). Regional glucose metabolism in patients and controls           temporal lobes compared with controls, whereas patients
was analysed using statistical parametric mapping (SPM8)               with dementia showed a widespread reduction of cortical
corrected for age, motor severity and depression. Correlations         metabolism. Mini-mental state examination score correlated
between the mini-mental state examination score and Z-score            positively with metabolism in several lobes, executive func-
values of the different cognitive domains with respect to              tion with metabolism in the parietooccipitotemporal junction
cerebral FDG uptake were assessed using SPM8.                          and frontal lobe, memory with temporoparietal metabolism,



David Garcia-Garcia and Pedro Clavero contributed equally to this
work.
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visuospatial function with occipitoparietal and temporal me-        the cognitive states in PD, specifically between dementia and
tabolism, and language with frontal metabolism.                     MCI. We also report the correlations between cerebral metabo-
Conclusion PD patients with MCI exhibited hypometabo-               lism and cognitive status in specific cognitive domains.
lism in several cortical regions compared with controls, and
in the frontal and parietal regions compared with cognitively
normal patients. Hypometabolism was higher in patients              Material and methods
with dementia than in those with MCI, mainly in the poste-
rior cortical areas where it was correlated with visuospatial,      Subjects
memory and executive functions.
                                                                    A cross-sectional study was conducted in patients with PD
Keywords Parkinson’s disease . Mild cognitive impairment .          diagnosed according to the UK Parkinson’s Disease Society
PET . Cerebral metabolism . Dementia                                Brain Bank criteria [22] who were consecutively recruited
                                                                    from the Movement Disorders Unit of the Clinica Universidad
                                                                    de Navarra. Patients over 60 years of age and with a disease
Introduction                                                        duration of at least 10 years were included, as this profile best
                                                                    represents the PD population with the highest risk of cognitive
Cognitive impairment is a frequent comorbidity in Parkinson’s       decline [23]. Exclusion criteria were other brain disorders,
disease (PD), with a reported dementia prevalence of up to 80 %     abnormal findings on MRI (i.e. tumour, hydrocephalus or
in long-term longitudinal studies [1, 2]. Mild cognitive impair-    severe vascular lesions), severe systemic disease, major psy-
ment (MCI) is defined as a cognitive decline that is not normal     chiatric illness, prior cerebral surgery, abnormalities in thyroid
for age but in which essentially normal functional activities can   function, positive VDRL test and low levels of vitamin B12 or
be maintained [3–6]. This condition is also common in PD and        folic acid. Healthy controls were recruited from among mem-
is considered a risk factor for the development of dementia [7].    bers of the Association of Blood Donors of Navarra (Spain).
As yet, the pattern of progression of the cognitive decline from    Controls with any history of neurological, psychiatric or major
MCI to dementia in PD patients has not been well defined, and       medical illness, memory complaints, scores below normal in
longitudinal studies addressing the neuropsychological predic-      the neuropsychological assessment or with MRI abnormalities
tors of dementia in PD have yielded inconsistent results [6–9].     were ruled out. The Ethics Committee for Medical Research
However, a longitudinal study on early PD concluded that            of the University of Navarra approved the study, and all
patients with deficits in tasks with a more temporal and parietal   patients, or their legal representatives, and controls provided
lobe involvement (“posterior cortical” dysfunction) have a          informed consent to participate in the study.
higher risk of developing dementia [10]. Similar results were
found in a cross-sectional study assessing the cognitive changes    Motor assessments
characterizing the transition from MCI to dementia in PD [11].
In keeping with this, a recent longitudinal study involving FDG     The motor state in PD patients was assessed using the
PET showed that patients who develop dementia have reduced          Hoehn and Yahr scale and the motor section of the unified
baseline FDG uptake in the visual association area and posterior    Parkinson’s disease rating scale (UPDRS-III) in the “off”
cingulate cortex [12].                                              (minimum of 12 h without anti-parkinsonian medication)
    Cross-sectional studies with FDG PET have revealed that         and “on” states. Drug intake was recorded and dopaminergic
dementia is associated with widespread areas of cortical            treatment calculated in levodopa equivalents (Table 1).
hypometabolism [13–19], while in PD patients with MCI
(PD-MCI patients), hypometabolism appears to be more                Neuropsychological assessment
localized to the temporoparietooccipital junction and the
frontal cortex [18–20] compared with healthy controls. In           Global cognitive function was evaluated with the mini-mental
addition, PD-MCI patients show reduced FDG uptake in the            state examination (MMSE) [24]. The Interview for Deteriora-
frontal and parietal regions with respect to cognitively nor-       tion in Daily Living in Dementia (IDDD) scale [25] was used to
mal PD (PDCN) patients [19, 21]. However, the metabolic             assess functional independence. Depression was rated using the
changes that distinguish PD-MCI patients from PD patients           Geriatric Depression Rating Scale (GDS) of Yesavage et al.
with dementia (PDD) have not been studied as yet.                   [26]. Different cognitive domains (verbal and visual memory,
    We hypothesized that PDD patients would have greater            attention and executive function, language and visuospatial
hypometabolism in posterior cerebral areas than PD-MCI              function) were evaluated using a battery of neuropsychological
patients. Here, we describe patterns of cerebral metabolism in      tests [27]. Memory was assessed using the Free and Cue Selec-
PD-MCI patients compared with PDD patients and with PDCN            tive Reminding test of Buschke [28], the Cerad word list, and
patients. Our aim was to identify metabolic differences between     the delayed recall of two simple figures (Massachusetts General




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Table 1 General features of the study groups

                                               Control (n020)      PD (n068)      PDCN (n021)       PD-MCI (n028)      PDD (n019)

Age (years), mean (SD)                         67.9 (3.1)          70.6 (6.4)     67 (7.1)          71.5 (3.8)b        73.1 (7.1)a,b
Male gender, n (%)                             11 (55)             37(54.4)       15 (71.4)         14 (50)            8 (42.1)
Disease evolution (years)                      –                   13,6 (5.1)     12.4 (3.8)        14.1 (6)           14.3 (5.1)
UPDRS III “on”, mean (SD)                      –                   20.8 (10.6)    16.4 (7.1)        17.7 (9.1)         30.8 (10.2) c,e
UPDRS III “off”, mean (SD)                     –                   37.9 (12.4)    32.3 (8.4)        33.2 (13.3)        49.4 (10.3) b,d
Levodopa equivalents (mg/day), mean (SD)       –                   1147 (585.7)   1062 (347.2)      1249 (700.8)       1088 (616.5)
GDS score, mean (SD)                           4.4 (4.1)           9.9 (5.2)a     7.8 (5.2)         9.9 (4.9)a         12.8 (5.9)a,b
Hallucinations, n (%)                          –                   18 (26.5)      2 (9.5)           5 (17.8)           11 (57.9)c,e
Hoehn and Yahr scale score, mean (SD)          –                   3 (0.8)        2.6 (0.6)         2.9 (0.7)          3.7 (0.7)   c,e

Education (years), mean (SD)                   9.8 (3)             10.2 (3.2)     11.7 (3.6)        9.9 (3.1)          9 (2.3)
a
    p<0.001 vs. control group
b
    p<0.05 vs. PDCN
c
    p<0.001 vs. PDCN
d
    p<0.05 vs. PD-MCI
e
    p<0.001 vs. PD-MCI

Hospital, Boston). Other tests used were the Raven’s Progres-          deviation from control sample. Single-domain PD-MCI
sive Matrices, semantic (animals) and phonetic (words starting         was diagnosed when abnormalities (the two abnormal
with “p”) verbal fluency [29], Trail Making Test parts A and B,        tests) were present in a single cognitive domain.
the Stroop test and Digit Span Forward and Backwards task for          Multiple-domain PD-MCI was diagnosed when abnormal-
attention and executive functions. The Boston naming test and          ities were present in at least one test in two or more
verbal fluency were evaluated for language, and the copying of         cognitive domains. In addition, to correlate the cognitive
two simple figures and the two intersecting pentagons of the           state with FDG uptake, the Z-score for the different
MMSE were used for testing visuospatial function. All tests            domains was calculated from the average of the Z-
were applied by two members of the team to control subjects            scores of the tests assessing each domain. Patients not
and patients under treatment, and were used alongside the              fulfilling criteria for MCI or dementia were considered to
diagnostic criteria to diagnose PD patients as being cognitively       have cognitively normal PD.
normal, as having MCI or as having dementia.
                                                                       FDG PET
Criteria for diagnosing cognitive status
                                                                       Image data acquisition
The clinical diagnostic criteria for dementia in PD [30]
were applied to diagnose dementia in the present study.                Patients were studied in the “on” pharmacological condition
MCI was diagnosed in nondemented patients when the                     (i.e. under the effect of their usual anti-parkinsonian dopa-
following two features were present: (1) cognitive decline             minergic medication). Central nervous system depressant
was reported by either the patient or informant, or ob-                drugs such as benzodiazepines, neuroleptics or antidepres-
served by the neurologist, but the decline did not inter-              sive treatments were withdrawn according to their pharma-
fere significantly with the functional independence of the             cological kinetics. Additionally, subjects fasted overnight
patient; (2) the patient scored more than 1.5 standard                 before PET scanning. Before injection of the radiopharma-
deviations below control values in at least two tests in               ceutical, blood glucose was checked and was <120 mg/dL in
the neuropsychological battery, either within a single                 all patients. After a few minutes of rest in silence and with
cognitive domain or across different cognitive domains                 dimmed lighting, 18F-FDG (370 MBq) was injected intra-
[31]. Values used to determine test score deviations in                venously, and subjects were required to rest for 40 min in
PD patients were taken from a sample of 20 age- and                    the supine position on the PET scanner bed with their eyes
education-matched healthy control subjects. Individual                 closed. Then, 74 planes (128×128 matrix) were acquired
neuropsychological test scores were transformed into Z-                with a voxel size of 2.06×2.06×2.06 mm during a 20-min
scores using the mean and standard deviation of the                    scan using a Siemens ECAT EXAT HR+ scanner (Siemens,
control sample according to the following formula: (test               Knoxville, TN). A transmission scan in 3D mode for atten-
score − median score from control sample)/standard                     uation correction was performed at the end of the acquisition




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period [32]. Images were reconstructed by means of a fil-        III, GDS scores and Z-scores of the different cognitive
tered back-projection method using ECAT software (version        domains and glucose metabolism was assessed in PD
7.2; Siemens).                                                   patients using regression analysis and significance set at p
                                                                 <0.001 uncorrected, with a cluster size of >20 voxels.
Data analysis                                                        The coordinates of the voxel peaks were transformed into
                                                                 Talairach space using the mni2tal program by Dr. M. Brett
Data were processed using statistical parametric mapping         (http://imaging.mrc-cbu.cam.ac.uk/imaging/MniTalairach)
(SPM8) software (Wellcome Department of Neurology,               and their anatomical locations were found using Talairach
London, UK) implemented in Matlab 7.13 (MathWorks Inc.           Daemon Client [39].
Sherborn, MA). First, we created a customized FDG PET
template using data from the control sample (n020). For this     Statistics
purpose, all control subjects were scanned with a 1.5-T Sie-
mens Symphony system using a three-dimensional T1-               Differences in the demographic and clinical characteristics
weighted gradient-echo sequence (acquisition parameters:         between the PD groups and controls were analysed using
coronal acquisition, TR/TE/TI 1,900/3.36/1,100 ms, flip an-      Fisher’s exact test in cases of categorical variables, analysis
gle 15°, 144 slices, FOV 187×250 mm, matrix 192×256,             of variance with post-hoc Bonferroni’s multiple comparison
voxel size 0.98×1.6×0.98 mm). Thus, control FDG PET              in cases of continuous, normally distributed variables, and
images were coregistered with their corresponding MR             the Kruskal-Wallis and Mann-Whitney U tests for continu-
images. MR images were segmented using the SPM8 seg-             ous, nonparametric variables. The normality of the distribu-
mentation tool [33] in MATLAB 7.0. Grey matter (GM) and          tions of clinical and demographic variables was assessed
white matter templates were generated from the entire image      using the Kolmogorov-Smirnov test. A value of p<0.05 was
dataset using the DARTEL technique [34]. After an initial        considered to indicate statistical significance.
affine registration of the GM DARTEL templates to the tissue
probability maps in Montreal Neurological Institute (MNI)
space [35], nonlinear warping of the GM images was per-          Results
formed to normalize them onto the MNI space. The spatial
normalization parameters of each MR image were then              Clinical data
applied to each corresponding coregistered FDG PET
image. The FDG PET template was obtained by averaging            The subjects included 20 controls and 68 PD patients (21
the spatially normalized PET images and smoothing using an       PDCN, 28 PD-MCI, and 19 PDD). The demographic and
isotropic gaussian filter with a full-width at half-maximum of   clinical characteristics of all groups are summarized in
8 mm.                                                            Table 1. With the exception of a higher GDS score, PD
   All FDG PET images were spatially normalized into a           patients did not differ from control subjects. PDD patients
standard stereotactic MNI space using the customized FDG         were older than controls and PDCN patients. They also had
template. For every spatially normalized PET image, voxel        higher GDS scores than PDCN patients, and had more
values were normalized to pons activity (becquerels per          severe parkinsonism (UPDRS and Hoehn and Yahr scores)
centimetre cubed) using the pons volume of interest (Nifti       and more hallucinations than PDCN and PD-MCI patients.
format) from WFU PickAtlas v3.0 [12, 36–38]. Finally, the        The PD-MCI patients were older than PDCN patients, with
resulting PET scans were smoothed with an isotropic gauss-       no other differences in clinical features.
ian filter with a full-width at half-maximum of 8 mm.               Compared with the controls and PDCN patients, PDD
Changes in metabolism were assessed by analysis of the           patients had poorer scores in all neuropsychological tests,
preprocessed images using one-way analysis of variance.          while with respect to PD-MCI patients, they had poorer
Age and GDS score were included as covariates for the            scores in all but the recall of figures and word delayed recall
metabolism comparison between controls and patients,             tests (Supplementary Table 1). PD-MCI patients in turn had
while for the metabolism comparison between the different        lower scores than PDCN patients for all tests, with the
groups of patients, age, UPDRS-III and GDS scores were           exception of the Buschke and the copying of simple figures
included as covariates. Significance was set at p<0.05 and       and intersecting pentagon tests. The cognitive domains af-
corrected for multiple comparisons, i.e. a false discovery       fected in PD-MCI patients were as follows: three patients
rate (FDR) with a cluster size of >20 voxels. In the compar-     (10.7 %) had only the executive domain affected; 14
ison between PD-MCI and PDCN patients in which less              patients (50 %) had two domains affected (executive and
significant differences would be expected, significance was      memory in nine patients, executive and visuospatial in four
set to p<0.001 uncorrected, similar to previous works in the     patients, executive and language in one patient); six patients
field [18, 19]. The correlation between the MMSE, UPDRS-         (21.4 %) had three domains affected (executive, memory




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and language in five patients, and executive, visuospatial     the caudate nucleus compared with controls (Fig. 2A;
and memory in one patient); and five patients (17.4 %) had     Supplementary Table 3). In PD-MCI patients, more local-
four domains affected. No differences were found between       ized hypometabolic areas were identified in the parietal
controls and PDCN patients (Supplementary Table 1).            (mainly in the angular gyrus) and occipital lobes, and to a
                                                               lesser extent in the frontal and temporal lobes (Fig. 2B;
Regional differences in FDG PET                                Supplementary Table 3). PDCN patients did not show hypo-
                                                               metabolic areas compared with controls. No regions of
Comparison between PD groups                                   reduced metabolism were identified in the control subjects
                                                               compared with the PD patients.
PDD patients had extensive bilateral areas of reduced
FDG uptake in the frontal, parietal, occipital and tempo-      Correlation between cerebral metabolism and cognitive state
ral lobes and in the posterior cingulate cortex compared       in PD patients
with PDCN patients (Fig. 1A). PDD patients had a lower
metabolism mainly in posterior brain areas (parietal, oc-      A positive correlation between FDG uptake and MMSE
cipital and temporal lobes) than PD-MCI patients, and          score in all PD patients was observed for uptake in the
also, albeit to a lesser extent, in the right frontal lobe     parietal, occipital, temporal and frontal lobes, and in the
(Fig. 1B; Supplementary Table 2). Compared with PDCN           anterior cingulate cortex and caudate nucleus using GDS
patients, PD-MCI patients did not exhibit regions of           and UPDRS-III scores and age as nuisance variables
reduced metabolism. However, using a relatively lower          (Fig. 3). In addition, there were positive correlations be-
conservative threshold (p<0.001 uncorrected), PD-MCI           tween the Z-score of cognitive domains and FDG uptake
patients showed hypometabolism that was mainly local-          as follows: executive function in the parietal, frontal and
ized in the left frontal lobe and to a lesser extent in the    occipitotemporal junction; memory with temporal and pari-
left parietal lobe (Fig. 1C; Supplementary Table 2). PDCN      etal regions; visuospatial function with posterior areas (occi-
patients did not show reduced FDG uptake in any region         pitoparietal and temporal) uptake; and language with
compared with PDD and PD-MCI patients. Likewise, PD-           anterior areas mainly the frontal lobe (Fig. 4). No correlation
MCI patients did not show reduced FDG uptake in any region     between the GDS score and FDG uptake was observed.
compared with PDD patients.
                                                               Regions with hypermetabolism and clinical correlation
Comparison between PD groups and controls
                                                               Compared with control subjects, PD patients exhibited in-
As expected, PDD patients showed an extensive bilateral        creased metabolism in the putamen, thalamus and cerebel-
reduction in FDG uptake in the frontal, parietal, occipital    lum and in the motor cortical (paracentral gyrus) areas
and temporal lobes, in the anterior cingulate cortex, and in   bilaterally, but there were no differences among the PD




Fig. 1 Regions with reduced metabolism comparing PDD, PD-MCI and PDCN patients: A PDD<PDCN, B PDD<PD-MCI, C PD-MCI<PDCN (p
<0.05 FDR corrected for A and B; p<0.001 uncorrected for C; age, GDS and UPDRS III score as covariates in all comparisons)




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Fig. 2 Regions with reduced metabolism comparing PDD patients and PD-MCI patients with respect to control subjects: A PDD<controls, B PD-
MCI<controls (p<0.05 FDR corrected; age and GDS score as covariates)


groups (Fig. 5A–C). Moreover, FDG uptake in cortical areas            showed a reduction in metabolism that predominated in
was positively correlated with the UPDRS-III score but                the frontal lobe and to a lesser extent in the parietal lobe.
there was no correlation with the MMSE score (Fig. 5D).               In contrast, hypometabolism in PDD patients compared with
                                                                      PD-MCI patients was mainly located in posterior brain
                                                                      regions (parietal, occipital and posterior temporal areas)
Discussion                                                            and to a lesser extent in the frontal lobe. We also found that,
                                                                      compared with controls, PDD and PD-MCI patients shared a
We compared cerebral FDG uptake in PDCN, PD-MCI and                   common pattern of reduced metabolism in the parietal and
PDD patients, and control subjects. A major finding was               occipital lobes, and to a lesser extent in the frontal and
that with respect to PDCN patients, PD-MCI patients                   temporal lobes. However, in PDD patients the cortical




Fig. 3 Positive correlations between MMSE score and FDG uptake in all PD patients (p<0.001 uncorrected; age, GDS and UPDRS-III as
covariates)




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Fig. 4 Positive correlations between the Z-score of cognitive domains altered in PD patients and FDG uptake


hypometabolism was more widespread affecting wider cor-                 predominant temporal and parietal lobe (“posterior corti-
tical and subcortical areas compared to that seen in control            cal”) dysfunction have a higher risk of dementia than those
subjects. Taken together, our data suggest that dementia in             with only a frontal executive dysfunction [10]. In keeping
PD is characterized by a more intense and widespread                    with this, a recent longitudinal study showed that patients
cerebral hypometabolism than MCI in PD patients and that                who develop dementia after 3.9 years of follow-up have a
this hypometabolism predominates in posterior cortical                  low performance in delayed visual reproduction learning
areas. We also found that deficits in different cognitive               and a reduced FDG uptake in the visual association and
domains in PD were associated with reduced cerebral me-                 posterior cingulate cortex at baseline compared to controls
tabolism involving different brain regions. Thus, our results           [12]. In addition, hypometabolism in the parietooccipito-
further define aspects of cerebral metabolism associated                temporal and medial temporal brain has been correlated with
with MCI and dementia in PD.                                            visuospatial and mnemonic functioning in PD patients [40].
   Most previous studies have focused on comparing the                  Here we report that PDD patients have reduced FDG uptake
cerebral metabolism of PD patients with that of control                 compared with PD-MCI patients mainly in the parietal,
subjects [13–17, 20], but putative distinctive features among           occipital and posterior temporal areas, supporting the notion
the different cognitive states in PD have been poorly eluci-            that a cognitive deficit based on posterior cortical function
dated. While a reduction in FDG uptake in the posterior and             (i.e. visuospatial and memory) is the main difference be-
frontal cortices of PD-MCI patients compared with PDCN                  tween the two cognitive states.
patients has been identified in some studies [18, 19, 21], no               We also found that PD-MCI patients exhibited a reduction
study has been carried out to compare differences between               in metabolism in the frontal and parietal lobes compared with
PD-MCI and PDD patients. A cross-sectional study [11]                   PDCN patients. Previous FDG PET studies have shown
demonstrated that dementia differs from MCI by both a                   similar results [19] or more extensive hypometabolism in
generalized failure in executive function and the addition              the posterior cortex [18, 21]. The discrepancy is probably
of “posterior cortical dysfunction” (naming and clock copy              due to the different criteria used for the diagnosis of MCI.
tests). Further to this, the Cambridge longitudinal study               For example, when a clinical scale (the clinical dementia
showed that PD patients with deficits in tasks revealing a              rating scale) for staging the severity of dementia was used




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Fig. 5 Regional increases in metabolism comparing PDD, PD-MCI          and GDS score as covariates). D Positive correlation between UPDRS
and PDCN patients with respect to control subjects: A PDCN>controls;   III score and FDG uptake (p<0.001 uncorrected)
B PD-MCI>controls; C PDD>controls (p<0.05 FDR corrected; age


and MCI was diagnosed for a score of 0.5, corresponding to             sense, previous cerebral FDG PET studies did not highlight
very mild dementia, patients with MCI had more extensive               differences between PD patients with single-domain MCI
hypometabolism in the posterior cortex than PDCN patients              and those with normal cognition. In contrast [19, 21],
[18]. In a similar manner to Huang et al. [19], we used a more         patients with multiple-domain MCI showed reduced metab-
stringent diagnostic criterion based on 1.5 standard devia-            olism in the frontal and parietal lobes, and less consistently
tions in neuropsychological test scores with respect to con-           in the temporal lobe than PDCN patients [18, 19, 21]. In the
trol subjects’ scores. This approach probably resulted in the          present study, all but three patients with PD-MCI had a
classification of PD-MCI patients with lower levels of cog-            multiple-domain type of MCI, giving more consistency to
nitive deficits. Consequently, these data also reinforce the           the differences found in cerebral metabolism underlying
association between more severe cognitive deficits and a               each cognitive state in patients with PD [10, 11].
higher level of posterior cortical hypometabolism.                        We have also demonstrated a relationship between meta-
    It should be noted that the diagnostic criteria for MCI are        bolic findings and cognitive state given the correlations ob-
still under development, and MCI in PD requires further                served between the severity of the global and cognitive
definition [31]. Currently, MCI in PD includes different               domain deficits measured by MMSE and the corresponding
cognitive abnormalities depending upon the number and                  Z-scores, respectively, and regions of reduced metabolism in
type of cognitive domains affected. As yet, whether a given            PD patients after correcting for age, depression (GDS score)
subtype of MCI in patients with PD might confer a higher               and motor severity (UPDRS-III). We found that executive
risk of developing dementia has not been clarified. A single           function mainly correlated with metabolism in the parietooc-
prospective study in a small number of patients showed that            cipitotemporal junction and frontal lobe, while memory cor-
single and multiple-domain non-amnestic forms of MCI                   related with metabolism in the temporal and parietal regions,
were more associated with the development of dementia                  and visuospatial function correlated with posterior areas (occi-
4 years later [7]. Although ongoing longitudinal studies will          pitoparietal and temporal). In contrast, language was correlat-
eventually clarify this point, it is probable that PD patients         ed with metabolism in anterior (mainly frontal) areas. These
with multiple-domain MCI have a more severe or advanced                results are in keeping with those of previous studies in PD
cognitive decline than those with single-domain forms, and             patients showing that bilateral hypometabolism in the frontal
therefore are at a higher risk of developing dementia. In this         and parietal regions and in the parietooccipitotemporal and




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medial temporal brain correlate with executive dysfunction         addition, we used a more advanced version of the software
[41–45] and visuospatial and mnemonic functioning, respec-         for image analysis (i.e. SPM8) and corrected our data more
tively [40]. Although partially limited by the lack of data in     thoroughly than in previous studies (FDR corrected at p<
normal individuals, the correlations reported here also indicate   0.05). Admittedly, as a result of the use of this conservative
that the higher posterior hypometabolism in PDD with respect       threshold, PD-MCI patients did not show regions of reduced
to PD-MCI patients is related to a worsening of executive          metabolism compared with PDCN patients. Thus, differen-
dysfunction and to the addition of visuospatial and memory         ces between PD-MCI and PDCN patients were obtained
deficits.                                                          only with the less-conservative analysis (uncorrected p<
   This was a cross-sectional study seeking to identify met-       0.001). However, the metabolic differences previously
abolic differences between PDD and PD-MCI patients. Con-           reported between these two groups of patients (PD-MCI
sidering that MCI forms part of the cognitive decline              and PDCN) have also been obtained with uncorrected data
preceding the development of dementia, only large longitu-         [18, 19, 21].
dinal studies will allow a better definition of clinical MCI
and of the changes that characterize the transition from MCI       Conclusion
to dementia. Our findings therefore require confirmation in
prospective studies with a larger number of patients. Never-       Our study demonstrated that PD-MCI patients exhibited
theless, we have studied a large number of PD patients             hypometabolism (decreased FDG uptake) in numerous ce-
considered to be at high risk of developing dementia [23].         rebral areas compared with controls, and in the frontal and
Indeed, it has been reported that the development of sub-          parietal regions compared with PDCN patients. In contrast,
stantial abnormalities in the defined cognitive network ex-        dementia in PD was characterized by a more expansive
pression in PD takes places by the end of the first decade         cerebral hypometabolism than MCI, with predominance in
following clinical onset [14]. Patients in our study were          the posterior cortical areas. The reduction in FDG uptake in
studied while under dopaminergic treatment, but the doses          these posterior areas correlated with poorer outcomes in
were not different between the different groups and it is          visuospatial, memory and executive functions. Taken to-
known that dopaminergic drugs do not have a significant            gether, these results indicate that dementia in PD is associ-
impact on the pattern of cognitive expression detected in          ated with a worsening of executive dysfunction along with
FDG PET [14, 41]. Moreover, there were no differences in           an impairment of visuospatial and memory function.
other treatments that could have interfered with the results;
for example, only three PDD patients [46] were receiving           Acknowledgments This study was supported by a grant from the
                                                                   Government of Navarra (32/2007), by a grant from FIS (ISCIII), and
treatment with cholinesterase inhibitors, which would have
                                                                   CIBERNED, Spain. We thank Ainara Estanga for her critical review of
increased the FDG uptake [46].                                     the article.
     The disease duration was not different among the
groups, but one limitation of this study is that, due to the       Conflicts of interest Maria C. Rodriguez-Oroz is on the advisory
                                                                   board of UCB Spain. She has received payment for lectures, as
natural course of the disease and the age at which dementia
                                                                   well as travel and accommodation to attend scientific meetings
most frequently occurs, PDD patients exhibited a greater           from GlaxoSmithKline, UCB, Lundbeck and Medtronic. She has
degree of motor disability than patients in the other groups,      received research funding from national and regional government
were older on average and had higher depression scale              bodies in Spain. Jose Obeso has served previously on the Advisory
                                                                   Board of GSK (UK), and received honorarium for lectures given at
scores than PDCN patients and controls [16, 17, 47–50]. It
                                                                   meetings organized by GSK (Spain), Lundbeck-TEVA and UCB.
should be noted that the metabolic pattern related to motor        Grants/Research: Funding from Spanish Science and Education
aspects is different from that related to cognition [14]. In       Ministry and European Union (REPLACES). The other authors
addition, we did not identify any correlation between de-          have no conflicts of interest to report concerning the research dealt
                                                                   with in this manuscript.
pression score and cerebral metabolism. However, the data
were corrected for age, motor severity and depression, and
therefore we believe the results would not have been signif-
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    Parkinson’s disease with and without mild cognitive impairment.             A, et al. Relationships among the metabolic patterns that correlate
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Eur J Nucl Med Mol Imaging (2012) 39:1767–1777                                                                                                 1777

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      esterase inhibitor therapy. J Nucl Med. 2008;49(12):2006–11.                kinson’s disease. J Neurol Neurosurg Psychiatry. 2012;83(2):188–94.
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      disease: a multicenter pooled analysis. Neurology. 2010;75                  kinson’s disease patients: a combined (31)P-MRS and (18)FDG-
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Gov. Ex. 143
                      GOVERNMENT
                        EXHIBIT

                     4:21-CR-009-GCH
                          No. 143




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Gov. Ex. 144
                      GOVERNMENT
                        EXHIBIT

                     4:21-CR-009-GCH
                          No. 144




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Ex. 144, p. 2 of 3
Ex. 144, p. 3 of 3
Gov. Ex. 146
                      GOVERNMENT
                        EXHIBIT

                     4:21-CR-009-GCH
                          No. 146




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Ex. 146, p. 2 of 2
Gov. Ex. 147
                      GOVERNMENT
                        EXHIBIT

                     4:21-CR-009-GCH
                          No. 147




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Ex. 147, p. 2 of 2
Gov. Ex. 148
                      GOVERNMENT
                        EXHIBIT

                     4:21-CR-009-GCH
                          No. 148




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Ex. 148, p. 2 of 2
Gov. Ex. 149
                      GOVERNMENT
                        EXHIBIT

                     4:21-CR-009-GCH
                          No. 149




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Gov. Ex. 150
                      GOVERNMENT
                        EXHIBIT

                     4:21-CR-009-GCH
                          No. 150




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Ex. 150, p. 2 of 3
Ex. 150, p. 3 of 3
Gov. Ex. 151
                      GOVERNMENT
                        EXHIBIT

                     4:21-CR-009-GCH
                          No. 151




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Ex. 151, p. 4 of 9
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Ex. 151, p. 6 of 9
Ex. 151, p. 7 of 9
Ex. 151, p. 8 of 9
Ex. 151, p. 9 of 9
Gov. Ex. 152
                      GOVERNMENT
                        EXHIBIT

                     4:21-CR-009-GCH
                          No. 152




Ex. 152, p. 1 of 1
Gov. Ex. 156
                                                HOUSTON METHODIST                        Brockman, Robert T
                                                SERVICE AREA                             MRN: 003768603, DOB:        1941, Sex: M
                                                6560 Fannin Street
                                                HOUSTON TX 77030
                                                                     Patient
Demographics
Name: Robert T Brockman
Address:                   HOUSTON TX 77027
Date of birth:     1941                     Sex: Male                                                Gender identity: Male
Ethnicity: Not Hispanic or Latino           Race: Caucasian                                          Email: BOB_BROCKMAN@REYREY.COM
Home phone: 713-680-9635                    Work phone: 917-576-2721                                 Mobile: 713-412-9916
   Relationships
    Name                                                             Relation to Patient         Phone Number
    Brockman, dorothy                                                Spouse                      Mobile: 713-516-1270 (primary)
                                                                                                 Home: 713-516-1270


Immunizations
   No documentation.

Advance Care Planning
   Plan
      Patient Capacity
          The patient has full capacity. There is no history of patient status change.


      Current Code Status
           Date Active            Code Status Order ID         Comments                       User                        Context
           Not on file

      Health Care Agents
          There are no Health Care Agents on file.




Patient Contacts
   Patient Contacts
      Name                                Relationship                        Phone                      Roles
      Brockman, dorothy                   Spouse                              713-516-1270




                                                                                                                         GOVERNMENT
                                                                                                                           EXHIBIT

                                                                                                                        4:21-CR-009-GCH
                                                                                                                             No. 156




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                                           HOUSTON METHODIST                 Brockman, Robert T
                                           SERVICE AREA                      MRN: 003768603, DOB:       1941, Sex: M
                                           6560 Fannin Street
                                           HOUSTON TX 77030
                                                      Patient (continued)
Patient Level Scans
   Notice of Privacy Practice
      Electronic signature on 2/2/2021 9:14 AM (effective from 2/2/2021 expires 1/31/2027) - E-signed




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                                         HOUSTON METHODIST        Brockman, Robert T
                                         SERVICE AREA             MRN: 003768603, DOB:   1941, Sex: M
                                         6560 Fannin Street
                                         HOUSTON TX 77030
                                                Patient (continued)
Patient Level Scans (continued)




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                                         HOUSTON METHODIST        Brockman, Robert T
                                         SERVICE AREA             MRN: 003768603, DOB:   1941, Sex: M
                                         6560 Fannin Street
                                         HOUSTON TX 77030
                                                Patient (continued)
Patient Level Scans (continued)




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                                           HOUSTON METHODIST                 Brockman, Robert T
                                           SERVICE AREA                      MRN: 003768603, DOB:            1941, Sex: M
                                           6560 Fannin Street
                                           HOUSTON TX 77030
                                                       Patient (continued)
Patient Level Scans (continued)

   PO - Consent for Treatment
      Electronic signature on 2/2/2021 9:15 AM (effective from 2/2/2021 expires 2/1/2022) - 1 of 10 e-signatures recorded




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                                         HOUSTON METHODIST        Brockman, Robert T
                                         SERVICE AREA             MRN: 003768603, DOB:   1941, Sex: M
                                         6560 Fannin Street
                                         HOUSTON TX 77030
                                                Patient (continued)
Patient Level Scans (continued)




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                                         HOUSTON METHODIST        Brockman, Robert T
                                         SERVICE AREA             MRN: 003768603, DOB:   1941, Sex: M
                                         6560 Fannin Street
                                         HOUSTON TX 77030
                                                Patient (continued)
Patient Level Scans (continued)




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                                         HOUSTON METHODIST        Brockman, Robert T
                                         SERVICE AREA             MRN: 003768603, DOB:   1941, Sex: M
                                         6560 Fannin Street
                                         HOUSTON TX 77030
                                                Patient (continued)
Patient Level Scans (continued)




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                                         HOUSTON METHODIST        Brockman, Robert T
                                         SERVICE AREA             MRN: 003768603, DOB:   1941, Sex: M
                                         6560 Fannin Street
                                         HOUSTON TX 77030
                                                Patient (continued)
Patient Level Scans (continued)




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                                           HOUSTON METHODIST                 Brockman, Robert T
                                           SERVICE AREA                      MRN: 003768603, DOB:      1941, Sex: M
                                           6560 Fannin Street
                                           HOUSTON TX 77030
                                                      Patient (continued)
Patient Level Scans (continued)

   PO Add - Consent for Treatment
      Electronic signature on 2/2/2021 9:15 AM (effective from 2/2/2021 expires 2/1/2022) - E-signed




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                                         HOUSTON METHODIST        Brockman, Robert T
                                         SERVICE AREA             MRN: 003768603, DOB:   1941, Sex: M
                                         6560 Fannin Street
                                         HOUSTON TX 77030
                                                Patient (continued)
Patient Level Scans (continued)




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                                         HOUSTON METHODIST        Brockman, Robert T
                                         SERVICE AREA             MRN: 003768603, DOB:   1941, Sex: M
                                         6560 Fannin Street
                                         HOUSTON TX 77030
                                                Patient (continued)
Patient Level Scans (continued)




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                                         HOUSTON METHODIST        Brockman, Robert T
                                         SERVICE AREA             MRN: 003768603, DOB:   941, Sex: M
                                         6560 Fannin Street
                                         HOUSTON TX 77030
                                                Patient (continued)
Patient Level Scans (continued)




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                                               HMH SCURLOCK                      Brockman, Robert T
                                               6560 Fannin                       MRN: 003768603, DOB:         1941, Sex: M
                                               HOUSTON TX 77030                  Visit date: 3/19/2021

                           03/19/2021 - Orders Only in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Provider Information
       Encounter Provider
       Lai, Eugene C., MD

   Department
       Name                                      Address                              Phone                   Fax
       HMNI Stanley H Appel Dept of              6560 Fannin Street Suite 802         713-441-3780            713-790-5079
       Neurology                                 Houston TX 77030-2725



Research Study Linked to Orders Only on 3/19/2021
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 3/19/2021
      Problems last reviewed by Lai, Eugene C., MD on 2/3/2021 0759

       Altered mental status [last edited by Escleto, Mary Yvette, RN on 3/15/2021 1232]
        Diagnosis: Altered mental status             Noted on: 03/15/2021                       Chronic: No

       AMS (altered mental status) [last edited by Bakshy, Aric Gill, MD on 3/15/2021 0921]
        Diagnosis: AMS (altered mental status)       Noted on: 03/15/2021                       Chronic: No

       Bacteremia [last edited by Patel, Amitkumar Natvarlal, MD on 3/16/2021 0859]
        Diagnosis: Bacteremia                        Noted on: 03/16/2021                       Chronic: No

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
        Diagnosis: Dementia associated with          Noted on: 01/08/2020                       Chronic: No
        Parkinson's disease (HCC)

       Idiopathic peripheral neuropathy [last edited by Lai, Eugene C., MD on 2/21/2020 2038]
        Diagnosis: Idiopathic peripheral             Noted on: 02/21/2020                       Chronic: No
        neuropathy

       Mixed anxiety depressive disorder [last edited by Lai, Eugene C., MD on 2/21/2020 2037]
        Diagnosis: Mixed anxiety depressive          Noted on: 02/21/2020                       Chronic: No
        disorder

       Parkinson disease (HCC) [last edited by Bingley, Desiree Y, RN on 3/18/2021 1611]
        Diagnosis: Parkinson disease (HCC)           Noted on: 03/18/2021                       Chronic: No

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
        Diagnosis: Parkinson's disease (HCC)         Noted on: 01/08/2020                       Chronic: No


   Allergies as of 3/19/2021
      Allergies last reviewed by Smit, Nicola, RN on 3/15/2021 1758
      No Known Allergies


   History as of 3/19/2021
       Medical History as of 3/19/2021
                Medical last reviewed by Winn, Kiziah, RN on 3/15/2021

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                                                HMH SCURLOCK                     Brockman, Robert T
                                                6560 Fannin                      MRN: 003768603, DOB:         1941, Sex: M
                                                HOUSTON TX 77030                 Visit date: 3/19/2021
                  03/19/2021 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

               None


       Surgical History as of 3/19/2021
               Surgical last reviewed by Winn, Kiziah, RN on 3/15/2021
               None


       Substance & Sexuality History as of 3/19/2021
           Tobacco Use as of 3/19/2021
                   Tobacco Use last reviewed by Winn, Kiziah, RN on 3/15/2021

               Smoking Status                         Smoking Start Date    Smoking Quit Date      Packs/Day           Years Used
               Never Smoker                           —                     —                      —                   —
                                                                                                   Smokeless
                                                                            Smokeless Tobacco      Tobacco Quit
               Types                                  Comments              Status                 Date                Source
               —                                      —                     Never Used             —                   Provider


           Alcohol Use as of 3/19/2021
                   Alcohol Use last reviewed by Winn, Kiziah, RN on 3/15/2021

               Alcohol Use                   Drinks/Week             Alcohol/Week               Comments                  Source
               Never                                                 —                          —                         Provider


           Drug Use as of 3/19/2021
                   Drug Use last reviewed by Winn, Kiziah, RN on 3/15/2021

               Drug Use                      Types                   Frequency                  Comments                  Source
               Never                         —                       —                          —                         Provider


           Sexual Activity as of 3/19/2021
                   Sexual Activity last reviewed by Winn, Kiziah, RN on 3/15/2021

               Sexually Active               Birth Control           Partners                   Comments                  Source
               Defer                         —                       —                          —                         Provider



       Socioeconomic History as of 3/19/2021
           Occupational as of 3/19/2021
                   Occupational last reviewed by Winn, Kiziah, RN on 3/15/2021
                   None



           Socioeconomic as of 3/19/2021
                   Socioeconomic last reviewed by Winn, Kiziah, RN on 3/15/2021

              Marital       Spouse        Number of      Years       Education   Preferred
              Status        Name          Children       Education   Level       Language    Ethnicity     Race          Source
              Married       —             —              —           —           English     Not           Caucasian     —
                                                                                             Hispanic or

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                                                 HMH SCURLOCK                      Brockman, Robert T
                                                 6560 Fannin                       MRN: 003768603, DOB:             1941, Sex: M
                                                 HOUSTON TX 77030                  Visit date: 3/19/2021
                   03/19/2021 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

                                                                                                Latino



       Social Documentation History as of 3/19/2021
                Social Documentation last reviewed by Winn, Kiziah, RN on 3/15/2021
                None




Medication List
   Medication List
      This report is for documentation purposes only. The patient should not follow medication instructions within.
      For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.

       Active at the End of Visit
         Medications last reviewed by Smit, Nicola, RN on 3/15/2021 1759

           buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Start date: 10/9/2019                                            Informant: Family Member

           levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 75 mcg by mouth every morning.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Start date: 10/9/2019                                           Informant: Family Member

           testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
           1/8/2020 1311]
            Instructions: Place 1 Squirt on the skin daily.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Informant: Family Member

           traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 50 mg by mouth nightly.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Start date: 3/13/2019                                           Informant: Family Member

           omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 1 capsule by mouth daily.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Informant: Family Member

           levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
            Instructions: Take 1 tablet by mouth daily.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Start date: 10/1/2019                                           End date: 6/1/2021
            Informant: Family Member

           rosuvastatin (CRESTOR) 5 mg tablet [reconciled by Pena, Flor, MA on 2/2/2021 0921]
            Instructions: Take 5 mg by mouth daily.
            Entered by: Pena, Flor, MA                                      Entered on: 2/2/2021
            Start date: 11/10/2020                                          Informant: Family Member

           Myrbetriq 50 mg tablet extended release 24 hr [reconciled by Pena, Flor, MA on 2/2/2021 0921]

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                                                HMH SCURLOCK                         Brockman, Robert T
                                                6560 Fannin                          MRN: 003768603, DOB:    1941, Sex: M
                                                HOUSTON TX 77030                     Visit date: 3/19/2021
                  03/19/2021 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

         Instructions: Take 50 mg by mouth daily.
         Entered by: Pena, Flor, MA                                          Entered on: 2/2/2021
         Start date: 12/14/2020                                              End date: 6/1/2021
         Informant: Family Member

         carbidopa-levodopa (SINEMET) 25-100 mg per tablet [patient reported]
          Instructions: Take 2 tablets by mouth 3 (three) times a day.
          Entered by: Guandique, Zulma                                        Entered on: 3/15/2021
          Informant: Family Member

         rivastigmine (EXELON) 9.5 mg/24 hr [patient reported]
          Instructions: Place 1 patch on the skin daily.
          Entered by: Guandique, Zulma                                        Entered on: 3/15/2021
          Informant: Family Member

         apixaban (ELIQUIS) 2.5 mg tablet [patient reported]
          Instructions: Take 2.5 mg by mouth 2 (two) times a day.
          Entered by: Guandique, Zulma                                        Entered on: 3/15/2021
          Informant: Family Member

         ciprofloxacin (CIPRO) 500 MG tablet
          Instructions: Take 1 tablet (500 mg total) by mouth 2 (two) times a day for 10 days.
          Authorized by: Patel, Amitkumar Natvarlal, MD                     Ordered on: 3/19/2021
          Start date: 3/19/2021                                             End date: 3/29/2021
          Quantity: 20 tablet                                               Refill: No refills remaining

         tamsulosin (FLOMAX) 0.4 mg capsule
          Instructions: Take 1 capsule (0.4 mg total) by mouth daily with dinner for 30 days.
          Authorized by: Patel, Amitkumar Natvarlal, MD                      Ordered on: 3/19/2021
          Start date: 3/19/2021                                              End date: 4/18/2021
          Quantity: 30 capsule                                               Refill: No refills remaining

         Lactobacillus acidoph-L.bulgar (FLORANEX) 1 million cell tablet
          Instructions: Take 1 tablet by mouth 3 (three) times a day for 30 days.
          Authorized by: Patel, Amitkumar Natvarlal, MD                      Ordered on: 3/19/2021
          Start date: 3/19/2021                                              End date: 4/18/2021
          Quantity: 90 tablet                                                Refill: No refills remaining

         clonAZEPAM (KlonoPIN) 0.5 MG tablet
          Instructions: One tablet by mouth at bedtime
          Authorized by: Lai, Eugene C., MD                                   Ordered on: 3/19/2021
          Start date: 3/19/2021                                               End date: 6/19/2021
          Action: Patient taking differently                                  Quantity: 90 tablet
          Refill: No refills remaining


       Stopped in Visit
         None




                  03/19/2021 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders
   Medications
       clonAZEPAM (KlonoPIN) 0.5 MG tablet [419846811] (Active)

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                                              HMH SCURLOCK                         Brockman, Robert T
                                              6560 Fannin                          MRN: 003768603, DOB               1941, Sex: M
                                              HOUSTON TX 77030                     Visit date: 3/19/2021
                 03/19/2021 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

      Electronically signed by: Lai, Eugene C., MD on 03/19/21 1522                                                           Status: Active
      Ordering user: Lai, Eugene C., MD 03/19/21 1522                 Ordering provider: Lai, Eugene C., MD
      Authorized by: Lai, Eugene C., MD                               Ordering mode: Standard
      Frequency: Routine 03/19/21 - 06/19/21 2359                     Class: Normal
      Admin instructions: One tablet by mouth at bedtime
                                                                  Order Details

          Order Details
             Priority                                   Expected                                   Study Status
             Routine                                    3/19/2021 3:22 PM

          Order Details
             Frequency                       Duration                        Priority                         Order Class
             None                            None                            Routine                          Normal

          Order History                                                                                                            Outpatient
             Date/Time          Action Taken              User                            Additional Information
             03/19/21 1522      Sign                      Lai, Eugene C., MD
             05/31/21 2056      Do Not Order for          Ahmed, Yahya, MD
                                Admission

          clonAZEPAM (KlonoPIN) 0.5 MG tablet [419846811]
             Dose, Route, Frequency: As Directed
             Dispense Quantity: 90 tablet        Refills: 0

             Sig: One tablet by mouth at bedtime
             Patient taking differently: Take 0.5 mg by mouth nightly as needed (Taking only if Patient can't sleep). One tablet by mouth at
             bedtime

             Start Date: 03/19/21                   End Date: 06/19/21
             Written Date: 03/19/21                 Expiration Date: 09/15/21
             Providers
                Ordering Provider and Authorizing Provider:
                 Lai, Eugene C., MD
                 6560 FANNIN ST SUITE 802, HOUSTON TX
                77030
                 Phone: 713-441-0239 Fax: 713-790-5044
                 NPI: 1790871002

                Ordering User: Lai, Eugene C., MD


             Pharmacy
                Briargrove Pharmacy - Houston, TX - 6435 San Felipe
                6435 San Felipe, Houston TX 77057
                Phone: 713-783-5704 Fax: 713-783-5482


          Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.




                           03/19/2021 - Orders Only in HMNI Stanley H Appel Dept of Neurology
                                                     All Parent Orders


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                                            HMH SCURLOCK                   Brockman, Robert T
                                            6560 Fannin                    MRN: 003768603, DOB:          1941, Sex: M
                                            HOUSTON TX 77030               Visit date: 3/19/2021
                         03/19/2021 - Orders Only in HMNI Stanley H Appel Dept of Neurology
                                            All Parent Orders (continued)

                                                     Medications - All Orders
clonAZEPAM (KlonoPIN) 0.5 MG tablet [419846811]
Electronically signed by: Lai, Eugene C., MD on 03/19/21 1522                                                       Status: Active
Ordering user: Lai, Eugene C., MD 03/19/21 1522                  Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                Ordering mode: Standard
Frequency: Routine 03/19/21 - 06/19/21 2359                      Class: Normal
Admin instructions: One tablet by mouth at bedtime



                         03/19/2021 - Orders Only in HMNI Stanley H Appel Dept of Neurology
                                                 Diagnosis Summary
Visit Information
   Date & Time                      Provider                      Department                        Encounter #
   3/19/2021 3:17 PM                Lai, Eugene C., MD            HMNI Stanley H Appel Dept of      2100096593104
                                                                  Neurology




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                                               HMH SCURLOCK                      Brockman, Robert T
                                               6560 Fannin                       MRN: 003768603, DOB:         1941, Sex: M
                                               HOUSTON TX 77030                  Visit date: 3/19/2021

                                03/19/2021 - Refill in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Contacts
                                  Type                Contact                         Phone                   User
       03/19/2021 02:59 PM        Interface           Briargrove Pharmacy -           713-783-5704            Interface, Surescripts In
       CDT                        (Incoming)          Houston, TX - 6435 San Felipe

   Nursing Assessment
       No Nursing Assessment available for this encounter.

   Questionnaires
       No completed forms available for this encounter.



Research Study Linked to Refill on 3/19/2021
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 3/19/2021
      Problems last reviewed by Lai, Eugene C., MD on 2/3/2021 0759

       Altered mental status [last edited by Escleto, Mary Yvette, RN on 3/15/2021 1232]
        Diagnosis: Altered mental status            Noted on: 03/15/2021                        Chronic: No

       AMS (altered mental status) [last edited by Bakshy, Aric Gill, MD on 3/15/2021 0921]
        Diagnosis: AMS (altered mental status)      Noted on: 03/15/2021                        Chronic: No

       Bacteremia [last edited by Patel, Amitkumar Natvarlal, MD on 3/16/2021 0859]
        Diagnosis: Bacteremia                       Noted on: 03/16/2021                        Chronic: No

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
        Diagnosis: Dementia associated with         Noted on: 01/08/2020                        Chronic: No
        Parkinson's disease (HCC)

       Idiopathic peripheral neuropathy [last edited by Lai, Eugene C., MD on 2/21/2020 2038]
        Diagnosis: Idiopathic peripheral            Noted on: 02/21/2020                        Chronic: No
        neuropathy

       Mixed anxiety depressive disorder [last edited by Lai, Eugene C., MD on 2/21/2020 2037]
        Diagnosis: Mixed anxiety depressive         Noted on: 02/21/2020                        Chronic: No
        disorder

       Parkinson disease (HCC) [last edited by Bingley, Desiree Y, RN on 3/18/2021 1611]
        Diagnosis: Parkinson disease (HCC)          Noted on: 03/18/2021                        Chronic: No

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
        Diagnosis: Parkinson's disease (HCC)        Noted on: 01/08/2020                        Chronic: No


   Allergies as of 3/19/2021
      Allergies last reviewed by Smit, Nicola, RN on 3/15/2021 1758
      No Known Allergies


   History as of 3/19/2021


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                                                HMH SCURLOCK                     Brockman, Robert T
                                                6560 Fannin                      MRN: 003768603, DOB:         1941, Sex: M
                                                HOUSTON TX 77030                 Visit date: 3/19/2021
                        03/19/2021 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

      Medical History as of 3/19/2021
               Medical last reviewed by Winn, Kiziah, RN on 3/15/2021
               None


       Surgical History as of 3/19/2021
               Surgical last reviewed by Winn, Kiziah, RN on 3/15/2021
               None


       Substance & Sexuality History as of 3/19/2021
           Tobacco Use as of 3/19/2021
                   Tobacco Use last reviewed by Winn, Kiziah, RN on 3/15/2021

               Smoking Status                         Smoking Start Date    Smoking Quit Date      Packs/Day       Years Used
               Never Smoker                           —                     —                      —               —
                                                                                                   Smokeless
                                                                            Smokeless Tobacco      Tobacco Quit
               Types                                  Comments              Status                 Date            Source
               —                                      —                     Never Used             —               Provider


           Alcohol Use as of 3/19/2021
                   Alcohol Use last reviewed by Winn, Kiziah, RN on 3/15/2021

               Alcohol Use                   Drinks/Week             Alcohol/Week               Comments              Source
               Never                                                 —                          —                     Provider


           Drug Use as of 3/19/2021
                   Drug Use last reviewed by Winn, Kiziah, RN on 3/15/2021

               Drug Use                      Types                   Frequency                  Comments              Source
               Never                         —                       —                          —                     Provider


           Sexual Activity as of 3/19/2021
                   Sexual Activity last reviewed by Winn, Kiziah, RN on 3/15/2021

               Sexually Active               Birth Control           Partners                   Comments              Source
               Defer                         —                       —                          —                     Provider



       Socioeconomic History as of 3/19/2021
           Occupational as of 3/19/2021
                   Occupational last reviewed by Winn, Kiziah, RN on 3/15/2021
                   None



           Socioeconomic as of 3/19/2021
                   Socioeconomic last reviewed by Winn, Kiziah, RN on 3/15/2021

              Marital       Spouse        Number of      Years       Education   Preferred
              Status        Name          Children       Education   Level       Language    Ethnicity     Race      Source

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                                                 HMH SCURLOCK                      Brockman, Robert T
                                                 6560 Fannin                       MRN: 003768603, DOB:             1941, Sex: M
                                                 HOUSTON TX 77030                  Visit date: 3/19/2021
                        03/19/2021 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

            Married        —              —               —         —             English       Not           Caucasian   —
                                                                                                Hispanic or
                                                                                                Latino



       Social Documentation History as of 3/19/2021
                Social Documentation last reviewed by Winn, Kiziah, RN on 3/15/2021
                None




Medication List
   Medication List
      This report is for documentation purposes only. The patient should not follow medication instructions within.
      For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.

       Active at the End of Visit
         Medications last reviewed by Smit, Nicola, RN on 3/15/2021 1759

           buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Start date: 10/9/2019                                            Informant: Family Member

           levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 75 mcg by mouth every morning.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Start date: 10/9/2019                                           Informant: Family Member

           testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
           1/8/2020 1311]
            Instructions: Place 1 Squirt on the skin daily.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Informant: Family Member

           traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 50 mg by mouth nightly.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Start date: 3/13/2019                                           Informant: Family Member

           omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 1 capsule by mouth daily.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Informant: Family Member

           levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
            Instructions: Take 1 tablet by mouth daily.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Start date: 10/1/2019                                           End date: 6/1/2021
            Informant: Family Member

           rosuvastatin (CRESTOR) 5 mg tablet [reconciled by Pena, Flor, MA on 2/2/2021 0921]
            Instructions: Take 5 mg by mouth daily.
            Entered by: Pena, Flor, MA                                      Entered on: 2/2/2021
            Start date: 11/10/2020                                          Informant: Family Member

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                                                HMH SCURLOCK                         Brockman, Robert T
                                                6560 Fannin                          MRN: 003768603, DOB:    1941, Sex: M
                                                HOUSTON TX 77030                     Visit date: 3/19/2021
                       03/19/2021 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)


         Myrbetriq 50 mg tablet extended release 24 hr [reconciled by Pena, Flor, MA on 2/2/2021 0921]
          Instructions: Take 50 mg by mouth daily.
          Entered by: Pena, Flor, MA                                          Entered on: 2/2/2021
          Start date: 12/14/2020                                              End date: 6/1/2021
          Informant: Family Member

         carbidopa-levodopa (SINEMET) 25-100 mg per tablet [patient reported]
          Instructions: Take 2 tablets by mouth 3 (three) times a day.
          Entered by: Guandique, Zulma                                        Entered on: 3/15/2021
          Informant: Family Member

         rivastigmine (EXELON) 9.5 mg/24 hr [patient reported]
          Instructions: Place 1 patch on the skin daily.
          Entered by: Guandique, Zulma                                        Entered on: 3/15/2021
          Informant: Family Member

         apixaban (ELIQUIS) 2.5 mg tablet [patient reported]
          Instructions: Take 2.5 mg by mouth 2 (two) times a day.
          Entered by: Guandique, Zulma                                        Entered on: 3/15/2021
          Informant: Family Member

         ciprofloxacin (CIPRO) 500 MG tablet
          Instructions: Take 1 tablet (500 mg total) by mouth 2 (two) times a day for 10 days.
          Authorized by: Patel, Amitkumar Natvarlal, MD                     Ordered on: 3/19/2021
          Start date: 3/19/2021                                             End date: 3/29/2021
          Quantity: 20 tablet                                               Refill: No refills remaining

         tamsulosin (FLOMAX) 0.4 mg capsule
          Instructions: Take 1 capsule (0.4 mg total) by mouth daily with dinner for 30 days.
          Authorized by: Patel, Amitkumar Natvarlal, MD                      Ordered on: 3/19/2021
          Start date: 3/19/2021                                              End date: 4/18/2021
          Quantity: 30 capsule                                               Refill: No refills remaining

         Lactobacillus acidoph-L.bulgar (FLORANEX) 1 million cell tablet
          Instructions: Take 1 tablet by mouth 3 (three) times a day for 30 days.
          Authorized by: Patel, Amitkumar Natvarlal, MD                      Ordered on: 3/19/2021
          Start date: 3/19/2021                                              End date: 4/18/2021
          Quantity: 90 tablet                                                Refill: No refills remaining

         clonAZEPAM (KlonoPIN) 0.5 MG tablet
          Instructions: One tablet by mouth at bedtime
          Authorized by: Lai, Eugene C., MD                                   Ordered on: 3/19/2021
          Start date: 3/19/2021                                               End date: 6/19/2021
          Action: Patient taking differently                                  Quantity: 90 tablet
          Refill: No refills remaining


       Stopped in Visit
         None




                       03/19/2021 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders


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                                               HMH SCURLOCK                            Brockman, Robert T
                                               6560 Fannin                             MRN: 003768603, DOB:             1941, Sex: M
                                               HOUSTON TX 77030                        Visit date: 3/19/2021
                        03/19/2021 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

   Medications
      clonAZEPAM (KlonoPIN) 0.5 MG tablet [Pharmacy Med Name: clonazepam 0.5 mg tablet] [419846810] (Pending)
       Electronically signed by: Lai, Eugene C., MD on 03/19/21 1506                                                          Status: Pending
       Ordering user: Lai, Eugene C., MD 03/19/21 1506                   Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD
       Frequency: 03/19/21 - Until Discontinued                          Class: Normal
       Pended by: Interface, Surescripts In 03/19/21 1459
       Medication comments: This prescription was filled on 3/19/2021. Any refills authorized will be placed on file.
                                                                   Order Details

          Order Details
             Priority                                    Expected                                    Study Status
                                                         3/19/2021 3:06 PM

          Order Details
             Frequency                        Duration                         Priority                         Order Class
             None                             Until Discontinued               None                             Normal

          Order History                                                                                                            Outpatient
             Date/Time           Action Taken              User                             Additional Information
             03/19/21 1459       Pend                      Interface, Surescripts In
             03/19/21 1506       Sign                      Lai, Eugene C., MD

          clonAZEPAM (KlonoPIN) 0.5 MG tablet [Pharmacy Med Name:
          clonazepam 0.5 mg tablet] [419846810]
             Dose, Route, Frequency: As Directed
             Dispense Quantity: 30 tablet         Refills: 1
             Note to Pharmacy: This prescription was filled on 3/19/2021. Any refills authorized will be placed on file.

             Sig: TAKE 1 TABLET BY MOUTH IN THE EVENING AT BEDTIME

             Start Date: 03/19/21                    End Date: --
             Written Date: --                        Expiration Date: --
             Ordering Date: 03/19/21
             Providers
                 Ordering Provider and Authorizing Provider:
                  Lai, Eugene C.
                  6560 FANNIN ST SUITE 802, HOUSTON TX
                 77030
                  Phone: 713-441-0239 Fax: 713-790-5044
                  NPI: 1790871002

                 Ordering User: Lai, Eugene C., MD


             Pharmacy
                 Briargrove Pharmacy - Houston, TX - 6435 San Felipe
                 6435 San Felipe, Houston TX 77057
                 Phone: 713-783-5704 Fax: 713-783-5482


          Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.


      Eliquis 2.5 mg tablet [419846809] (Pending)
       Electronically signed by: Lai, Eugene C., MD on 03/19/21 1506                                                          Status: Pending

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                                              HMH SCURLOCK                             Brockman, Robert T
                                              6560 Fannin                              MRN: 003768603, DOB:          1941, Sex: M
                                              HOUSTON TX 77030                         Visit date: 3/19/2021
                        03/19/2021 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

      Ordering user: Lai, Eugene C., MD 03/19/21 1506                      Ordering provider: Lai, Eugene C., MD
      Authorized by: Lai, Eugene C., MD
      Frequency: 03/19/21 - Until Discontinued                             Class: Normal
      Pended by: Interface, Surescripts In 03/19/21 1459
      Reordered from: apixaban (ELIQUIS) 2.5 mg tablet
                                                                      Order Details

          Order Details
             Priority                                   Expected                                   Study Status
                                                        3/19/2021 3:06 PM

          Order Details
             Frequency                        Duration                         Priority                      Order Class
             None                             Until Discontinued               None                          Normal

          Order History                                                                                                         Outpatient
             Date/Time          Action Taken               User                             Additional Information
             03/19/21 1459      Pend                       Interface, Surescripts In
             03/19/21 1506      Sign                       Lai, Eugene C., MD               Reorder from Order: 418718833

          Eliquis 2.5 mg tablet [419846809]
             Dose, Route, Frequency: As Directed
             Dispense Quantity: 180 tablet       Refills: 0

             Sig: TAKE 1 TABLET BY MOUTH TWICE DAILY

             Start Date: 03/19/21                End Date: --
             Written Date: --                    Expiration Date: --
             Ordering Date: 03/19/21
             Original Order: apixaban (ELIQUIS) 2.5 mg tablet [418718833]
             Providers
                Ordering Provider and Authorizing Provider:
                 Lai, Eugene C.
                 6560 FANNIN ST SUITE 802, HOUSTON TX
                77030
                 Phone: 713-441-0239 Fax: 713-790-5044
                 NPI: 1790871002

                Ordering User: Lai, Eugene C., MD


             Pharmacy
                Briargrove Pharmacy - Houston, TX - 6435 San Felipe
                6435 San Felipe, Houston TX 77057
                Phone: 713-783-5704 Fax: 713-783-5482


          Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.




                              03/19/2021 - Refill in HMNI Stanley H Appel Dept of Neurology
                                                      All Parent Orders


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                                              HMH SCURLOCK                        Brockman, Robert T
                                              6560 Fannin                         MRN: 003768603, DOB:           1941, Sex: M
                                              HOUSTON TX 77030                    Visit date: 3/19/2021
                              03/19/2021 - Refill in HMNI Stanley H Appel Dept of Neurology
                                              All Parent Orders (continued)
                                                       Medications - All Orders
Eliquis 2.5 mg tablet [419846809]
Electronically signed by: Lai, Eugene C., MD on 03/19/21 1506                                                               Status: Pending
Ordering user: Lai, Eugene C., MD 03/19/21 1506                        Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD
Frequency: 03/19/21 - Until Discontinued                               Class: Normal
Pended by: Interface, Surescripts In 03/19/21 1459
Reordered from: apixaban (ELIQUIS) 2.5 mg tablet [418718833]

clonAZEPAM (KlonoPIN) 0.5 MG tablet [Pharmacy Med Name: clonazepam 0.5 mg tablet] [419846810]
Electronically signed by: Lai, Eugene C., MD on 03/19/21 1506                                                               Status: Pending
Ordering user: Lai, Eugene C., MD 03/19/21 1506                         Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD
Frequency: 03/19/21 - Until Discontinued                                Class: Normal
Pended by: Interface, Surescripts In 03/19/21 1459
Medication comments: This prescription was filled on 3/19/2021. Any refills authorized will be placed on file.



                              03/19/2021 - Refill in HMNI Stanley H Appel Dept of Neurology
                                                     Diagnosis Summary
Visit Information
   Date & Time                       Provider                            Department                         Encounter #
   3/19/2021 2:59 PM                 Lai, Eugene C., MD                  HMNI Stanley H Appel Dept of       2100096591186
                                                                         Neurology




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                                                 HMH SCURLOCK                     Brockman, Robert T
                                                 6560 Fannin                      MRN: 003768603, DOB:          1941, Sex: M
                                                 HOUSTON TX 77030                 Visit date: 2/2/2021

                             02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Provider Information
       Encounter Provider                            Authorizing Provider                       Referring Provider
       Lai, Eugene C., MD                            Lai, Eugene C., MD                         Pool, James L., MD

   Department
       Name                                      Address                              Phone                     Fax
       HMNI Stanley H Appel Dept of              6560 Fannin Street Suite 802         713-441-3780              713-790-5079
       Neurology                                 Houston TX 77030-2725

   Follow-up and Dispositions
      ·    Return in about 4 months (around 6/2/2021) for Next scheduled follow up.


   Level of Service
       Level of Service
       PR OFFICE/OUTPATIENT ESTABLISHED MOD MDM 30-39 MIN



Research Study Linked to Office Visit on 2/2/2021
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 2/2/2021
      Problems last reviewed by Lai, Eugene C., MD on 2/2/2021 1008

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
          Diagnosis: Dementia associated with        Noted on: 01/08/2020                       Chronic: No
          Parkinson's disease (HCC)

       Idiopathic peripheral neuropathy [last edited by Lai, Eugene C., MD on 2/21/2020 2038]
          Diagnosis: Idiopathic peripheral           Noted on: 02/21/2020                       Chronic: No
          neuropathy

       Mixed anxiety depressive disorder [last edited by Lai, Eugene C., MD on 2/21/2020 2037]
          Diagnosis: Mixed anxiety depressive        Noted on: 02/21/2020                       Chronic: No
          disorder

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
          Diagnosis: Parkinson's disease (HCC)       Noted on: 01/08/2020                       Chronic: No


   Allergies as of 2/2/2021
      Allergies last reviewed by Lai, Eugene C., MD on 2/2/2021 1008
      No Known Allergies


   History as of 2/2/2021
       Medical History as of 2/2/2021
                 Medical last reviewed by Lai, Eugene C., MD on 2/2/2021
                 None


       Surgical History as of 2/2/2021


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                                               HMH SCURLOCK                      Brockman, Robert T
                                               6560 Fannin                       MRN: 003768603, DOB:         1941, Sex: M
                                               HOUSTON TX 77030                  Visit date: 2/2/2021
                   02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

               Surgical last reviewed by Lai, Eugene C., MD on 2/2/2021
               None


       Family History as of 2/2/2021
           Family History as of 2/2/2021



       Substance & Sexuality History as of 2/2/2021
           Tobacco Use as of 2/2/2021
                   Tobacco Use last reviewed by Lai, Eugene C., MD on 2/2/2021

               Smoking Status                        Smoking Start Date    Smoking Quit Date       Packs/Day           Years Used
               Never Smoker                          —                     —                       —                   —
                                                                                                   Smokeless
                                                                           Smokeless Tobacco       Tobacco Quit
               Types                                 Comments              Status                  Date                Source
               —                                     —                     Never Used              —                   Provider


           Alcohol Use as of 2/2/2021
                   Alcohol Use last reviewed by Pena, Flor, MA on 2/2/2021

               Alcohol Use                  Drinks/Week             Alcohol/Week               Comments                   Source
               Never                                                —                          —                          Provider


           Drug Use as of 2/2/2021
                   Drug Use last reviewed by Pena, Flor, MA on 2/2/2021

               Drug Use                     Types                   Frequency                  Comments                   Source
               Never                        —                       —                          —                          Provider


           Sexual Activity as of 2/2/2021
                   Sexual Activity last reviewed by Pena, Flor, MA on 2/2/2021

               Sexually Active              Birth Control           Partners                   Comments                   Source
               Defer                        —                       —                          —                          Provider



       Socioeconomic History as of 2/2/2021
           Socioeconomic as of 2/2/2021
              Marital       Spouse          Number of   Years       Education    Preferred
              Status        Name            Children    Education   Level        Language    Ethnicity     Race          Source
              Married       —               —           —           —            English     Not           Caucasian     —
                                                                                             Hispanic or
                                                                                             Latino




Medication List
   Medication List
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                                                HMH SCURLOCK                       Brockman, Robert T
                                                6560 Fannin                        MRN: 003768603, DOB:            1941, Sex: M
                                                HOUSTON TX 77030                   Visit date: 2/2/2021
                   02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

     This report is for documentation purposes only. The patient should not follow medication instructions within.
     For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.

       Active at the End of Visit
         Medications last reviewed by Lai, Eugene C., MD on 2/2/2021 1008

          buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Start date: 10/9/2019                                            Informant: Family Member

          levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 75 mcg by mouth every morning.
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Start date: 10/9/2019                                            Informant: Family Member

          testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
          1/8/2020 1311]
           Instructions: Place 1 Squirt on the skin daily.
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Informant: Family Member

          traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 50 mg by mouth nightly.
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Start date: 3/13/2019                                            Informant: Family Member

          omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 1 capsule by mouth daily.
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Informant: Family Member

          levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
           Instructions: Take 1 tablet by mouth daily.
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Start date: 10/1/2019                                            End date: 6/1/2021
           Informant: Family Member

          Exelon 9.5 mg/24 hr
           Instructions: Place 1 patch on the skin daily.
           Authorized by: Lai, Eugene C., MD                                Ordered on: 6/12/2020
           Start date: 6/12/2020                                            End date: 3/15/2021
           Quantity: 90 patch                                               Refill: 1 refill by 6/12/2021

          Eliquis 2.5 mg tablet
           Instructions: TAKE ONE tablet (2 1/2 mg total) by mouth TWO (two) times A day.
           Authorized by: Lai, Eugene C., MD                              Ordered on: 11/11/2020
           Start date: 11/11/2020                                         End date: 2/9/2021
           Quantity: 180 tablet                                           Refill: No refills remaining

          carbidopa-levodopa (SINEMET) 25-100 mg per tablet
           Instructions: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
           Authorized by: Lai, Eugene C., MD                     Ordered on: 11/11/2020
           Start date: 11/11/2020                                End date: 3/15/2021
           Quantity: 540 tablet                                  Refill: 3 refills by 11/11/2021

          clonAZEPAM (KlonoPIN) 0.5 MG tablet

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                                              HMH SCURLOCK                      Brockman, Robert T
                                              6560 Fannin                       MRN: 003768603, DOB:            1941, Sex: M
                                              HOUSTON TX 77030                  Visit date: 2/2/2021
                  02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

         Instructions: TAKE ONE TABLET BY MOUTH EVERY EVENING AT BEDTIME
         Authorized by: Lai, Eugene C., MD                   Ordered on: 12/22/2020
         Start date: 12/22/2020                              End date: 2/20/2021
         Quantity: 30 tablet                                 Refill: 1 refill by 6/20/2021

         rosuvastatin (CRESTOR) 5 mg tablet [reconciled by Pena, Flor, MA on 2/2/2021 0921]
          Instructions: Take 5 mg by mouth daily.
          Entered by: Pena, Flor, MA                                     Entered on: 2/2/2021
          Start date: 11/10/2020                                         Informant: Family Member

         Myrbetriq 50 mg tablet extended release 24 hr [reconciled by Pena, Flor, MA on 2/2/2021 0921]
          Instructions: Take 50 mg by mouth daily.
          Entered by: Pena, Flor, MA                                     Entered on: 2/2/2021
          Start date: 12/14/2020                                         End date: 6/1/2021
          Informant: Family Member


       Stopped in Visit
         None




Progress Notes
   Progress Notes
       Lai, Eugene C., MD at 2/2/2021 0930
          Author: Lai, Eugene C., MD                 Service: —                                 Author Type: Physician
          Filed: 2/3/2021 7:59 AM                    Encounter Date: 2/2/2021                   Creation Time: 2/2/2021 9:28 AM
          Status: Signed                             Editor: Lai, Eugene C., MD (Physician)

NEUROLOGY FOLLOW-UP CLINIC VISIT
Patient is a 79-year-old ambidextrous man with a history of Parkinson's disease, mild cognitive impairment, REM sleep
behavior disorder, ocular migraine, hyperlipidemia, hypothyroidism, atrial fibrillation, bladder cancer, glaucoma,
melanoma, basal cell skin cancer, and depression.

He comes with his wife, Dorothy, for follow-up of his Parkinson's disease. Last visit was on 2/12/2020. He reports
physically stable. He has retired as CEO of his software company but is still under a lot of stress. Sleep is better with
trazodone and clonazepam. Appetite is good. Basic activities of daily living are independent, but slower. Gait and
balance are mildly unsteady but he does not use a cane. He has no recent fall. Moods are stressed and depressed.
His wife needs to help him in organizing his responsibilities and taking care of legal issues. Memory is impaired but
stable. He uses Exelon patch 9.5/24h daily. He does not exercise regularly due to low back pain and also not able to
go to the Houstonian for exercise. He tries to walk a little with his housekeeper every other day. He takes
carbidopa/levodopa 25/100 2 tablets only 2 times a day at 8 am and 8 pm, and he typically forgets his 2 pm dose.

There is no new neurological complaint. He has slowness, stiffness, and gait imbalance. He lacks energy and is
inactive. He denies recent headache, dizziness, weakness, confusion, dysarthria, dysphagia.

MEDICATIONS:                      Sig
• Myrbetriq 50 mg tablet extended Take 50 mg by mouth daily.
  release 24 hr
• rosuvastatin (CRESTOR) 5 mg 5 mg daily.
  tablet
• clonAZEPAM (KlonoPIN) 0.5       TAKE ONE TABLET BY MOUTH EVERY EVENING
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                                          HMH SCURLOCK                  Brockman, Robert T
                                          6560 Fannin                   MRN: 003768603, DOB:         1941, Sex: M
                                          HOUSTON TX 77030              Visit date: 2/2/2021
                 02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

  MG tablet                      AT BEDTIME
• carbidopa-levodopa (SINEMET) TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
  25-100 mg per tablet
• Eliquis 2.5 mg tablet          TAKE ONE tablet (2 1/2 mg total) by mouth TWO (two)
                                 times A day.
• Exelon 9.5 mg/24 hr            Place 1 patch on the skin daily.
• buPROPion SR (WELLBUTRIN Take two tablets every morning and one every evening
  SR) 100 MG 12 hr tablet        to control depression
• levomefolate calcium (L-       Take one tablet by mouth daily to lower homocysteine
  METHYLFOLATE ORAL)
• levothyroxine (SYNTHROID) 75 Take one tablet every morning for hypothyroidism
  mcg tablet
• omega 3-dha-epa-fish oil (FISH Take by mouth.
  OIL) 100-160-1,000 mg capsule
• testosterone (ANDROGEL)        Place on the skin.
  20.25 mg/1.25 gram (1.62 %)
  gel in metered-dose pump
• traZODone (DESYREL) 50 MG Take 50 mg by mouth.
  tablet

REVIEW OF SYSTEMS:
Constitutional: Positive for easy fatigue, lack of energy. Weight loss of about 3.5 lbs. since last visit.
Eyes: Positive for visual disturbance due to glaucoma.
ENT: Positive for hearing loss. No nose bleed, sore throat.
Respiratory: Negative for cough and shortness of breath.
Cardiovascular: Negative for chest pain, palpitation, leg swelling.
Gastrointestinal: Positive for mild constipation. No diarrhea, abdominal pain.
Genitourinary: Positive for nocturia, frequency, urgency. No dysuria.
Musculoskeletal: Positive for low back pain. Negative for other joint pain, joint swelling, muscle pain.
Skin: Negative for rash, lesion.
Hematological: Negative for bruising, bleeding, adenopathy.
Allergy/Immunology: Negative for allergy symptoms.
Psychiatric/Behavioral: Positive for anxiety, depression, insomnia. No agitation.
Neurological: See above.

FAMILY/SOCIAL HISTORY: Lives with wife. No cigarettes and rare alcohol. They are in the process of moving to the
River Oaks area closer to their son.

EXAMINATION:
Vitals:
                  02/02/21 0919                                 02/02/21 0922
BP:               122/74                                        133/74
BP Location:      Left arm                                      Left arm
Patient Position: Sitting                                       Standing
Pulse:            84                                            76
Temp:             96.9 °F
Weight:           86 kg (189 lb 9.6 oz)
Height:           5' 11.5"

General: Well developed and well nourished elderly man in no acute distress. He is subdued but pleasant and
cooperative.
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                                            HMH SCURLOCK              Brockman, Robert T
                                            6560 Fannin               MRN: 003768603, DOB:         1941, Sex: M
                                            HOUSTON TX 77030          Visit date: 2/2/2021
                 02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

Physical: Head and face are normal. No pain or tenderness to palpation. No edema or rash. Mild hypomimia and
hypophonia.
Neurological: 'On' state
MS: He is alert and attentive. O x person, place, and time. He follows complex verbal commands. Memory is 4/4
immediate -> 0/4 delayed. Comprehension and expression are slower. Insight and judgment are mildly impaired.
MoCA score (1/8/2020) = 20/30.
CN: II-XII symmetrical and adequate except bilateral hearing loss. EOM full and tongue is midline.
Motor: Strength is 5/5 and symmetrical except bilateral hip flexors, 5-/5. No tremor and mild rigidity in limbs.
Sensory: Decreased to vibration in both feet.
Coordination: F->N->F without dysmetria. Rapid alternating movements are slower bilaterally.
Gait: He arises from sitting without assistance. He walks with a slightly wide-based gait. Decreased arm swings and
hesitant in turning without assistance. He can perform heel, toe walking but not tandem walking.

     VISIT DIAGNOSES:                               ICD-10-CM
1.   Parkinson's disease (HCC)                      G20
2.   Mild cognitive impairment                      G31.84
3.   Mixed anxiety depressive disorder              F41.8
4.   Idiopathic peripheral neuropathy               G60.9

IMPRESSION:
Significant for: Clinical findings are consistent with Parkinson's disease with mild cognitive impairment.
He is under a lot of stress trying to still run his company by himself, and his wife is also stressed out.
He has signs of mild cognitive impairment and peripheral neuropathy with gait imbalance.
Neurological and cognitive examinations are without notable change from last visit.
Physical examination is stable.

PLANS:
Patient's neurologic condition and management are discussed with him and his wife at length again.
He needs to take carbidopa/levodopa 25/100 2 tablets 3 times a day at 8:30 am, 1:30 pm and 6:30 pm and on time.
Take about at least 30 minutes before or after meals.
Put Exelon patch 9.5 mg/24h topically every day on shoulders and back and rotate over 14 areas, for cognitive
stabilization. Get instructions from the Internet for "Exelon patch placement'.
Continue trazodone 50 mg and clonazepam 0.5 mg at bedtime for sleep and RBD.
Continue bupropion 100 mg 2 tablets in the morning and 1 tablet at bedtime for mood stabilization.
Continue other present medications.
I will order physical and occupational therapy at home after he moves into his new house.
He should not drive his car for now.
Keep physically and mentally active. Exercise regularly.
Follow up with Dr. James Pool, PCP.
Return to clinic in 4 months.

Total time spent today in evaluation and treatment of patient, including review of previous medical records and
counseling = 32 minutes.

PATIENT EDUCATION:
[ x ] Patient  [ x ] Significant other(s)
Topic:
Disease specific issues [ x ]
Medications [ x ]
Medication Side effects [ x ]
Tests [ x ]
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                                                 HMH SCURLOCK                   Brockman, Robert T
                                                 6560 Fannin                    MRN: 003768603, DOB:            1941, Sex: M
                                                 HOUSTON TX 77030               Visit date: 2/2/2021
                   02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

Treatment/follow-up plans [ x ]
Consults [ x ]
Surgical plan [ ]
Teaching Method:      Discussion [ x ]      Handouts [ ]
Patient/family Response:      Verbalize understanding and agree(s) with treatment plans [ x ]

Today I spent >50% of visit time on counseling and patient education.




Eugene C. Lai, M.D., Ph.D.
Robert W. Hervey Distinguished Endowed Chair in Parkinson's Disease
Professor of Neurology and Neuroscience
Director, Neurodegenerative Disease Clinic

Stanley H. Appel Department of Neurology
Houston Methodist Neurological Institute &
Weill Cornell Medical School
6560 Fannin, Suite 802
Houston, Texas 77030
TEL. 713-441-0239
FAX. 713-790-5044

          Electronically signed by Lai, Eugene C., MD at 2/3/2021 7:59 AM




                           02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                      All Parent Orders


                                                          Medications - All Orders
rosuvastatin (CRESTOR) 5 mg tablet [335306867] Patient-reported historical medication
 Ordering date: 02/02/21 0921                                         Authorized by: Provider, Historical, MD
 Ordering mode: Standard
 Frequency: Routine Daily 11/10/20 - Until Discontinued               Class: Historical Med

Myrbetriq 50 mg tablet extended release 24 hr [335306868] Patient-reported historical medication
 Ordering date: 02/02/21 0921                                         Authorized by: Provider, Historical, MD
 Ordering mode: Standard
 Frequency: Routine Daily 12/14/20 - 06/01/21                         Class: Historical Med
 Discontinued by: Francia, Loi S 06/01/21 1237


                   02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Vitals




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                                                   HMH SCURLOCK                          Brockman, Robert T
                                                   6560 Fannin                           MRN: 003768603, DOB:          1941, Sex: M
                                                   HOUSTON TX 77030                      Visit date: 2/2/2021
                     02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Vitals (continued)

                                                                                             Most recent update: 2/2/2021 9:24 AM by Pena, Flor,
   Vital Signs - Last Recorded                                                                                                              MA
        BP                    Pulse                    Temp                       Ht                      Wt
        133/74 (BP            76                       96.9 °F                    5' 11.5"                86 kg (189 lb 9.6 oz)
        Location: Left
        arm, Patient
        Position:
        Standing)


        BMI
        26.08 kg/m²


Flowsheets
       Custom Formula Data
          Row Name             02/02/21 0922              02/02/21 0919
         Adult IBW/VT Calculations
          IBW/kg             —                             76.45
          (Calculated)                                     -FP at 02/02/21 0919
          Low Range Vt       —                             458.7 mL/kg
          6mL/kg                                           -FP at 02/02/21 0919
          Adult Moderate     —                             611.6 mL/kg
          Range Vt 8mL/kg                                  -FP at 02/02/21 0919
          Adult High Range —                               764.5 mL/kg
          Vt 10mL/kg                                       -FP at 02/02/21 0919
          IBW/kg             —                             168.54
          (Calculated) (lbs)                               -FP at 02/02/21 0919

         OTHER
          BMI (Calculated)      —                          26.08
                                                           -FP at 02/02/21 0919
          IBW/kg                —                          76.45 kg
          (Calculated) Male                                -FP at 02/02/21 0919
          IBW/kg                —                          71.95 kg
          (Calculated)                                     -FP at 02/02/21 0919
          Female
          BMI                   —                          26.08
                                                           -FP at 02/02/21 0919
          Total Weight          —                          189.6
          Change                                           -FP at 02/02/21 0919
          Total Weight          —                          +189.6
          Change                                           -FP at 02/02/21 0919
          Weight Change         —                          -3.4
          Since Last Visit                                 -FP at 02/02/21 0919
          Weight Change         —                          -3.4
          Since Last Visit                                 -FP at 02/02/21 0919
          Internal Initial      —                          0
          Weight -                                         -FP at 02/02/21 0919
          Reference Only
          Fluid Needs           —                          62172
                                                           -FP at 02/02/21 0919
          BSA (Calculated       —                          2.08 sq meters
          - sq m)                                          -FP at 02/02/21 0919
          ED VITALS             2                          3
          FORMULA               -FP at 02/02/21 0924       -FP at 02/02/21 0922
          MAP (Calculated)      93.67                      90
                                -FP at 02/02/21 0924       -FP at 02/02/21 0922
         Body Composition Analysis
          BMI               —                              26.08

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                                                HMH SCURLOCK                 Brockman, Robert T
                                                6560 Fannin                  MRN: 003768603, DOB:   1941, Sex: M
                                                HOUSTON TX 77030             Visit date: 2/2/2021
                    02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Flowsheets (continued)
                                                     -FP at 02/02/21 0919
        Dietitian Vitals
         BMI (Calculated)    —                       26.08
                                                     -FP at 02/02/21 0919
         IBW/kg              —                       76.45
         (Calculated)                                -FP at 02/02/21 0919
         IBW/kg              —                       71.95 kg
         (Calculated)                                -FP at 02/02/21 0919
         Female
         IBW/kg              —                       76.45
         (Calculated)                                -FP at 02/02/21 0919
         Males
        Fluid Needs
         Total Fluid         —                       62172
         Estimated Needs                             -FP at 02/02/21 0919

        Relevant Labs and Vitals
         Temp (in Celsius) —                         36.1
                                                     -FP at 02/02/21 0922



      Data
          Row Name           02/02/21 0922           02/02/21 0919
         OTHER
          Change in SBP      11                       122
                             -FP at 02/02/21 0924     -FP at 02/02/21 0922



      Encounter Vitals
          Row Name           02/02/21 0922           02/02/21 0919
         Enc Vitals
          BP                 133/74                   122/74
                             -FP at 02/02/21 0924     -FP at 02/02/21 0922
          Pulse              76                       84
                             -FP at 02/02/21 0924     -FP at 02/02/21 0922
          Temp               —                        96.9 °F
                                                      -FP at 02/02/21 0922
          Weight             —                        86 kg (189 lb 9.6
                                                     oz)
                                                      -FP at 02/02/21 0919
          Height             —                        5' 11.5"
                                                      -FP at 02/02/21 0919
         Vital Signs
          BP Location        Left arm                 Left arm
                             -FP at 02/02/21 0924     -FP at 02/02/21 0922
          Patient Position   Standing                 Sitting
                             -FP at 02/02/21 0924     -FP at 02/02/21 0922



      Social Determinants
          Row Name           02/02/21 09:19:45
         Alcohol Use
          How often do you    Never Data migrated
          have a drink       from History
                              -FP at 05/18/21 1428
          containing
          alcohol?


      Vital Signs
          Row Name           02/02/21 1019
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                                                      HMH SCURLOCK                Brockman, Robert T
                                                      6560 Fannin                 MRN: 003768603, DOB            1941, Sex: M
                                                      HOUSTON TX 77030            Visit date: 2/2/2021
                     02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Flowsheets (continued)


        OTHER
         Stimulants            000
                               -DH at 02/02/21 0919
         Sedatives             220
                               -DH at 02/02/21 0919
         Narcotics             100
                               -DH at 02/02/21 0919

       User Key                                                                       (r) = Recorded By, (t) = Taken By, (c) = Cosigned By
          Initials      Name                                Effective Dates            Provider Type             Discipline
          FP            Pena, Flor, MA                      11/21/20 - 03/15/21        Medical Assistant         —
          DH            Hm Interface, Documentation         —                          —                         —
                        Incoming



Patient Instructions


Continue carbidopa/levodopa 25/100 2 tablets at 8:30 am, 1:30 pm and 6:30 pm. Take about at least
30 minutes before or after meals.
Put Exelon patch 9.5/24h topically every day on shoulders and back. Get picture from the Internet
for "Exelon patch placement'.
Will order physical therapy after you moved to your new house.
No driving for now.
Continue other present medications.
Keep physically and mentally active. Exercise regularly.




                           02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                     Patient Instuctions
Patient Instructions History
   Patient Instructions Revisions                                       Status       Date&Time                   By User
   Continue carbidopa/levodopa 25/100 2 tablets at 8:30 am, 1:30 pm     Addendum     02/02/2021 10:06 AM         LAI, EUGENE
   and 6:30 pm. Take about at least 30 minutes before or after meals.
   Put Exelon patch 9.5/24h topically every day on shoulders and back.
   Get picture from the Internet for "Exelon patch placement'. Will
   order physical therapy after you moved to your new house. No
   driving for now. Continue other present medications. Keep physically
   and mentally active. Exercise regularly.
   Continue carbidopa/levodopa 25/100 2 tablets at 8:30 am, 1:30 pm     Signed       02/02/2021 10:05 AM         LAI, EUGENE
   and 6:30 pm. Take about at least 30 minutes before or after meals.
   Put Exelon patch 9.5/24h topically every day on shoulders and back.
   Get picture from the Internet for "Exelon patch placement'. Will
   order physical therapy after you moved to your new house. Continue
   other present medications. Keep physically and mentally active.
   Exercise regularly.




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                                         HMH SCURLOCK            Brockman, Robert T
                                         6560 Fannin             MRN: 003768603, DOB:     1941, Sex: M
                                         HOUSTON TX 77030        Visit date: 2/2/2021

                 02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary




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                                         HMH SCURLOCK            Brockman, Robert T
                                         6560 Fannin             MRN: 003768603, DOB:     1941, Sex: M
                                         HOUSTON TX 77030        Visit date: 2/2/2021
                 02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary (continued)




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                                         HMH SCURLOCK              Brockman, Robert T
                                         6560 Fannin               MRN: 003768603, DOB:        941, Sex: M
                                         HOUSTON TX 77030          Visit date: 2/2/2021
                 02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary (continued)




                         02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                  Diagnosis Summary

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                                                HMH SCURLOCK                        Brockman, Robert T
                                                6560 Fannin                         MRN: 003768603, DOB:             1941, Sex: M
                                                HOUSTON TX 77030                    Visit date: 2/2/2021
                            02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                              Diagnosis Summary (continued)
Visit Information
   Date & Time                         Provider                           Department                          Encounter #
   2/2/2021 9:30 AM                    Lai, Eugene C., MD                 HMNI Stanley H Appel Dept of        2100089907549
                                                                          Neurology

Coding Summary for this Encounter
   Code             Description                                            Service Date          Service Provider                    Qty
   99214            PR OFFICE/OUTPATIENT ESTABLISHED MOD                   2/2/2021              Lai, Eugene C., MD                  1
                    MDM 30-39 MIN
                     Dx: Parkinson's disease [G20], Mild cognitive impairment, so stated [G31.84], Other specified anxiety disorders [F41.8],
                     Hereditary and idiopathic neuropathy, unspecified [G60.9]




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                                               HMH SCURLOCK                     Brockman, Robert T
                                               6560 Fannin                      MRN: 003768603, DOB:          1941, Sex: M
                                               HOUSTON TX 77030                 Visit date: 12/22/2020

                                12/22/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Contacts
                                  Type                Contact                         Phone                   User
       12/22/2020 02:00 PM        Interface           Briargrove Pharmacy -           713-783-5704            Interface, Surescripts In
       CST                        (Incoming)          Houston, TX - 6435 San Felipe

   Nursing Assessment
       No Nursing Assessment available for this encounter.

   Questionnaires
       No completed forms available for this encounter.



Research Study Linked to Refill on 12/22/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 12/22/2020
      Problems last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
        Diagnosis: Dementia associated with         Noted on: 01/08/2020                        Chronic: No
        Parkinson's disease (HCC)

       Idiopathic peripheral neuropathy [last edited by Lai, Eugene C., MD on 2/21/2020 2038]
        Diagnosis: Idiopathic peripheral            Noted on: 02/21/2020                        Chronic: No
        neuropathy

       Mixed anxiety depressive disorder [last edited by Lai, Eugene C., MD on 2/21/2020 2037]
        Diagnosis: Mixed anxiety depressive         Noted on: 02/21/2020                        Chronic: No
        disorder

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
        Diagnosis: Parkinson's disease (HCC)        Noted on: 01/08/2020                        Chronic: No


   Allergies as of 12/22/2020
      Allergies last reviewed by Lai, Eugene C., MD on 2/12/2020 0907
      No Known Allergies


   History as of 12/22/2020
       Medical History as of 12/22/2020
                Medical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Surgical History as of 12/22/2020
                Surgical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Family History as of 12/22/2020
           Family History as of 12/22/2020

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                                              HMH SCURLOCK                         Brockman, Robert T
                                              6560 Fannin                          MRN: 003768603, DOB:          1941, Sex: M
                                              HOUSTON TX 77030                     Visit date: 12/22/2020
                         12/22/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)




       Substance & Sexuality History as of 12/22/2020
           Tobacco Use as of 12/22/2020
                   Tobacco Use last reviewed by Lai, Eugene C., MD on 2/12/2020

               Smoking Status                       Smoking Start Date       Smoking Quit Date        Packs/Day        Years Used
               Never Smoker                         —                        —                        —                —
                                                                                                      Smokeless
                                                                             Smokeless Tobacco        Tobacco Quit
               Types                                Comments                 Status                   Date             Source
               —                                    —                        Never Used               —                Provider


           Alcohol Use as of 12/22/2020
                   Alcohol Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Alcohol Use                 Drinks/Week                 Alcohol/Week              Comments                  Source
               Never                                                   —                         —                         Provider


           Drug Use as of 12/22/2020
                   Drug Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Drug Use                    Types                       Frequency                 Comments                  Source
               Never                       —                           —                         —                         Provider


           Sexual Activity as of 12/22/2020
                   Sexual Activity last reviewed by Riley, Lillian R, MA on 2/12/2020

               Sexually Active             Birth Control               Partners                  Comments                  Source
               Defer                       —                           —                         —                         Provider



       Socioeconomic History as of 12/22/2020
           Occupational as of 12/22/2020
                   Occupational last reviewed by Riley, Lillian R, MA on 2/12/2020
                   None



           Socioeconomic as of 12/22/2020
                   Socioeconomic last reviewed by Riley, Lillian R, MA on 2/12/2020

               Marital       Spouse        Number of       Years       Education    Preferred
               Status        Name          Children        Education   Level        Language     Ethnicity     Race        Source
               Married       —             —               —           —            English      Not           Caucasian   —
                                                                                                 Hispanic or
                                                                                                 Latino



       Social Documentation History as of 12/22/2020
               Social Documentation last reviewed by Riley, Lillian R, MA on 2/12/2020
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                                                 HMH SCURLOCK                       Brockman, Robert T
                                                 6560 Fannin                        MRN: 003768603, DOB:            1941, Sex: M
                                                 HOUSTON TX 77030                   Visit date: 12/22/2020
                        12/22/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

                None




Medication List
   Medication List
      This report is for documentation purposes only. The patient should not follow medication instructions within.
      For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.

       Active at the End of Visit
         Medications last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

           buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Start date: 10/9/2019                                            Informant: Family Member

           levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 75 mcg by mouth every morning.
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Start date: 10/9/2019                                            Informant: Family Member

           testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
           1/8/2020 1311]
            Instructions: Place 1 Squirt on the skin daily.
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Informant: Family Member

           traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 50 mg by mouth nightly.
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Start date: 3/13/2019                                            Informant: Family Member

           omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 1 capsule by mouth daily.
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Informant: Family Member

           levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
            Instructions: Take 1 tablet by mouth daily.
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Start date: 10/1/2019                                            End date: 6/1/2021
            Informant: Family Member

           Exelon 9.5 mg/24 hr
            Instructions: Place 1 patch on the skin daily.
            Authorized by: Lai, Eugene C., MD                                Ordered on: 6/12/2020
            Start date: 6/12/2020                                            End date: 3/15/2021
            Quantity: 90 patch                                               Refill: 1 refill by 6/12/2021

           Eliquis 2.5 mg tablet
            Instructions: TAKE ONE tablet (2 1/2 mg total) by mouth TWO (two) times A day.
            Authorized by: Lai, Eugene C., MD                              Ordered on: 11/11/2020
            Start date: 11/11/2020                                         End date: 2/9/2021
            Quantity: 180 tablet                                           Refill: No refills remaining


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                                                HMH SCURLOCK                             Brockman, Robert T
                                                6560 Fannin                              MRN: 003768603, DOB:            1941, Sex: M
                                                HOUSTON TX 77030                         Visit date: 12/22/2020
                          12/22/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

         carbidopa-levodopa (SINEMET) 25-100 mg per tablet
          Instructions: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
          Authorized by: Lai, Eugene C., MD                     Ordered on: 11/11/2020
          Start date: 11/11/2020                                End date: 3/15/2021
          Quantity: 540 tablet                                  Refill: 3 refills by 11/11/2021

         clonAZEPAM (KlonoPIN) 0.5 MG tablet
          Instructions: TAKE ONE TABLET BY MOUTH EVERY EVENING AT BEDTIME
          Authorized by: Lai, Eugene C., MD                   Ordered on: 12/22/2020
          Start date: 12/22/2020                              End date: 2/20/2021
          Quantity: 30 tablet                                 Refill: 1 refill by 6/20/2021


       Stopped in Visit
         None




                          12/22/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders
   Medications
       clonAZEPAM (KlonoPIN) 0.5 MG tablet [335306866] (Expired)
       Electronically signed by: Lai, Eugene C., MD on 12/22/20 1608                                                           Status: Expired
       Mode: Ordering in Verbal with readback mode                       Communicated by: Atassi, Farah
       Ordering user: Atassi, Farah 12/22/20 1430                        Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                                 Ordering mode: Verbal with readback
       Frequency: 12/22/20 - 60 days                                     Class: Print
       Released by: Atassi, Farah 12/22/20 1430
       Medication comments: This prescription was filled on 12/22/2020. Any refills authorized will be placed on file.
                                                                   Order Details

          Order Details
               Priority                                   Expected                                    Study Status
                                                          12/22/2020 2:30 PM

          Order Details
               Frequency                       Duration                          Priority                        Order Class
               None                            60 days                           None                            Print

          Order History                                                                                                              Outpatient
               Date/Time          Action Taken               User                              Additional Information
               12/22/20 1400      Pend                       Interface, Surescripts In
               12/22/20 1430      Sign                       Atassi, Farah                     Ordering Mode: Verbal with readback
               12/22/20 1608      Verbal Cosign              Lai, Eugene C., MD
               02/02/21 0921      Taking Flag Checked        Pena, Flor, MA

          clonAZEPAM (KlonoPIN) 0.5 MG tablet [335306866] ENDED
               Dose, Route, Frequency: As Directed
               Dispense Quantity: 30 tablet         Refills: 1
               Note to Pharmacy: This prescription was filled on 12/22/2020. Any refills authorized will be placed on file.

               Sig: TAKE ONE TABLET BY MOUTH EVERY EVENING AT BEDTIME

               Start Date: 12/22/20                   End Date: 02/20/21

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                                               HMH SCURLOCK                       Brockman, Robert T
                                               6560 Fannin                        MRN: 003768603, DOB:            1941, Sex: M
                                               HOUSTON TX 77030                   Visit date: 12/22/2020
                       12/22/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

            Written Date: 12/22/20                 Expiration Date: 06/20/21
            Providers
               Ordering Provider and Authorizing Provider:
               Lai, Eugene C., MD
               6560 FANNIN ST SUITE 802, HOUSTON TX
               77030
               Phone: 713-441-0239 Fax: 713-790-5044
               NPI: 1790871002

               Ordering User: Atassi, Farah


            Pharmacy
               Briargrove Pharmacy - Houston, TX - 6435 San Felipe
               6435 San Felipe, Houston TX 77057
               Phone: 713-783-5704 Fax: 713-783-5482


         Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.




                               12/22/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
                                                       All Parent Orders


                                                        Medications - All Orders
clonAZEPAM (KlonoPIN) 0.5 MG tablet [335306866]
Electronically signed by: Lai, Eugene C., MD on 12/22/20 1608                                                                Status: Expired
Mode: Ordering in Verbal with readback mode                            Communicated by: Atassi, Farah
Ordering user: Atassi, Farah 12/22/20 1430                             Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                      Ordering mode: Verbal with readback
Frequency: 12/22/20 - 60 days                                          Class: Print
Released by: Atassi, Farah 12/22/20 1430
Medication comments: This prescription was filled on 12/22/2020. Any refills authorized will be placed on file.



                               12/22/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
                                                      Diagnosis Summary
Visit Information
   Date & Time                         Provider                           Department                         Encounter #
   12/22/2020 2:00 PM                  Lai, Eugene C., MD                 HMNI Stanley H Appel Dept of       2100090665609
                                                                          Neurology




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                                         HMH SCURLOCK               Brockman, Robert T
                                         6560 Fannin                MRN: 003768603, DOB:     1941, Sex: M
                                         HOUSTON TX 77030           Visit date: 12/22/2020
                             12/22/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
                                            Diagnosis Summary (continued)
                       12/22/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans
   Prescription Record
      Scan on 12/31/2020 9:49 AM: Clonazepam Refill 12/22/20
        Scan (below)




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                                         HMH SCURLOCK             Brockman, Robert T
                                         6560 Fannin              MRN: 003768603, DOB:     1941, Sex: M
                                         HOUSTON TX 77030         Visit date: 12/22/2020
                     12/22/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                               HMH SCURLOCK                     Brockman, Robert T
                                               6560 Fannin                      MRN: 003768603, DOB:          1941, Sex: M
                                               HOUSTON TX 77030                 Visit date: 11/10/2020

                                11/10/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Contacts
                                  Type                Contact                         Phone                   User
       11/10/2020 11:04 AM        Interface           Briargrove Pharmacy -           713-783-5704            Interface, Surescripts In
       CST                        (Incoming)          Houston, TX - 6435 San Felipe

   Nursing Assessment
       No Nursing Assessment available for this encounter.

   Questionnaires
       No completed forms available for this encounter.



Research Study Linked to Refill on 11/10/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 11/10/2020
      Problems last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
        Diagnosis: Dementia associated with         Noted on: 01/08/2020                        Chronic: No
        Parkinson's disease (HCC)

       Idiopathic peripheral neuropathy [last edited by Lai, Eugene C., MD on 2/21/2020 2038]
        Diagnosis: Idiopathic peripheral            Noted on: 02/21/2020                        Chronic: No
        neuropathy

       Mixed anxiety depressive disorder [last edited by Lai, Eugene C., MD on 2/21/2020 2037]
        Diagnosis: Mixed anxiety depressive         Noted on: 02/21/2020                        Chronic: No
        disorder

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
        Diagnosis: Parkinson's disease (HCC)        Noted on: 01/08/2020                        Chronic: No


   Allergies as of 11/10/2020
      Allergies last reviewed by Lai, Eugene C., MD on 2/12/2020 0907
      No Known Allergies


   History as of 11/10/2020
       Medical History as of 11/10/2020
                Medical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Surgical History as of 11/10/2020
                Surgical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Family History as of 11/10/2020
           Family History as of 11/10/2020

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                                              HMH SCURLOCK                         Brockman, Robert T
                                              6560 Fannin                          MRN: 003768603, DOB:          1941, Sex: M
                                              HOUSTON TX 77030                     Visit date: 11/10/2020
                         11/10/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)




       Substance & Sexuality History as of 11/10/2020
           Tobacco Use as of 11/10/2020
                   Tobacco Use last reviewed by Lai, Eugene C., MD on 2/12/2020

               Smoking Status                       Smoking Start Date       Smoking Quit Date        Packs/Day        Years Used
               Never Smoker                         —                        —                        —                —
                                                                                                      Smokeless
                                                                             Smokeless Tobacco        Tobacco Quit
               Types                                Comments                 Status                   Date             Source
               —                                    —                        Never Used               —                Provider


           Alcohol Use as of 11/10/2020
                   Alcohol Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Alcohol Use                 Drinks/Week                 Alcohol/Week              Comments                  Source
               Never                                                   —                         —                         Provider


           Drug Use as of 11/10/2020
                   Drug Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Drug Use                    Types                       Frequency                 Comments                  Source
               Never                       —                           —                         —                         Provider


           Sexual Activity as of 11/10/2020
                   Sexual Activity last reviewed by Riley, Lillian R, MA on 2/12/2020

               Sexually Active             Birth Control               Partners                  Comments                  Source
               Defer                       —                           —                         —                         Provider



       Socioeconomic History as of 11/10/2020
           Occupational as of 11/10/2020
                   Occupational last reviewed by Riley, Lillian R, MA on 2/12/2020
                   None



           Socioeconomic as of 11/10/2020
                   Socioeconomic last reviewed by Riley, Lillian R, MA on 2/12/2020

               Marital       Spouse        Number of       Years       Education    Preferred
               Status        Name          Children        Education   Level        Language     Ethnicity     Race        Source
               Married       —             —               —           —            English      Not           Caucasian   —
                                                                                                 Hispanic or
                                                                                                 Latino



       Social Documentation History as of 11/10/2020
               Social Documentation last reviewed by Riley, Lillian R, MA on 2/12/2020
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                                                HMH SCURLOCK                          Brockman, Robert T
                                                6560 Fannin                           MRN: 003768603, DOB:               1941, Sex: M
                                                HOUSTON TX 77030                      Visit date: 11/10/2020
                          11/10/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

                None




Medication List
   Medication List
      This visit is during an admission. Changes to the med list made in this visit will be reflected in the After Visit Summary of the admission.




                          11/10/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders
   Medications
       carbidopa-levodopa (SINEMET) 25-100 mg per tablet [335306865] (Discontinued)
        Electronically signed by: Lai, Eugene C., MD on 11/11/20 0718                                                   Status: Discontinued
        Ordering user: Lai, Eugene C., MD 11/11/20 0718                   Ordering provider: Lai, Eugene C., MD
        Authorized by: Lai, Eugene C., MD                                 Ordering mode: Standard
        Frequency: 11/11/20 - 03/15/21                                    Class: Normal
        Released by: Lai, Eugene C., MD 11/11/20 0718                     Discontinued by: Guandique, Zulma 03/15/21 1021 [Med List
                                                                          Cleanup]
        Medication comments: This prescription was filled on 11/10/2020. Any refills authorized will be placed on file.
        Reordered from: carbidopa-levodopa (SINEMET) 25-100 mg per tablet
                                                                    Order Details

           Order Details
               Priority                                    Expected                                    Study Status
                                                           11/11/2020 7:18 AM

           Order Details
               Frequency                        Duration                         Priority                         Order Class
               None                             None                             None                             Normal

           Order History                                                                                                               Outpatient
               Date/Time          Action Taken               User                             Additional Information
               11/10/20 1105      Pend                       Interface, Surescripts In
               11/11/20 0718      Taking Flag Checked        Lai, Eugene C., MD
               11/11/20 0718      Sign                       Lai, Eugene C., MD               Reorder from Order: 335306860
               02/02/21 0921      Taking Flag Checked        Pena, Flor, MA
               03/15/21 0927      Order for Admission        Patel, Amitkumar Natvarlal,      To Order: 418718815
                                                             MD
               03/15/21 1021      Discontinue                Guandique, Zulma                 Reason:Med List Cleanup

           carbidopa-levodopa (SINEMET) 25-100 mg per tablet [335306865]
           DISCONTINUED
               Dose, Route, Frequency: As Directed
               Dispense Quantity: 540 tablet        Refills: 3
               Note to Pharmacy: This prescription was filled on 11/10/2020. Any refills authorized will be placed on file.

               Sig: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY

               Start Date: 11/11/20              End Date: 03/15/21
               Discontinued by: Guandique, Zulma on 3/15/2021 10:21
               Reason: Med List Cleanup


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                                              HMH SCURLOCK                            Brockman, Robert T
                                              6560 Fannin                             MRN: 003768603, DOB:           1941, Sex: M
                                              HOUSTON TX 77030                        Visit date: 11/10/2020
                        11/10/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

           Written Date: 11/11/20               Expiration Date: 11/11/21
           Original Order: carbidopa-levodopa (SINEMET) 25-100 mg per tablet [335306860]
           Providers
              Ordering Provider and Authorizing Provider:
              Lai, Eugene C., MD
              6560 FANNIN ST SUITE 802, HOUSTON TX
              77030
              Phone: 713-441-0239 Fax: 713-790-5044
              NPI: 1790871002

              Ordering User: Lai, Eugene C., MD


           Pharmacy
              Briargrove Pharmacy - Houston, TX - 6435 San Felipe
              6435 San Felipe, Houston TX 77057
              Phone: 713-783-5704 Fax: 713-783-5482


         Pharmacist Clinical Review History
            This prescription has not been clinically reviewed.


      Eliquis 2.5 mg tablet [335306864] (Expired)
       Electronically signed by: Lai, Eugene C., MD on 11/11/20 0718                                                        Status: Expired
       Ordering user: Lai, Eugene C., MD 11/11/20 0718                 Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                               Ordering mode: Standard
       Frequency: 11/11/20 - 90 days                                   Class: Normal
       Released by: Lai, Eugene C., MD 11/11/20 0718
       Reordered from: Eliquis 2.5 mg tablet
                                                                  Order Details

          Order Details
             Priority                                   Expected                                   Study Status
                                                        11/11/2020 7:18 AM

          Order Details
             Frequency                       Duration                         Priority                       Order Class
             None                            90 days                          None                           Normal

          Order History                                                                                                          Outpatient
             Date/Time          Action Taken              User                              Additional Information
             11/10/20 1105      Pend                      Interface, Surescripts In
             11/11/20 0718      Sign                      Lai, Eugene C., MD                Reorder from Order: 335306862
             11/11/20 0718      Taking Flag Checked       Lai, Eugene C., MD
             02/02/21 0921      Taking Flag Checked       Pena, Flor, MA

          Eliquis 2.5 mg tablet [335306864] ENDED
             Dose, Route, Frequency: As Directed
             Dispense Quantity: 180 tablet       Refills: 0

             Sig: TAKE ONE tablet (2 1/2 mg total) by mouth TWO (two) times A day.

             Start Date: 11/11/20                   End Date: 02/09/21
             Written Date: 11/11/20                 Expiration Date: 11/11/21
             Original Order: Eliquis 2.5 mg tablet [335306862]
             Providers

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                                               HMH SCURLOCK                    Brockman, Robert T
                                               6560 Fannin                     MRN: 003768603, DOB:            1941, Sex: M
                                               HOUSTON TX 77030                Visit date: 11/10/2020
                       11/10/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

              Ordering Provider and Authorizing Provider:
              Lai, Eugene C., MD
              6560 FANNIN ST SUITE 802, HOUSTON TX
              77030
              Phone: 713-441-0239 Fax: 713-790-5044
              NPI: 1790871002

              Ordering User: Lai, Eugene C., MD


            Pharmacy
               Briargrove Pharmacy - Houston, TX - 6435 San Felipe
               6435 San Felipe, Houston TX 77057
               Phone: 713-783-5704 Fax: 713-783-5482


         Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.




                               11/10/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
                                                       All Parent Orders


                                                        Medications - All Orders
Eliquis 2.5 mg tablet [335306864]
Electronically signed by: Lai, Eugene C., MD on 11/11/20 0718                                                           Status: Expired
Ordering user: Lai, Eugene C., MD 11/11/20 0718                      Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                    Ordering mode: Standard
Frequency: 11/11/20 - 90 days                                        Class: Normal
Released by: Lai, Eugene C., MD 11/11/20 0718
Reordered from: Eliquis 2.5 mg tablet [335306862]

carbidopa-levodopa (SINEMET) 25-100 mg per tablet [335306865]
Electronically signed by: Lai, Eugene C., MD on 11/11/20 0718                                                       Status: Discontinued
Ordering user: Lai, Eugene C., MD 11/11/20 0718                        Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                      Ordering mode: Standard
Frequency: 11/11/20 - 03/15/21                                         Class: Normal
Released by: Lai, Eugene C., MD 11/11/20 0718                          Discontinued by: Guandique, Zulma 03/15/21 1021 [Med List
                                                                       Cleanup]
Medication comments: This prescription was filled on 11/10/2020. Any refills authorized will be placed on file.
Reordered from: carbidopa-levodopa (SINEMET) 25-100 mg per tablet [335306860]



                               11/10/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
                                                      Diagnosis Summary
Visit Information
   Date & Time                         Provider                       Department                        Encounter #
   11/10/2020 11:04 AM                 Lai, Eugene C., MD             HMNI Stanley H Appel Dept of      2100088240549
                                                                      Neurology




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                                               HMH SCURLOCK                     Brockman, Robert T
                                               6560 Fannin                      MRN: 003768603, DOB:          1941, Sex: M
                                               HOUSTON TX 77030                 Visit date: 7/14/2020

                               07/14/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Contacts
                                  Type                Contact                         Phone                   User
       07/14/2020 12:10 PM        Interface           Briargrove Pharmacy -           713-783-5704            Interface, Surescripts In
       CDT                        (Incoming)          Houston, TX - 6435 San Felipe

   Nursing Assessment
       No Nursing Assessment available for this encounter.

   Questionnaires
       No completed forms available for this encounter.



Research Study Linked to Refill on 7/14/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 7/14/2020
      Problems last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
        Diagnosis: Dementia associated with         Noted on: 01/08/2020                        Chronic: No
        Parkinson's disease (HCC)

       Idiopathic peripheral neuropathy [last edited by Lai, Eugene C., MD on 2/21/2020 2038]
        Diagnosis: Idiopathic peripheral            Noted on: 02/21/2020                        Chronic: No
        neuropathy

       Mixed anxiety depressive disorder [last edited by Lai, Eugene C., MD on 2/21/2020 2037]
        Diagnosis: Mixed anxiety depressive         Noted on: 02/21/2020                        Chronic: No
        disorder

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
        Diagnosis: Parkinson's disease (HCC)        Noted on: 01/08/2020                        Chronic: No


   Allergies as of 7/14/2020
      Allergies last reviewed by Lai, Eugene C., MD on 2/12/2020 0907
      No Known Allergies


   History as of 7/14/2020
       Medical History as of 7/14/2020
                Medical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Surgical History as of 7/14/2020
                Surgical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Family History as of 7/14/2020
           Family History as of 7/14/2020

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                                                HMH SCURLOCK                         Brockman, Robert T
                                                6560 Fannin                          MRN: 003768603, DOB:          1941, Sex: M
                                                HOUSTON TX 77030                     Visit date: 7/14/2020
                         07/14/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)




       Substance & Sexuality History as of 7/14/2020
           Tobacco Use as of 7/14/2020
                   Tobacco Use last reviewed by Lai, Eugene C., MD on 2/12/2020

               Smoking Status                         Smoking Start Date       Smoking Quit Date        Packs/Day        Years Used
               Never Smoker                           —                        —                        —                —
                                                                                                        Smokeless
                                                                               Smokeless Tobacco        Tobacco Quit
               Types                                  Comments                 Status                   Date             Source
               —                                      —                        Never Used               —                Provider


           Alcohol Use as of 7/14/2020
                   Alcohol Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Alcohol Use                   Drinks/Week                 Alcohol/Week              Comments                  Source
               Never                                                     —                         —                         Provider


           Drug Use as of 7/14/2020
                   Drug Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Drug Use                      Types                       Frequency                 Comments                  Source
               Never                         —                           —                         —                         Provider


           Sexual Activity as of 7/14/2020
                   Sexual Activity last reviewed by Riley, Lillian R, MA on 2/12/2020

               Sexually Active               Birth Control               Partners                  Comments                  Source
               Defer                         —                           —                         —                         Provider



       Socioeconomic History as of 7/14/2020
           Occupational as of 7/14/2020
                   Occupational last reviewed by Riley, Lillian R, MA on 2/12/2020
                   None



           Socioeconomic as of 7/14/2020
                   Socioeconomic last reviewed by Riley, Lillian R, MA on 2/12/2020

               Marital       Spouse          Number of       Years       Education    Preferred
               Status        Name            Children        Education   Level        Language     Ethnicity     Race        Source
               Married       —               —               —           —            English      Not           Caucasian   —
                                                                                                   Hispanic or
                                                                                                   Latino



       Social Documentation History as of 7/14/2020
               Social Documentation last reviewed by Riley, Lillian R, MA on 2/12/2020
Generated by 1043159 at 6/2/21 3:28 PM                                                                                              Page 54

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                                                 HMH SCURLOCK                      Brockman, Robert T
                                                 6560 Fannin                       MRN: 003768603, DOB:             1941, Sex: M
                                                 HOUSTON TX 77030                  Visit date: 7/14/2020
                        07/14/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

                None




Medication List
   Medication List
      This report is for documentation purposes only. The patient should not follow medication instructions within.
      For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.

       Active at the End of Visit
         Medications last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

           buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Start date: 10/9/2019                                            Informant: Family Member

           levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 75 mcg by mouth every morning.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Start date: 10/9/2019                                           Informant: Family Member

           testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
           1/8/2020 1311]
            Instructions: Place 1 Squirt on the skin daily.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Informant: Family Member

           traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 50 mg by mouth nightly.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Start date: 3/13/2019                                           Informant: Family Member

           omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 1 capsule by mouth daily.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Informant: Family Member

           levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
            Instructions: Take 1 tablet by mouth daily.
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Start date: 10/1/2019                                           End date: 6/1/2021
            Informant: Family Member

           carbidopa-levodopa (SINEMET) 25-100 mg per tablet
            Instructions: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
            Authorized by: Lai, Eugene C., MD                     Ordered on: 3/12/2020
            Start date: 3/12/2020                                 End date: 11/11/2020
            Quantity: 540 tablet                                  Refill: 3 refills by 3/12/2021

           Exelon 9.5 mg/24 hr
            Instructions: Place 1 patch on the skin daily.
            Authorized by: Lai, Eugene C., MD                               Ordered on: 6/12/2020
            Start date: 6/12/2020                                           End date: 3/15/2021
            Quantity: 90 patch                                              Refill: 1 refill by 6/12/2021


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                                                HMH SCURLOCK                             Brockman, Robert T
                                                6560 Fannin                              MRN: 003768603, DOB:           1941, Sex: M
                                                HOUSTON TX 77030                         Visit date: 7/14/2020
                          07/14/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

         Eliquis 2.5 mg tablet
          Instructions: Take 1 tablet (2.5 mg total) by mouth 2 (two) times a day.
          Authorized by: Lai, Eugene C., MD                                  Ordered on: 7/14/2020
          Start date: 7/14/2020                                              End date: 11/11/2020
          Quantity: 180 tablet                                               Refill: No refills remaining

         clonAZEPAM (KlonoPIN) 0.5 MG tablet
          Instructions: Take 1 tablet (0.5 mg total) by mouth nightly for 90 days.
          Authorized by: Lai, Eugene C., MD                                   Ordered on: 7/14/2020
          Start date: 7/14/2020                                               End date: 10/12/2020
          Quantity: 30 tablet                                                 Refill: 2 refills by 1/10/2021


       Stopped in Visit
         None




                          07/14/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders
   Medications
       clonAZEPAM (KlonoPIN) 0.5 MG tablet [335306863] (Expired)
       Electronically signed by: Lai, Eugene C., MD on 07/14/20 1350                                                           Status: Expired
       Mode: Ordering in Verbal with readback mode                     Communicated by: Atassi, Farah
       Ordering user: Atassi, Farah 07/14/20 1338                      Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                               Ordering mode: Verbal with readback
       Frequency: Nightly 07/14/20 - 90 days                           Class: Print
       Released by: Atassi, Farah 07/14/20 1338
       Reordered from: clonAZEPAM (KlonoPIN) 0.5 MG tablet
                                                                  Order Details

          Order Details
               Priority                                   Expected                                      Study Status
                                                          7/14/2020 9:00 PM

          Order Details
               Frequency                       Duration                          Priority                        Order Class
               at bedtime                      90 days                           None                            Print

          Order History                                                                                                             Outpatient
               Date/Time          Action Taken               User                              Additional Information
               07/14/20 1214      Pend                       Interface, Surescripts In
               07/14/20 1338      Sign                       Atassi, Farah                     Reorder from Order: 320668809; Ordering
                                                                                               Mode: Verbal with readback
               07/14/20 1338      Taking Flag Checked        Atassi, Farah
               07/14/20 1350      Verbal Cosign              Lai, Eugene C., MD

          clonAZEPAM (KlonoPIN) 0.5 MG tablet [335306863] ENDED
               Dose: 0.5 mg                           Route: oral                              Frequency: at bedtime
               Dispense Quantity: 30 tablet           Refills: 2

               Sig: Take 1 tablet (0.5 mg total) by mouth nightly for 90 days.

               Start Date: 07/14/20                   End Date: 10/12/20 after 90 doses

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                                              HMH SCURLOCK                            Brockman, Robert T
                                              6560 Fannin                             MRN: 003768603, DOB:          1941, Sex: M
                                              HOUSTON TX 77030                        Visit date: 7/14/2020
                        07/14/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

           Written Date: 07/14/20            Expiration Date: 01/10/21
           Original Order: clonAZEPAM (KlonoPIN) 0.5 MG tablet [320668809]
           Providers
              Ordering Provider and Authorizing Provider:
              Lai, Eugene C., MD
              6560 FANNIN ST SUITE 802, HOUSTON TX
              77030
              Phone: 713-441-0239 Fax: 713-790-5044
              NPI: 1790871002

              Ordering User: Atassi, Farah


           Pharmacy
              Briargrove Pharmacy - Houston, TX - 6435 San Felipe
              6435 San Felipe, Houston TX 77057
              Phone: 713-783-5704 Fax: 713-783-5482


         Pharmacist Clinical Review History
            This prescription has not been clinically reviewed.


      Eliquis 2.5 mg tablet [335306862] (Discontinued)
       Electronically signed by: Lai, Eugene C., MD on 07/14/20 1350                                            Status: Discontinued
       Mode: Ordering in Verbal with readback mode                     Communicated by: Atassi, Farah
       Ordering user: Atassi, Farah 07/14/20 1338                      Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                               Ordering mode: Verbal with readback
       Frequency: 07/14/20 - 11/11/20                                  Class: Normal
       Released by: Atassi, Farah 07/14/20 1338                        Discontinued by: Lai, Eugene C., MD 11/11/20 0718
       Reordered from: apixaban (ELIQUIS) 2.5 mg tablet
                                                                  Order Details

          Order Details
             Priority                                   Expected                                  Study Status
                                                        7/14/2020 1:38 PM

          Order Details
             Frequency                       Duration                          Priority                     Order Class
             None                            None                              None                         Normal

          Order History                                                                                                        Outpatient
             Date/Time          Action Taken              User                             Additional Information
             07/14/20 1210      Pend                      Interface, Surescripts In
             07/14/20 1338      Sign                      Atassi, Farah                    Reorder from Order: 320668813; Ordering
                                                                                           Mode: Verbal with readback
             07/14/20 1338      Taking Flag Checked       Atassi, Farah
             07/14/20 1350      Verbal Cosign             Lai, Eugene C., MD
             11/10/20 1105      Reorder                   Lai, Eugene C., MD               To Order: 335306864
             11/11/20 0718      Discontinue               Lai, Eugene C., MD

          Eliquis 2.5 mg tablet [335306862] DISCONTINUED
             Dose, Route, Frequency: As Directed
             Dispense Quantity: 180 tablet       Refills: 0

             Sig: Take 1 tablet (2.5 mg total) by mouth 2 (two) times a day.

             Start Date: 07/14/20                   End Date: 11/11/20
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                                               HMH SCURLOCK                     Brockman, Robert T
                                               6560 Fannin                      MRN: 003768603, DOB:           1941, Sex: M
                                               HOUSTON TX 77030                 Visit date: 7/14/2020
                       07/14/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

            Discontinued by: Lai, Eugene C., MD on 11/11/2020 07:18

            Written Date: 07/14/20              Expiration Date: 07/14/21
            Original Order: apixaban (ELIQUIS) 2.5 mg tablet [320668813]
            Providers
               Ordering Provider and Authorizing Provider:
               Lai, Eugene C., MD
               6560 FANNIN ST SUITE 802, HOUSTON TX
               77030
               Phone: 713-441-0239 Fax: 713-790-5044
               NPI: 1790871002

               Ordering User: Atassi, Farah


            Pharmacy
               Briargrove Pharmacy - Houston, TX - 6435 San Felipe
               6435 San Felipe, Houston TX 77057
               Phone: 713-783-5704 Fax: 713-783-5482


         Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.




                               07/14/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
                                                       All Parent Orders


                                                        Medications - All Orders
Eliquis 2.5 mg tablet [335306862]
Electronically signed by: Lai, Eugene C., MD on 07/14/20 1350                                                       Status: Discontinued
Mode: Ordering in Verbal with readback mode                           Communicated by: Atassi, Farah
Ordering user: Atassi, Farah 07/14/20 1338                            Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                     Ordering mode: Verbal with readback
Frequency: 07/14/20 - 11/11/20                                        Class: Normal
Released by: Atassi, Farah 07/14/20 1338                              Discontinued by: Lai, Eugene C., MD 11/11/20 0718
Reordered from: apixaban (ELIQUIS) 2.5 mg tablet [320668813]

clonAZEPAM (KlonoPIN) 0.5 MG tablet [335306863]
Electronically signed by: Lai, Eugene C., MD on 07/14/20 1350                                                            Status: Expired
Mode: Ordering in Verbal with readback mode                           Communicated by: Atassi, Farah
Ordering user: Atassi, Farah 07/14/20 1338                            Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                     Ordering mode: Verbal with readback
Frequency: Nightly 07/14/20 - 90 days                                 Class: Print
Released by: Atassi, Farah 07/14/20 1338
Reordered from: clonAZEPAM (KlonoPIN) 0.5 MG tablet [320668809]



                               07/14/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
                                                      Diagnosis Summary
Visit Information
   Date & Time                         Provider                        Department                        Encounter #
   7/14/2020 12:10 PM                  Lai, Eugene C., MD              HMNI Stanley H Appel Dept of      2100081613210

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                                           HMH SCURLOCK                 Brockman, Robert T
                                           6560 Fannin                  MRN: 003768603, DOB:    1941, Sex: M
                                           HOUSTON TX 77030             Visit date: 7/14/2020
                                07/14/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
                                               Diagnosis Summary (continued)
Visit Information (continued)

                                                                Neurology




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                                         HMH SCURLOCK               Brockman, Robert T
                                         6560 Fannin                MRN: 003768603, DOB:     1941, Sex: M
                                         HOUSTON TX 77030           Visit date: 7/14/2020
                             07/14/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
                                            Diagnosis Summary (continued)
                       07/14/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans
   Prescription Record
      Scan on 7/14/2020 2:51 PM: Clonazepam Refill 07/14/20
        Scan (below)




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                                         HMH SCURLOCK             Brockman, Robert T
                                         6560 Fannin              MRN: 003768603, DOB:      941, Sex: M
                                         HOUSTON TX 77030         Visit date: 7/14/2020
                     07/14/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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         Ex. 156, p. 61 of 157
                                               HMH SCURLOCK                     Brockman, Robert T
                                               6560 Fannin                      MRN: 003768603, DOB:          1941, Sex: M
                                               HOUSTON TX 77030                 Visit date: 6/12/2020

                               06/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Contacts
                                  Type                Contact                         Phone                   User
       06/12/2020 03:58 PM        Interface           Briargrove Pharmacy -           713-783-5704            Interface, Surescripts In
       CDT                        (Incoming)          Houston, TX - 6435 San Felipe

   Nursing Assessment
       No Nursing Assessment available for this encounter.

   Questionnaires
       No completed forms available for this encounter.



Research Study Linked to Refill on 6/12/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 6/12/2020
      Problems last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
        Diagnosis: Dementia associated with         Noted on: 01/08/2020                        Chronic: No
        Parkinson's disease (HCC)

       Idiopathic peripheral neuropathy [last edited by Lai, Eugene C., MD on 2/21/2020 2038]
        Diagnosis: Idiopathic peripheral            Noted on: 02/21/2020                        Chronic: No
        neuropathy

       Mixed anxiety depressive disorder [last edited by Lai, Eugene C., MD on 2/21/2020 2037]
        Diagnosis: Mixed anxiety depressive         Noted on: 02/21/2020                        Chronic: No
        disorder

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
        Diagnosis: Parkinson's disease (HCC)        Noted on: 01/08/2020                        Chronic: No


   Allergies as of 6/12/2020
      Allergies last reviewed by Lai, Eugene C., MD on 2/12/2020 0907
      No Known Allergies


   History as of 6/12/2020
       Medical History as of 6/12/2020
                Medical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Surgical History as of 6/12/2020
                Surgical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Family History as of 6/12/2020
           Family History as of 6/12/2020

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                                                HMH SCURLOCK                         Brockman, Robert T
                                                6560 Fannin                          MRN: 003768603, DOB:          1941, Sex: M
                                                HOUSTON TX 77030                     Visit date: 6/12/2020
                         06/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)




       Substance & Sexuality History as of 6/12/2020
           Tobacco Use as of 6/12/2020
                   Tobacco Use last reviewed by Lai, Eugene C., MD on 2/12/2020

               Smoking Status                         Smoking Start Date       Smoking Quit Date        Packs/Day        Years Used
               Never Smoker                           —                        —                        —                —
                                                                                                        Smokeless
                                                                               Smokeless Tobacco        Tobacco Quit
               Types                                  Comments                 Status                   Date             Source
               —                                      —                        Never Used               —                Provider


           Alcohol Use as of 6/12/2020
                   Alcohol Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Alcohol Use                   Drinks/Week                 Alcohol/Week              Comments                  Source
               Never                                                     —                         —                         Provider


           Drug Use as of 6/12/2020
                   Drug Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Drug Use                      Types                       Frequency                 Comments                  Source
               Never                         —                           —                         —                         Provider


           Sexual Activity as of 6/12/2020
                   Sexual Activity last reviewed by Riley, Lillian R, MA on 2/12/2020

               Sexually Active               Birth Control               Partners                  Comments                  Source
               Defer                         —                           —                         —                         Provider



       Socioeconomic History as of 6/12/2020
           Occupational as of 6/12/2020
                   Occupational last reviewed by Riley, Lillian R, MA on 2/12/2020
                   None



           Socioeconomic as of 6/12/2020
                   Socioeconomic last reviewed by Riley, Lillian R, MA on 2/12/2020

               Marital       Spouse          Number of       Years       Education    Preferred
               Status        Name            Children        Education   Level        Language     Ethnicity     Race        Source
               Married       —               —               —           —            English      Not           Caucasian   —
                                                                                                   Hispanic or
                                                                                                   Latino



       Social Documentation History as of 6/12/2020
               Social Documentation last reviewed by Riley, Lillian R, MA on 2/12/2020
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                                                 HMH SCURLOCK                           Brockman, Robert T
                                                 6560 Fannin                            MRN: 003768603, DOB:        1941, Sex: M
                                                 HOUSTON TX 77030                       Visit date: 6/12/2020
                        06/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

                None




Medication List
   Medication List
      This report is for documentation purposes only. The patient should not follow medication instructions within.
      For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.

       Active at the End of Visit
         Medications last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

           buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Start date: 10/9/2019                                            Informant: Family Member

           levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 75 mcg by mouth every morning.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Start date: 10/9/2019                                                Informant: Family Member

           testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
           1/8/2020 1311]
            Instructions: Place 1 Squirt on the skin daily.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Informant: Family Member

           traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 50 mg by mouth nightly.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Start date: 3/13/2019                                                Informant: Family Member

           omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 1 capsule by mouth daily.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Informant: Family Member

           levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
            Instructions: Take 1 tablet by mouth daily.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Start date: 10/1/2019                                                End date: 6/1/2021
            Informant: Family Member

           clonAZEPAM (KlonoPIN) 0.5 MG tablet
            Instructions: Take 1 tablet (0.5 mg total) by mouth nightly for 90 days.
            Authorized by: Lai, Eugene C., MD                                   Ordered on: 1/8/2020
            Start date: 1/8/2020                                                End date: 7/14/2020
            Quantity: 30 tablet                                                 Refill: 2 refills by 7/6/2020

           apixaban (ELIQUIS) 2.5 mg tablet
            Instructions: Take 1 tablet (2.5 mg total) by mouth 2 (two) times a day.
            Authorized by: Lai, Eugene C., MD                                  Ordered on: 2/12/2020
            Start date: 2/12/2020                                              End date: 7/14/2020
            Quantity: 180 tablet                                               Refill: 3 refills by 2/11/2021


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                                                HMH SCURLOCK                          Brockman, Robert T
                                                6560 Fannin                           MRN: 003768603, DOB:              1941, Sex: M
                                                HOUSTON TX 77030                      Visit date: 6/12/2020
                          06/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

         carbidopa-levodopa (SINEMET) 25-100 mg per tablet
          Instructions: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
          Authorized by: Lai, Eugene C., MD                     Ordered on: 3/12/2020
          Start date: 3/12/2020                                 End date: 11/11/2020
          Quantity: 540 tablet                                  Refill: 3 refills by 3/12/2021

         Exelon 9.5 mg/24 hr
          Instructions: Place 1 patch on the skin daily.
          Authorized by: Lai, Eugene C., MD                                   Ordered on: 6/12/2020
          Start date: 6/12/2020                                               End date: 3/15/2021
          Quantity: 90 patch                                                  Refill: 1 refill by 6/12/2021


       Stopped in Visit
         None




                          06/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders
   Medications
       Exelon 9.5 mg/24 hr [335306861] (Discontinued)
       Electronically signed by: Lai, Eugene C., MD on 06/12/20 1626                                                  Status: Discontinued
       Ordering user: Lai, Eugene C., MD 06/12/20 1626                   Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                                 Ordering mode: Standard
       Frequency: 06/12/20 - 03/15/21                                    Class: Normal
       Released by: Lai, Eugene C., MD 06/12/20 1626                     Discontinued by: Guandique, Zulma 03/15/21 1021 [Med List
                                                                         Cleanup]
       Medication comments: This prescription was filled on 6/12/2020. Any refills authorized will be placed on file.
       Reordered from: rivastigmine (EXELON) 9.5 mg/24 hr
                                                                   Order Details

          Order Details
               Priority                                    Expected                                     Study Status
                                                           6/12/2020 4:26 PM

          Order Details
               Frequency                        Duration                        Priority                         Order Class
               None                             None                            None                             Normal

          Order History                                                                                                            Outpatient
               Date/Time          Action Taken               User                             Additional Information
               06/12/20 1558      Pend                       Interface, Surescripts In
               06/12/20 1626      Sign                       Lai, Eugene C., MD               Reorder from Order: 320668814
               06/12/20 1626      Taking Flag Checked        Lai, Eugene C., MD
               02/02/21 0921      Taking Flag Checked        Pena, Flor, MA
               03/15/21 0927      Order for Admission        Patel, Amitkumar Natvarlal,      To Order: 418718816
                                                             MD
               03/15/21 1021      Discontinue                Guandique, Zulma                 Reason:Med List Cleanup

          Exelon 9.5 mg/24 hr [335306861] DISCONTINUED
               Dose, Route, Frequency: As Directed
               Dispense Quantity: 90 patch          Refills: 1
               Note to Pharmacy: This prescription was filled on 6/12/2020. Any refills authorized will be placed on file.
Generated by 1043159 at 6/2/21 3:28 PM                                                                                                 Page 65

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                                                HMH SCURLOCK                   Brockman, Robert T
                                                6560 Fannin                    MRN: 003768603, DOB:            1941, Sex: M
                                                HOUSTON TX 77030               Visit date: 6/12/2020
                       06/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)


            Sig: Place 1 patch on the skin daily.

            Start Date: 06/12/20              End Date: 03/15/21
            Discontinued by: Guandique, Zulma on 3/15/2021 10:21
            Reason: Med List Cleanup

            Written Date: 06/12/20              Expiration Date: 06/12/21
            Original Order: rivastigmine (EXELON) 9.5 mg/24 hr [320668814]
            Providers
               Ordering Provider and Authorizing Provider:
                Lai, Eugene C., MD
                6560 FANNIN ST SUITE 802, HOUSTON TX
               77030
                Phone: 713-441-0239 Fax: 713-790-5044
                NPI: 1790871002

               Ordering User: Lai, Eugene C., MD


            Pharmacy
               Briargrove Pharmacy - Houston, TX - 6435 San Felipe
               6435 San Felipe, Houston TX 77057
               Phone: 713-783-5704 Fax: 713-783-5482


         Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.




                               06/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
                                                       All Parent Orders


                                                        Medications - All Orders
Exelon 9.5 mg/24 hr [335306861]
Electronically signed by: Lai, Eugene C., MD on 06/12/20 1626                                                        Status: Discontinued
Ordering user: Lai, Eugene C., MD 06/12/20 1626                         Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                       Ordering mode: Standard
Frequency: 06/12/20 - 03/15/21                                          Class: Normal
Released by: Lai, Eugene C., MD 06/12/20 1626                           Discontinued by: Guandique, Zulma 03/15/21 1021 [Med List
                                                                        Cleanup]
Medication comments: This prescription was filled on 6/12/2020. Any refills authorized will be placed on file.
Reordered from: rivastigmine (EXELON) 9.5 mg/24 hr [320668814]



                               06/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
                                                      Diagnosis Summary
Visit Information
   Date & Time                         Provider                       Department                        Encounter #
   6/12/2020 3:58 PM                   Lai, Eugene C., MD             HMNI Stanley H Appel Dept of      2100079992827
                                                                      Neurology



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                                               HMH SCURLOCK                     Brockman, Robert T
                                               6560 Fannin                      MRN: 003768603, DOB:          1941, Sex: M
                                               HOUSTON TX 77030                 Visit date: 3/12/2020

                               03/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Contacts
                                  Type                Contact                         Phone                   User
       03/12/2020 10:06 AM        Interface           Briargrove Pharmacy -           713-783-5704            Interface, Surescripts In
       CDT                        (Incoming)          Houston, TX - 6435 San Felipe

   Nursing Assessment
       No Nursing Assessment available for this encounter.

   Questionnaires
       No completed forms available for this encounter.



Research Study Linked to Refill on 3/12/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 3/12/2020
      Problems last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
        Diagnosis: Dementia associated with         Noted on: 01/08/2020                        Chronic: No
        Parkinson's disease (HCC)

       Idiopathic peripheral neuropathy [last edited by Lai, Eugene C., MD on 2/21/2020 2038]
        Diagnosis: Idiopathic peripheral            Noted on: 02/21/2020                        Chronic: No
        neuropathy

       Mixed anxiety depressive disorder [last edited by Lai, Eugene C., MD on 2/21/2020 2037]
        Diagnosis: Mixed anxiety depressive         Noted on: 02/21/2020                        Chronic: No
        disorder

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
        Diagnosis: Parkinson's disease (HCC)        Noted on: 01/08/2020                        Chronic: No


   Allergies as of 3/12/2020
      Allergies last reviewed by Lai, Eugene C., MD on 2/12/2020 0907
      No Known Allergies


   History as of 3/12/2020
       Medical History as of 3/12/2020
                Medical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Surgical History as of 3/12/2020
                Surgical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Family History as of 3/12/2020
           Family History as of 3/12/2020

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                                                HMH SCURLOCK                         Brockman, Robert T
                                                6560 Fannin                          MRN: 003768603, DOB:          1941, Sex: M
                                                HOUSTON TX 77030                     Visit date: 3/12/2020
                         03/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)




       Substance & Sexuality History as of 3/12/2020
           Tobacco Use as of 3/12/2020
                   Tobacco Use last reviewed by Lai, Eugene C., MD on 2/12/2020

               Smoking Status                         Smoking Start Date       Smoking Quit Date        Packs/Day        Years Used
               Never Smoker                           —                        —                        —                —
                                                                                                        Smokeless
                                                                               Smokeless Tobacco        Tobacco Quit
               Types                                  Comments                 Status                   Date             Source
               —                                      —                        Never Used               —                Provider


           Alcohol Use as of 3/12/2020
                   Alcohol Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Alcohol Use                   Drinks/Week                 Alcohol/Week              Comments                  Source
               Never                                                     —                         —                         Provider


           Drug Use as of 3/12/2020
                   Drug Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Drug Use                      Types                       Frequency                 Comments                  Source
               Never                         —                           —                         —                         Provider


           Sexual Activity as of 3/12/2020
                   Sexual Activity last reviewed by Riley, Lillian R, MA on 2/12/2020

               Sexually Active               Birth Control               Partners                  Comments                  Source
               Defer                         —                           —                         —                         Provider



       Socioeconomic History as of 3/12/2020
           Occupational as of 3/12/2020
                   Occupational last reviewed by Riley, Lillian R, MA on 2/12/2020
                   None



           Socioeconomic as of 3/12/2020
                   Socioeconomic last reviewed by Riley, Lillian R, MA on 2/12/2020

               Marital       Spouse          Number of       Years       Education    Preferred
               Status        Name            Children        Education   Level        Language     Ethnicity     Race        Source
               Married       —               —               —           —            English      Not           Caucasian   —
                                                                                                   Hispanic or
                                                                                                   Latino



       Social Documentation History as of 3/12/2020
               Social Documentation last reviewed by Riley, Lillian R, MA on 2/12/2020
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                                                 HMH SCURLOCK                           Brockman, Robert T
                                                 6560 Fannin                            MRN: 003768603, DOB:        1941, Sex: M
                                                 HOUSTON TX 77030                       Visit date: 3/12/2020
                        03/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

                None




Medication List
   Medication List
      This report is for documentation purposes only. The patient should not follow medication instructions within.
      For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.

       Active at the End of Visit
         Medications last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

           buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Start date: 10/9/2019                                            Informant: Family Member

           levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 75 mcg by mouth every morning.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Start date: 10/9/2019                                                Informant: Family Member

           testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
           1/8/2020 1311]
            Instructions: Place 1 Squirt on the skin daily.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Informant: Family Member

           traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 50 mg by mouth nightly.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Start date: 3/13/2019                                                Informant: Family Member

           omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 1 capsule by mouth daily.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Informant: Family Member

           levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
            Instructions: Take 1 tablet by mouth daily.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Start date: 10/1/2019                                                End date: 6/1/2021
            Informant: Family Member

           clonAZEPAM (KlonoPIN) 0.5 MG tablet
            Instructions: Take 1 tablet (0.5 mg total) by mouth nightly for 90 days.
            Authorized by: Lai, Eugene C., MD                                   Ordered on: 1/8/2020
            Start date: 1/8/2020                                                End date: 7/14/2020
            Quantity: 30 tablet                                                 Refill: 2 refills by 7/6/2020

           apixaban (ELIQUIS) 2.5 mg tablet
            Instructions: Take 1 tablet (2.5 mg total) by mouth 2 (two) times a day.
            Authorized by: Lai, Eugene C., MD                                  Ordered on: 2/12/2020
            Start date: 2/12/2020                                              End date: 7/14/2020
            Quantity: 180 tablet                                               Refill: 3 refills by 2/11/2021


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                                                HMH SCURLOCK                            Brockman, Robert T
                                                6560 Fannin                             MRN: 003768603, DOB:          1941, Sex: M
                                                HOUSTON TX 77030                        Visit date: 3/12/2020
                          03/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

         rivastigmine (EXELON) 9.5 mg/24 hr
          Instructions: Place 1 patch on the skin daily.
          Authorized by: Lai, Eugene C., MD                                  Ordered on: 2/12/2020
          Start date: 2/12/2020                                              End date: 6/12/2020
          Quantity: 90 patch                                                 Refill: 3 refills by 2/11/2021

         carbidopa-levodopa (SINEMET) 25-100 mg per tablet
          Instructions: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
          Authorized by: Lai, Eugene C., MD                     Ordered on: 3/12/2020
          Start date: 3/12/2020                                 End date: 11/11/2020
          Quantity: 540 tablet                                  Refill: 3 refills by 3/12/2021


       Stopped in Visit
         None




                          03/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders
   Medications
       carbidopa-levodopa (SINEMET) 25-100 mg per tablet [335306860] (Discontinued)
       Electronically signed by: Lai, Eugene C., MD on 03/12/20 1244                                            Status: Discontinued
       Ordering user: Lai, Eugene C., MD 03/12/20 1244                 Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                               Ordering mode: Standard
       Frequency: 03/12/20 - 11/11/20                                  Class: Normal
       Released by: Lai, Eugene C., MD 03/12/20 1244                   Discontinued by: Lai, Eugene C., MD 11/11/20 0718
       Reordered from: carbidopa-levodopa (SINEMET) 25-100 mg per tablet
                                                                  Order Details

          Order Details
               Priority                                    Expected                                    Study Status
                                                           3/12/2020 12:44 PM

          Order Details
               Frequency                       Duration                         Priority                        Order Class
               None                            None                             None                            Normal

          Order History                                                                                                          Outpatient
               Date/Time         Action Taken               User                             Additional Information
               03/12/20 1006     Pend                       Interface, Surescripts In
               03/12/20 1244     Sign                       Lai, Eugene C., MD               Reorder from Order: 9125748
               03/12/20 1244     Taking Flag Checked        Lai, Eugene C., MD
               11/10/20 1105     Reorder                    Lai, Eugene C., MD               To Order: 335306865
               11/11/20 0718     Discontinue                Lai, Eugene C., MD

          carbidopa-levodopa (SINEMET) 25-100 mg per tablet [335306860]
          DISCONTINUED
             Dose, Route, Frequency: As Directed
             Dispense Quantity: 540 tablet       Refills: 3

               Sig: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY

               Start Date: 03/12/20                  End Date: 11/11/20

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                                               HMH SCURLOCK                   Brockman, Robert T
                                               6560 Fannin                    MRN: 003768603, DOB:          1941, Sex: M
                                               HOUSTON TX 77030               Visit date: 3/12/2020
                       03/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

            Discontinued by: Lai, Eugene C., MD on 11/11/2020 07:18

            Written Date: 03/12/20               Expiration Date: 03/12/21
            Original Order: carbidopa-levodopa (SINEMET) 25-100 mg per tablet [9125748]
            Providers
               Ordering Provider and Authorizing Provider:
               Lai, Eugene C., MD
               6560 FANNIN ST SUITE 802, HOUSTON TX
               77030
               Phone: 713-441-0239 Fax: 713-790-5044
               NPI: 1790871002

               Ordering User: Lai, Eugene C., MD


            Pharmacy
               Briargrove Pharmacy - Houston, TX - 6435 San Felipe
               6435 San Felipe, Houston TX 77057
               Phone: 713-783-5704 Fax: 713-783-5482


         Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.




                               03/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
                                                       All Parent Orders


                                                        Medications - All Orders
carbidopa-levodopa (SINEMET) 25-100 mg per tablet [335306860]
Electronically signed by: Lai, Eugene C., MD on 03/12/20 1244                                                    Status: Discontinued
Ordering user: Lai, Eugene C., MD 03/12/20 1244                    Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                  Ordering mode: Standard
Frequency: 03/12/20 - 11/11/20                                     Class: Normal
Released by: Lai, Eugene C., MD 03/12/20 1244                      Discontinued by: Lai, Eugene C., MD 11/11/20 0718
Reordered from: carbidopa-levodopa (SINEMET) 25-100 mg per tablet [9125748]



                               03/12/2020 - Refill in HMNI Stanley H Appel Dept of Neurology
                                                      Diagnosis Summary
Visit Information
   Date & Time                         Provider                       Department                     Encounter #
   3/12/2020 10:06 AM                  Lai, Eugene C., MD             HMNI Stanley H Appel Dept of   2100076263215
                                                                      Neurology




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                                               HMH SCURLOCK                        Brockman, Robert T
                                               6560 Fannin                         MRN: 003768603, DOB:            941, Sex: M
                                               HOUSTON TX 77030                    Visit date: 2/12/2020

                          02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Provider Information
       Encounter Provider
       Atassi, Farah

   Department
       Name                                     Address                                Phone                      Fax
       HMNI Stanley H Appel Dept of             6560 Fannin Street Suite 802           713-441-3780               713-790-5079
       Neurology                                Houston TX 77030-2725



Research Study Linked to Documentation on 2/12/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 2/12/2020
      Problems last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
        Diagnosis: Dementia associated with         Noted on: 01/08/2020                      Chronic: No
        Parkinson's disease (HCC)

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
        Diagnosis: Parkinson's disease (HCC)        Noted on: 01/08/2020                      Chronic: No


   Allergies as of 2/12/2020
      Allergies last reviewed by Lai, Eugene C., MD on 2/12/2020 0907
      No Known Allergies


   History as of 2/12/2020
       Medical History as of 2/12/2020
                Medical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Surgical History as of 2/12/2020
                Surgical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Family History as of 2/12/2020
           Family History as of 2/12/2020



       Substance & Sexuality History as of 2/12/2020
           Tobacco Use as of 2/12/2020
                      Tobacco Use last reviewed by Lai, Eugene C., MD on 2/12/2020

              Smoking Status                        Smoking Start Date         Smoking Quit Date      Packs/Day        Years Used
              Never Smoker                          —                          —                      —                —
              Types                                 Comments                   Smokeless Tobacco      Smokeless        Source

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                                                HMH SCURLOCK                         Brockman, Robert T
                                                6560 Fannin                          MRN: 003768603, DOB:           1941, Sex: M
                                                HOUSTON TX 77030                     Visit date: 2/12/2020
                  02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

                                                                            Status                   Tobacco Quit
                                                                                                     Date
            —                                       —                       Never Used               —                 Provider


          Alcohol Use as of 2/12/2020
                   Alcohol Use last reviewed by Riley, Lillian R, MA on 2/12/2020

              Alcohol Use                   Drinks/Week                 Alcohol/Week               Comments                  Source
              Never                                                     —                          —                         Provider


          Drug Use as of 2/12/2020
                   Drug Use last reviewed by Riley, Lillian R, MA on 2/12/2020

              Drug Use                      Types                       Frequency                  Comments                  Source
              Never                         —                           —                          —                         Provider


          Sexual Activity as of 2/12/2020
                   Sexual Activity last reviewed by Riley, Lillian R, MA on 2/12/2020

              Sexually Active               Birth Control               Partners                   Comments                  Source
              Defer                         —                           —                          —                         Provider



       Socioeconomic History as of 2/12/2020
           Occupational as of 2/12/2020
                   Occupational last reviewed by Riley, Lillian R, MA on 2/12/2020
                   None



           Socioeconomic as of 2/12/2020
                   Socioeconomic last reviewed by Riley, Lillian R, MA on 2/12/2020

                Marital      Spouse         Number of       Years       Education      Preferred
                Status       Name           Children        Education   Level          Language    Ethnicity     Race        Source
                Married      —              —               —           —              English     Not           Caucasian   —
                                                                                                   Hispanic or
                                                                                                   Latino



       Social Documentation History as of 2/12/2020
                Social Documentation last reviewed by Riley, Lillian R, MA on 2/12/2020
                None




Medication List
   Medication List
      This report is for documentation purposes only. The patient should not follow medication instructions within.
      For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.


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                                                HMH SCURLOCK                           Brockman, Robert T
                                                6560 Fannin                            MRN: 003768603, DOB:        1941, Sex: M
                                                HOUSTON TX 77030                       Visit date: 2/12/2020
                02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

       Active at the End of Visit
         Medications last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

          buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Start date: 10/9/2019                                            Informant: Family Member

          carbidopa-levodopa (SINEMET) 25-100 mg per tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
           Entered by: Riley, Lillian R, MA                      Entered on: 1/8/2020
           Start date: 10/9/2019                                 End date: 3/12/2020

          levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 75 mcg by mouth every morning.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Start date: 10/9/2019                                                Informant: Family Member

          testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
          1/8/2020 1311]
           Instructions: Place 1 Squirt on the skin daily.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Informant: Family Member

          traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 50 mg by mouth nightly.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Start date: 3/13/2019                                                Informant: Family Member

          omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 1 capsule by mouth daily.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Informant: Family Member

          levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
           Instructions: Take 1 tablet by mouth daily.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Start date: 10/1/2019                                                End date: 6/1/2021
           Informant: Family Member

          clonAZEPAM (KlonoPIN) 0.5 MG tablet
           Instructions: Take 1 tablet (0.5 mg total) by mouth nightly for 90 days.
           Authorized by: Lai, Eugene C., MD                                   Ordered on: 1/8/2020
           Start date: 1/8/2020                                                End date: 7/14/2020
           Quantity: 30 tablet                                                 Refill: 2 refills by 7/6/2020

          apixaban (ELIQUIS) 2.5 mg tablet
           Instructions: Take 1 tablet (2.5 mg total) by mouth 2 (two) times a day.
           Authorized by: Lai, Eugene C., MD                                  Ordered on: 2/12/2020
           Start date: 2/12/2020                                              End date: 7/14/2020
           Quantity: 180 tablet                                               Refill: 3 refills by 2/11/2021

          rivastigmine (EXELON) 9.5 mg/24 hr
           Instructions: Place 1 patch on the skin daily.
           Authorized by: Lai, Eugene C., MD                                    Ordered on: 2/12/2020
           Start date: 2/12/2020                                                End date: 6/12/2020
           Quantity: 90 patch                                                   Refill: 3 refills by 2/11/2021

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                                                HMH SCURLOCK                          Brockman, Robert T
                                                6560 Fannin                           MRN: 003768603, DOB:            1941, Sex: M
                                                HOUSTON TX 77030                      Visit date: 2/12/2020
                  02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)



       Stopped in Visit
         None




Progress Notes
   Progress Notes
       Atassi, Farah at 2/12/2020 1455
             Author: Atassi, Farah                      Service: —                                    Author Type: Clinical Trials Mgr
             Filed: 2/12/2020 3:06 PM                   Encounter Date: 2/12/2020                     Creation Time: 2/12/2020 2:55 PM
             Status: Signed                             Editor: Atassi, Farah (Clinical Trials Mgr)

Robert T Brockman was approached to participate in Biological Markers for Nervous System Immune and Free
Radical-Mediated Processes in Amyotrophic Lateral Sclerosis
Study -Parkinson's disease subtype. The details of the study were explained including all the contents of the informed
consent. The participant was provided a copy of the current, IRB approved, informed consent form to read. Ample
time was provided in a quiet location for the participant to read the form and ask questions. Questions and concerns
were addressed to meet their satisfaction and understanding. He demonstrated understanding that this is a research
study, and their participation was voluntary and revocable at any time. He indicated that they would like to participate
in the study, and the form was signed without alteration by Robert T Brockman on 02/12/2020. A copy of the signed
consent form was provided. No study procedures were performed prior to signing of the consent form.
We are able to draw one green tube only. He states that we will repeat to draw his blood in the next visit and he will
drink a lot of fluid before the visit. l

Note Electronically Signed by Farah Atassi.



         Electronically signed by Atassi, Farah at 2/12/2020 3:06 PM




                          02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology
                                                   All Parent Orders
All Orders
   No orders found


                          02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology
                                                  Diagnosis Summary
Visit Information
   Date & Time                          Provider                            Department                         Encounter #
   2/12/2020 2:55 PM                    Atassi, Farah                       HMNI Stanley H Appel Dept of       2100075002592
                                                                            Neurology




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                                         HMH SCURLOCK                  Brockman, Robert T
                                         6560 Fannin                   MRN: 003768603, DOB:         1941, Sex: M
                                         HOUSTON TX 77030              Visit date: 2/12/2020
                       02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology
                                         Diagnosis Summary (continued)
              02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans
   Research Consent Form
      Scan on 2/12/2020 3:13 PM: PD immune study consent and informed concent process documentation 02/12/2020
        Scan (below)




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                                         HMH SCURLOCK          Brockman, Robert T
                                         6560 Fannin           MRN: 003768603, DOB:     941, Sex: M
                                         HOUSTON TX 77030      Visit date: 2/12/2020
               02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK          Brockman, Robert T
                                         6560 Fannin           MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030      Visit date: 2/12/2020
               02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK          Brockman, Robert T
                                         6560 Fannin           MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030      Visit date: 2/12/2020
               02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK          Brockman, Robert T
                                         6560 Fannin           MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030      Visit date: 2/12/2020
               02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK          Brockman, Robert T
                                         6560 Fannin           MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030      Visit date: 2/12/2020
               02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK          Brockman, Robert T
                                         6560 Fannin           MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030      Visit date: 2/12/2020
               02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK          Brockman, Robert T
                                         6560 Fannin           MRN: 003768603, DOB:     941, Sex: M
                                         HOUSTON TX 77030      Visit date: 2/12/2020
               02/12/2020 - Documentation in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                               HMH SCURLOCK                        Brockman, Robert T
                                               6560 Fannin                         MRN: 003768603, DOB:           1941, Sex: M
                                               HOUSTON TX 77030                    Visit date: 2/12/2020

                            02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Provider Information
       Encounter Provider
       Atassi, Farah

   Department
       Name                                     Address                                Phone                      Fax
       HMNI Stanley H Appel Dept of             6560 Fannin Street Suite 802           713-441-3780               713-790-5079
       Neurology                                Houston TX 77030-2725



Research Study Linked to Orders Only on 2/12/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 2/12/2020
      Problems last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
        Diagnosis: Dementia associated with         Noted on: 01/08/2020                      Chronic: No
        Parkinson's disease (HCC)

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
        Diagnosis: Parkinson's disease (HCC)        Noted on: 01/08/2020                      Chronic: No


   Allergies as of 2/12/2020
      Allergies last reviewed by Lai, Eugene C., MD on 2/12/2020 0907
      No Known Allergies


   History as of 2/12/2020
       Medical History as of 2/12/2020
                Medical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Surgical History as of 2/12/2020
                Surgical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Family History as of 2/12/2020
           Family History as of 2/12/2020



       Substance & Sexuality History as of 2/12/2020
           Tobacco Use as of 2/12/2020
                      Tobacco Use last reviewed by Lai, Eugene C., MD on 2/12/2020

              Smoking Status                        Smoking Start Date         Smoking Quit Date      Packs/Day        Years Used
              Never Smoker                          —                          —                      —                —
              Types                                 Comments                   Smokeless Tobacco      Smokeless        Source

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                                                HMH SCURLOCK                         Brockman, Robert T
                                                6560 Fannin                          MRN: 003768603, DOB:           1941, Sex: M
                                                HOUSTON TX 77030                     Visit date: 2/12/2020
                   02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

                                                                            Status                   Tobacco Quit
                                                                                                     Date
            —                                       —                       Never Used               —                 Provider


          Alcohol Use as of 2/12/2020
                  Alcohol Use last reviewed by Riley, Lillian R, MA on 2/12/2020

              Alcohol Use                   Drinks/Week                 Alcohol/Week               Comments                  Source
              Never                                                     —                          —                         Provider


          Drug Use as of 2/12/2020
                  Drug Use last reviewed by Riley, Lillian R, MA on 2/12/2020

              Drug Use                      Types                       Frequency                  Comments                  Source
              Never                         —                           —                          —                         Provider


          Sexual Activity as of 2/12/2020
                  Sexual Activity last reviewed by Riley, Lillian R, MA on 2/12/2020

              Sexually Active               Birth Control               Partners                   Comments                  Source
              Defer                         —                           —                          —                         Provider



       Socioeconomic History as of 2/12/2020
           Occupational as of 2/12/2020
                   Occupational last reviewed by Riley, Lillian R, MA on 2/12/2020
                   None



           Socioeconomic as of 2/12/2020
                   Socioeconomic last reviewed by Riley, Lillian R, MA on 2/12/2020

                Marital      Spouse         Number of       Years       Education      Preferred
                Status       Name           Children        Education   Level          Language    Ethnicity     Race        Source
                Married      —              —               —           —              English     Not           Caucasian   —
                                                                                                   Hispanic or
                                                                                                   Latino



       Social Documentation History as of 2/12/2020
                Social Documentation last reviewed by Riley, Lillian R, MA on 2/12/2020
                None




Medication List
   Medication List
      This report is for documentation purposes only. The patient should not follow medication instructions within.
      For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.


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                                                HMH SCURLOCK                           Brockman, Robert T
                                                6560 Fannin                            MRN: 003768603, DOB:        1941, Sex: M
                                                HOUSTON TX 77030                       Visit date: 2/12/2020
                  02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

       Active at the End of Visit
         Medications last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

          buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Start date: 10/9/2019                                            Informant: Family Member

          carbidopa-levodopa (SINEMET) 25-100 mg per tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
           Entered by: Riley, Lillian R, MA                      Entered on: 1/8/2020
           Start date: 10/9/2019                                 End date: 3/12/2020

          levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 75 mcg by mouth every morning.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Start date: 10/9/2019                                                Informant: Family Member

          testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
          1/8/2020 1311]
           Instructions: Place 1 Squirt on the skin daily.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Informant: Family Member

          traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 50 mg by mouth nightly.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Start date: 3/13/2019                                                Informant: Family Member

          omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 1 capsule by mouth daily.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Informant: Family Member

          levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
           Instructions: Take 1 tablet by mouth daily.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Start date: 10/1/2019                                                End date: 6/1/2021
           Informant: Family Member

          clonAZEPAM (KlonoPIN) 0.5 MG tablet
           Instructions: Take 1 tablet (0.5 mg total) by mouth nightly for 90 days.
           Authorized by: Lai, Eugene C., MD                                   Ordered on: 1/8/2020
           Start date: 1/8/2020                                                End date: 7/14/2020
           Quantity: 30 tablet                                                 Refill: 2 refills by 7/6/2020

          apixaban (ELIQUIS) 2.5 mg tablet
           Instructions: Take 1 tablet (2.5 mg total) by mouth 2 (two) times a day.
           Authorized by: Lai, Eugene C., MD                                  Ordered on: 2/12/2020
           Start date: 2/12/2020                                              End date: 7/14/2020
           Quantity: 180 tablet                                               Refill: 3 refills by 2/11/2021

          rivastigmine (EXELON) 9.5 mg/24 hr
           Instructions: Place 1 patch on the skin daily.
           Authorized by: Lai, Eugene C., MD                                    Ordered on: 2/12/2020
           Start date: 2/12/2020                                                End date: 6/12/2020
           Quantity: 90 patch                                                   Refill: 3 refills by 2/11/2021

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                                               HMH SCURLOCK                           Brockman, Robert T
                                               6560 Fannin                            MRN: 003768603, DOB:          1941, Sex: M
                                               HOUSTON TX 77030                       Visit date: 2/12/2020
                   02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)



       Stopped in Visit
         None




                   02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders
   Outpatient Referral
       Ambulatory referral to Occupational Therapy [320668816] (Active)
       Electronically signed by: Lai, Eugene C., MD on 02/12/20 1659                                                        Status: Active
       Mode: Ordering in Verbal with readback mode                          Communicated by: Atassi, Farah
       Ordering user: Atassi, Farah 02/12/20 1406                           Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                                    Ordering mode: Verbal with readback
       Frequency: Routine 02/12/20 -                                        Class: Outgoing Referral
       Quantity: 1
       Diagnoses
       Parkinson's disease (HCC) [G20]
          Questionnaire
           Question                                                          Answer
           Let me know if the patient declines service or is unable to be    No
           contacted?

       Order comments: LSVT BIG and LOUD occupational therapy 3 times a week for 8 weeks
         Referral Details
               Referred By                                                      Referred To                Type            Priority
               Lai, Eugene C., MD         Diagnoses: Parkinson's disease        TIRR Memorial              Occupational    Routine
               6560 FANNIN ST             (HCC)                                 Hermann Memorial           Therapy
               SUITE 802                  Order: Ambulatory Referral To         City OP Rehab POS
               HOUSTON TX 77030           Occupational Therapy                  929B N Gessner Rd 108
               Phone: 713-441-0239        Reason: Specialty Services            Houston TX 77024-2659
               Fax: 713-790-5044          Required                              Phone: 713-797-5942
                                                                                Specialty: Occupational
                                                                                Therapy
                    Comment: LSVT BIG and LOUD occupational therapy 3 times a week for 8 weeks
                    Question                                                    Answer
                    Let me know if the patient declines service or is unable to No
                    be contacted?:

          Indications
               Parkinson's disease (HCC) [G20 (ICD-10-CM)]

                                                                      Order Details

          Order Details
               Priority                                  Expected                                  Study Status
               Routine                                   2/12/2020

          Order Details
               Frequency                      Duration                        Priority                       Order Class
               None                           None                            Routine                        Outgoing Referral

          Order History                                                                                                          Outpatient

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                                              HMH SCURLOCK                           Brockman, Robert T
                                              6560 Fannin                            MRN: 003768603, DOB:           1941, Sex: M
                                              HOUSTON TX 77030                       Visit date: 2/12/2020
                 02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

           Date/Time          Action Taken               User                             Additional Information
           02/12/20 1406      Sign                       Atassi, Farah                    Ordering Mode: Verbal with readback
           02/12/20 1659      Verbal Cosign              Lai, Eugene C., MD

         Pharmacist Clinical Review History
            This prescription has not been clinically reviewed.


      Ambulatory referral to Physical Therapy [320668815] (Active)
       Electronically signed by: Lai, Eugene C., MD on 02/12/20 1659                                                            Status: Active
       Mode: Ordering in Verbal with readback mode                         Communicated by: Atassi, Farah
       Ordering user: Atassi, Farah 02/12/20 1406                          Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                                   Ordering mode: Verbal with readback
       Frequency: Routine 02/12/20 -                                       Class: Outgoing Referral
       Quantity: 1
       Diagnoses
       Parkinson's disease (HCC) [G20]
          Questionnaire
          Question                                                            Answer
          Services Requested                                                  Evaluate and Treat
          Let me know if the patient declines service or is unable to be      No
          contacted?

       Order comments: LSVT BIG and LOUD physical therapy 3 times a week for 8 weeks
         Referral Details
             Referred By                                                      Referred To                   Type            Priority
             Lai, Eugene C., MD          Diagnoses: Parkinson's disease       TIRR Memorial                 Physical        Routine
             6560 FANNIN ST              (HCC)                                Hermann Memorial              Therapy
             SUITE 802                   Order: Ambulatory Referral To        City OP Rehab POS
             HOUSTON TX 77030            Physical Therapy                     929B N Gessner Rd 108
             Phone: 713-441-0239         Reason: Specialty Services           Houston TX 77024-2659
             Fax: 713-790-5044           Required                             Phone: 713-797-5942
                                                                              Specialty: Physical
                                                                              Therapy
                  Comment: LSVT BIG and LOUD physical therapy 3 times a week for 8 weeks
                  Question                                                    Answer
                  Services Requested:                                         Evaluate and Treat
                  Let me know if the patient declines service or is unable to No
                  be contacted?:

          Indications
             Parkinson's disease (HCC) [G20 (ICD-10-CM)]

                                                                     Order Details

          Order Details
             Priority                                    Expected                                  Study Status
             Routine                                     2/12/2020

          Order Details
             Frequency                        Duration                         Priority                      Order Class
             None                             None                             Routine                       Outgoing Referral

          Order History                                                                                                            Outpatient
             Date/Time          Action Taken              User                             Additional Information
             02/12/20 1406      Sign                      Atassi, Farah                    Ordering Mode: Verbal with readback
             02/12/20 1659      Verbal Cosign             Lai, Eugene C., MD

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                                              HMH SCURLOCK                           Brockman, Robert T
                                              6560 Fannin                            MRN: 003768603, DOB:          1941, Sex: M
                                              HOUSTON TX 77030                       Visit date: 2/12/2020
                 02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)


         Pharmacist Clinical Review History
            This prescription has not been clinically reviewed.


      Ambulatory referral to Speech Therapy [320668817] (Active)
       Electronically signed by: Lai, Eugene C., MD on 02/12/20 1659                                                       Status: Active
       Mode: Ordering in Verbal with readback mode                         Communicated by: Atassi, Farah
       Ordering user: Atassi, Farah 02/12/20 1406                          Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                                   Ordering mode: Verbal with readback
       Frequency: Routine 02/12/20 -                                       Class: Outgoing Referral
       Quantity: 1
       Diagnoses
       Parkinson's disease (HCC) [G20]
          Questionnaire
          Question                                                          Answer
          Let me know if the patient declines service or is unable to be    No
          contacted?

       Order comments: LSVT BIG and LOUD physical therapy 3 times a week for 8 weeks
         Referral Details
             Referred By                                                      Referred To                 Type            Priority
             Lai, Eugene C., MD          Diagnoses: Parkinson's disease       TIRR Memorial               Speech          Routine
             6560 FANNIN ST              (HCC)                                Hermann Memorial            Pathology
             SUITE 802                   Order: Ambulatory Referral To        City OP Rehab POS
             HOUSTON TX 77030            Speech Therapy                       929B N Gessner Rd 108
             Phone: 713-441-0239         Reason: Specialty Services           Houston TX 77024-2659
             Fax: 713-790-5044           Required                             Phone: 713-797-5942
                                                                              Specialty: Speech
                                                                              Pathology
                  Comment: LSVT BIG and LOUD physical therapy 3 times a week for 8 weeks
                  Question                                                    Answer
                  Let me know if the patient declines service or is unable to No
                  be contacted?:

          Indications
             Parkinson's disease (HCC) [G20 (ICD-10-CM)]

                                                                     Order Details

          Order Details
             Priority                                   Expected                                 Study Status
             Routine                                    2/12/2020

          Order Details
             Frequency                       Duration                        Priority                       Order Class
             None                            None                            Routine                        Outgoing Referral

          Order History                                                                                                         Outpatient
             Date/Time          Action Taken              User                            Additional Information
             02/12/20 1406      Sign                      Atassi, Farah                   Ordering Mode: Verbal with readback
             02/12/20 1659      Verbal Cosign             Lai, Eugene C., MD

          Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.



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                                               HMH SCURLOCK                    Brockman, Robert T
                                               6560 Fannin                     MRN: 003768603, DOB:          1941, Sex: M
                                               HOUSTON TX 77030                Visit date: 2/12/2020
                  02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)




                           02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology
                                                     All Parent Orders


                                                    Outpatient Referral - All Orders
Ambulatory referral to Physical Therapy [320668815]
Electronically signed by: Lai, Eugene C., MD on 02/12/20 1659                                                         Status: Active
Mode: Ordering in Verbal with readback mode                          Communicated by: Atassi, Farah
Ordering user: Atassi, Farah 02/12/20 1406                           Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                    Ordering mode: Verbal with readback
Frequency: Routine 02/12/20 -                                        Class: Outgoing Referral
Quantity: 1
Diagnoses
Parkinson's disease (HCC) [G20]
   Questionnaire
    Question                                                          Answer
    Services Requested                                                Evaluate and Treat
    Let me know if the patient declines service or is unable to be    No
    contacted?

Order comments: LSVT BIG and LOUD physical therapy 3 times a week for 8 weeks

Ambulatory referral to Occupational Therapy [320668816]
Electronically signed by: Lai, Eugene C., MD on 02/12/20 1659                                                         Status: Active
Mode: Ordering in Verbal with readback mode                          Communicated by: Atassi, Farah
Ordering user: Atassi, Farah 02/12/20 1406                           Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                    Ordering mode: Verbal with readback
Frequency: Routine 02/12/20 -                                        Class: Outgoing Referral
Quantity: 1
Diagnoses
Parkinson's disease (HCC) [G20]
   Questionnaire
    Question                                                          Answer
    Let me know if the patient declines service or is unable to be    No
    contacted?

Order comments: LSVT BIG and LOUD occupational therapy 3 times a week for 8 weeks

Ambulatory referral to Speech Therapy [320668817]
Electronically signed by: Lai, Eugene C., MD on 02/12/20 1659                                                         Status: Active
Mode: Ordering in Verbal with readback mode                          Communicated by: Atassi, Farah
Ordering user: Atassi, Farah 02/12/20 1406                           Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                    Ordering mode: Verbal with readback
Frequency: Routine 02/12/20 -                                        Class: Outgoing Referral
Quantity: 1
Diagnoses
Parkinson's disease (HCC) [G20]
   Questionnaire
    Question                                                          Answer
    Let me know if the patient declines service or is unable to be    No
    contacted?

Order comments: LSVT BIG and LOUD physical therapy 3 times a week for 8 weeks



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                                         HMH SCURLOCK               Brockman, Robert T
                                         6560 Fannin                MRN: 003768603, DOB:        1941, Sex: M
                                         HOUSTON TX 77030           Visit date: 2/12/2020

                       02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology
                                               Diagnosis Summary
Visit Information
   Date & Time                 Provider                     Department                     Encounter #
   2/12/2020 1:39 PM           Atassi, Farah                HMNI Stanley H Appel Dept of   2100074995304
                                                            Neurology




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                                                 HMH SCURLOCK                     Brockman, Robert T
                                                 6560 Fannin                      MRN: 003768603, DOB:        1941, Sex: M
                                                 HOUSTON TX 77030                 Visit date: 2/12/2020

                             02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Provider Information
       Encounter Provider                            Authorizing Provider                     Referring Provider
       Lai, Eugene C., MD                            Lai, Eugene C., MD                       Pool, James L., MD

   Department
       Name                                      Address                               Phone                  Fax
       HMNI Stanley H Appel Dept of              6560 Fannin Street Suite 802          713-441-3780           713-790-5079
       Neurology                                 Houston TX 77030-2725

   Follow-up and Dispositions
      ·    Return in about 2 months (around 4/12/2020) for Next scheduled follow up.


   Level of Service
       Level of Service
       PR OFFICE OUTPATIENT VISIT 25 MINUTES



Research Study Linked to Office Visit on 2/12/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 2/12/2020
      Problems last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
          Diagnosis: Dementia associated with        Noted on: 01/08/2020                     Chronic: No
          Parkinson's disease (HCC)

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
          Diagnosis: Parkinson's disease (HCC)       Noted on: 01/08/2020                     Chronic: No


   Allergies as of 2/12/2020
      Allergies last reviewed by Lai, Eugene C., MD on 2/12/2020 0907
      No Known Allergies


   History as of 2/12/2020
       Medical History as of 2/12/2020
                 Medical last reviewed by Lai, Eugene C., MD on 2/12/2020
                 None


       Surgical History as of 2/12/2020
                 Surgical last reviewed by Lai, Eugene C., MD on 2/12/2020
                 None


       Family History as of 2/12/2020
            Family History as of 2/12/2020




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                                                HMH SCURLOCK                         Brockman, Robert T
                                                6560 Fannin                          MRN: 003768603, DOB:          1941, Sex: M
                                                HOUSTON TX 77030                     Visit date: 2/12/2020
                   02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)


       Substance & Sexuality History as of 2/12/2020
           Tobacco Use as of 2/12/2020
                   Tobacco Use last reviewed by Lai, Eugene C., MD on 2/12/2020

               Smoking Status                         Smoking Start Date       Smoking Quit Date        Packs/Day        Years Used
               Never Smoker                           —                        —                        —                —
                                                                                                        Smokeless
                                                                               Smokeless Tobacco        Tobacco Quit
               Types                                  Comments                 Status                   Date             Source
               —                                      —                        Never Used               —                Provider


           Alcohol Use as of 2/12/2020
                   Alcohol Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Alcohol Use                   Drinks/Week                 Alcohol/Week              Comments                  Source
               Never                                                     —                         —                         Provider


           Drug Use as of 2/12/2020
                   Drug Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Drug Use                      Types                       Frequency                 Comments                  Source
               Never                         —                           —                         —                         Provider


           Sexual Activity as of 2/12/2020
                   Sexual Activity last reviewed by Riley, Lillian R, MA on 2/12/2020

               Sexually Active               Birth Control               Partners                  Comments                  Source
               Defer                         —                           —                         —                         Provider



       Socioeconomic History as of 2/12/2020
           Occupational as of 2/12/2020
                   Occupational last reviewed by Riley, Lillian R, MA on 2/12/2020
                   None



           Socioeconomic as of 2/12/2020
                   Socioeconomic last reviewed by Riley, Lillian R, MA on 2/12/2020

               Marital       Spouse          Number of       Years       Education    Preferred
               Status        Name            Children        Education   Level        Language     Ethnicity     Race        Source
               Married       —               —               —           —            English      Not           Caucasian   —
                                                                                                   Hispanic or
                                                                                                   Latino



       Social Documentation History as of 2/12/2020
               Social Documentation last reviewed by Riley, Lillian R, MA on 2/12/2020
               None

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                                                 HMH SCURLOCK                           Brockman, Robert T
                                                 6560 Fannin                            MRN: 003768603, DOB:        1941, Sex: M
                                                 HOUSTON TX 77030                       Visit date: 2/12/2020
                    02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)




Medication List
   Medication List
      This report is for documentation purposes only. The patient should not follow medication instructions within.
      For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.

       Active at the End of Visit
         Medications last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

           buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Start date: 10/9/2019                                            Informant: Family Member

           carbidopa-levodopa (SINEMET) 25-100 mg per tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
            Entered by: Riley, Lillian R, MA                      Entered on: 1/8/2020
            Start date: 10/9/2019                                 End date: 3/12/2020

           levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 75 mcg by mouth every morning.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Start date: 10/9/2019                                                Informant: Family Member

           testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
           1/8/2020 1311]
            Instructions: Place 1 Squirt on the skin daily.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Informant: Family Member

           traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 50 mg by mouth nightly.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Start date: 3/13/2019                                                Informant: Family Member

           omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 1 capsule by mouth daily.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Informant: Family Member

           levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
            Instructions: Take 1 tablet by mouth daily.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Start date: 10/1/2019                                                End date: 6/1/2021
            Informant: Family Member

           clonAZEPAM (KlonoPIN) 0.5 MG tablet
            Instructions: Take 1 tablet (0.5 mg total) by mouth nightly for 90 days.
            Authorized by: Lai, Eugene C., MD                                   Ordered on: 1/8/2020
            Start date: 1/8/2020                                                End date: 7/14/2020
            Quantity: 30 tablet                                                 Refill: 2 refills by 7/6/2020

           apixaban (ELIQUIS) 2.5 mg tablet
            Instructions: Take 1 tablet (2.5 mg total) by mouth 2 (two) times a day.
            Authorized by: Lai, Eugene C., MD                                  Ordered on: 2/12/2020
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                                                HMH SCURLOCK                           Brockman, Robert T
                                                6560 Fannin                            MRN: 003768603, DOB:             1941, Sex: M
                                                HOUSTON TX 77030                       Visit date: 2/12/2020
                   02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

         Start date: 2/12/2020                                                End date: 7/14/2020
         Quantity: 180 tablet                                                 Refill: 3 refills by 2/11/2021

         rivastigmine (EXELON) 9.5 mg/24 hr
          Instructions: Place 1 patch on the skin daily.
          Authorized by: Lai, Eugene C., MD                                    Ordered on: 2/12/2020
          Start date: 2/12/2020                                                End date: 6/12/2020
          Quantity: 90 patch                                                   Refill: 3 refills by 2/11/2021


       Stopped in Visit
         None




Progress Notes
   Progress Notes
       Lai, Eugene C., MD at 2/12/2020 0800
          Author: Lai, Eugene C., MD                       Service: —                                   Author Type: Physician
          Filed: 2/21/2020 8:42 PM                         Encounter Date: 2/12/2020                    Creation Time: 2/12/2020 8:16 AM
          Status: Signed                                   Editor: Lai, Eugene C., MD (Physician)

NEUROLOGY FOLLOW-UP CLINIC VISIT
78-year-old ambidextrous man with a history of Parkinson's disease, mild cognitive impairment, REM sleep behavior
disorder, ocular migraine, hyperlipidemia, hypothyroidism, atrial fibrillation, bladder cancer, Glaucoma, melanoma,
basal cell skin cancer, and depression.

He comes with his wife, Dorothy, for follow-up of his Parkinson's disease. Last visit was on 1/8/2020. He reports
physically stable. Sleep is better with trazodone and clonazepam. Appetite is good. Basic activities of daily living are
independent. Gait and balance are mildly unsteady. He has no recent fall. Moods are stressed and depressed. He is
still working full time as CEO of his software company. His wife needs to help him in the office these days. Memory is
impaired but stable. He exercises regularly 3X/week in the Houstonian.

There is no new neurological complaint. His slowness and stiffness are under adequate control with
carbidopa/levodopa 25/100 2 tablets 3X/day. He denies recent headache, dizziness, pain, weakness, confusion,
dysarthria, dysphagia.

MEDICATIONS:                               Sig
• apixaban (ELIQUIS) 2.5 mg                TAKE 1 TABLET TWICE DAILY
  tablet
• buPROPion SR (WELLBUTRIN                 Take two tablets every morning and one every
  SR) 100 MG 12 hr tablet                  evening to control depression
• carbidopa-levodopa                       TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
  (SINEMET) 25-100 mg per
  tablet
• clonAZEPAM (KlonoPIN) 0.5                Take 1 tablet (0.5 mg total) by mouth nightly.
  MG tablet
• levomefolate calcium (L-                 Take one tablet by mouth daily to lower homocysteine
  METHYLFOLATE ORAL)
• levothyroxine (SYNTHROID) 75             Take one tablet every morning for hypothyroidism
  mcg tablet
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                                         HMH SCURLOCK                    Brockman, Robert T
                                         6560 Fannin                     MRN: 003768603, DOB:       1941, Sex: M
                                         HOUSTON TX 77030                Visit date: 2/12/2020
                 02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

 • omega 3-dha-epa-fish oil (FISH    Take by mouth.
   OIL) 100-160-1,000 mg capsule
 • rivastigmine (EXELON) 9.5         Place 9.5 mg onto the skin daily.
   mg/24 hr
 • testosterone (ANDROGEL)           Place on the skin.
   20.25 mg/1.25 gram (1.62 %)
   gel in metered-dose pump
 • traZODone (DESYREL) 50 MG         Take 50 mg by mouth.
   tablet

REVIEW OF SYSTEMS:
Constitutional: Negative for easy fatigue, lack of energy. Weight gain of about 4 lbs. since last visit.
Eyes: Positive for visual disturbance due to glaucoma.
ENT: Positive for hearing loss. No nose bleed, sore throat.
Respiratory: Negative for cough and shortness of breath.
Cardiovascular: Negative for chest pain, palpitation, leg swelling.
Gastrointestinal: Positive for mild constipation. No diarrhea, abdominal pain.
Genitourinary: Positive for nocturia, frequency, urgency. No dysuria.
Musculoskeletal: Negative for joint pain, joint swelling, muscle pain.
Skin: Negative for rash, lesion.
Hematological: Negative for bruising, bleeding, adenopathy.
Allergy/Immunology: Negative for allergy symptoms.
Psychiatric/Behavioral: Positive for anxiety, depression, insomnia. No agitation.
Neurological: See above.

FAMILY/SOCIAL HISTORY: Lives with wife. No cigarettes and rare alcohol.

EXAMINATION:
Vitals:
                 02/12/20 0817                                  02/12/20 0820
BP:              132/67                                         129/80
BP Location:     Left arm                                       Left arm
Patient          Sitting                                        Standing
Position:
Pulse:           78                                             75
Weight:          87.5 kg (193 lb)
Height:          6' 0.5"

General: Well developed and well nourished elderly man in no acute distress. He is subdued but pleasant and
cooperative.
Physical: Head and face are normal. No pain or tenderness to palpation. No edema or rash. Mild hypomimia and
hypophonia.
Neurological:
MS: He is alert and attentive. O x person, place, and time. He follows complex verbal commands. Memory is 5/5
immediate -> 0/5 delayed. Comprehension and expression are slower. Insight and judgment are mildly impaired.
MoCA score (1/8/2020) = 20/30.
CN: II-XII symmetrical and adequate except bilateral hearing loss. EOM full and tongue is midline.
Motor: Strength is 5/5 and symmetrical except bilateral hip flexors, 5-/5. No tremor and mild rigidity in limbs.
Sensory: Decreased to vibration in both feet.
Coordination: F->N->F without dysmetria. Rapid alternating movements are slower bilaterally.
Gait: He arises from sitting without assistance. He walks with a slightly wide-based gait. Decreased arm swings and
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                                         HMH SCURLOCK                 Brockman, Robert T
                                         6560 Fannin                  MRN: 003768603, DOB:          941, Sex: M
                                         HOUSTON TX 77030             Visit date: 2/12/2020
                 02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

hesitant in turning without assistance. He can perform heel, toe walking but not tandem walking.

     VISIT DIAGNOSES:                              ICD-10-CM
1.   Parkinson's disease (HCC)                     G20
2.   Mild cognitive impairment                     G31.84
3.   Mixed anxiety depressive disorder             F41.8
4.   Idiopathic peripheral neuropathy              G60.9

IMPRESSION:
Significant for: Clinical findings are consistent with Parkinson's disease with mild cognitive impairment.
He is under a lot of stress trying to still run his company by himself, and his wife is also stressed out.
He has signs of mild cognitive impairment and peripheral neuropathy with gait imbalance.
Neurological and cognitive examinations are without notable change from last visit.
Physical examination is stable.

PLANS:
Patient's neurologic condition is discussed with him and his wife.
He agrees to reduce his company responsibilities and work hours to decrease his stress.
He will benefit from physical and occupational therapies at TIRR Memorial city. Prescription will be sent.
Continue carbidopa/levodopa 25/100 2 tablets 3X/day for Parkinson symptoms.
Continue rivastigmine patch 9.5/24h for cognitive stabilization.
Continue trazodone 50 mg and clonazepam 0.5 mg at bedtime for sleep and RBD.
Continue bupropion 100 mg 2 tablets in the morning and 1 tablet at bedtime for mood stabilization.
Continue other present medications.
Keep physically and mentally active. Exercise regularly.
Return to clinic in 2 months.

Total Clinic Visit Time: 30 minutes.

PATIENT EDUCATION:
[ x ] Patient  [ x ] Significant other(s)
Topic:
Disease specific issues [ x ]
Medications [ x ]
Medication Side effects [ x ]
Tests [ x ]
Treatment/follow-up plans [ x ]
Consults [ ]
Surgical plan [ ]
Teaching Method:        Discussion [ x ]      Handouts [ ]
Patient/family Response:        Verbalize understanding and agree(s) with treatment plans [ x ]

Today I spent 20 minutes of visit time on counseling and patient education.




Eugene C. Lai, M.D., Ph.D.
Robert W. Hervey Distinguished Endowed Chair in Parkinson's Disease
Professor of Neurology and Neuroscience
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                                                HMH SCURLOCK                          Brockman, Robert T
                                                6560 Fannin                           MRN: 003768603, DOB:             1941, Sex: M
                                                HOUSTON TX 77030                      Visit date: 2/12/2020
                    02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

Director, Neurodegenerative Disease Clinic

Stanley H. Appel Department of Neurology
Houston Methodist Neurological Institute &
Weill Cornell Medical School
6560 Fannin, Suite 802
Houston, Texas 77030
TEL. 713-441-0239
FAX. 713-790-5044


        Electronically signed by Lai, Eugene C., MD at 2/21/2020 8:42 PM




                    02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders
   Medications
      apixaban (ELIQUIS) 2.5 mg tablet [320668813] (Discontinued)
       Electronically signed by: Lai, Eugene C., MD on 02/12/20 0904                                                    Status: Discontinued
       Ordering user: Lai, Eugene C., MD 02/12/20 0904                 Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                               Ordering mode: Standard
       Frequency: Routine BID 02/12/20 - 365 days                      Class: Normal
       Discontinued by: Atassi, Farah 07/14/20 1338
       Reordered from: apixaban (ELIQUIS) 2.5 mg tablet
                                                                  Order Details

         Order Details
               Priority                                   Expected                                 Study Status
               Routine                                    2/12/2020 9:00 PM

         Order Details
               Frequency                       Duration                          Priority                    Order Class
               2 times daily                   365 days                          Routine                     Normal

         Order History                                                                                                            Outpatient
               Date/Time          Action Taken              User                            Additional Information
               02/12/20 0904      Sign                      Lai, Eugene C., MD              Reorder from Order: 9125746
               02/12/20 0904      Taking Flag Checked       Lai, Eugene C., MD
               07/14/20 1210      Reorder                   Atassi, Farah                   To Order: 335306862
               07/14/20 1338      Discontinue               Atassi, Farah

         apixaban (ELIQUIS) 2.5 mg tablet [320668813] DISCONTINUED
               Dose: 2.5 mg                           Route: oral                           Frequency: 2 times daily
               Dispense Quantity: 180 tablet          Refills: 3

               Sig: Take 1 tablet (2.5 mg total) by mouth 2 (two) times a day.

               Start Date: 02/12/20                End Date: 07/14/20 (ordered for 730 doses)
               Discontinued by: Atassi, Farah on 7/14/2020 13:38

               Written Date: 02/12/20              Expiration Date: 02/11/21
               Original Order: apixaban (ELIQUIS) 2.5 mg tablet [9125746]

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                                              HMH SCURLOCK                        Brockman, Robert T
                                              6560 Fannin                         MRN: 003768603, DOB:          1941, Sex: M
                                              HOUSTON TX 77030                    Visit date: 2/12/2020
                  02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

           Providers
              Ordering Provider and Authorizing Provider:
              Lai, Eugene C., MD
              6560 FANNIN ST SUITE 802, HOUSTON TX
              77030
              Phone: 713-441-0239 Fax: 713-790-5044
              NPI: 1790871002

              Ordering User: Lai, Eugene C., MD


           Pharmacy
              Briargrove Pharmacy - Houston, TX - 6435 San Felipe
              6435 San Felipe, Houston TX 77057
              Phone: 713-783-5704 Fax: 713-783-5482


         Pharmacist Clinical Review History
            This prescription has not been clinically reviewed.


      rivastigmine (EXELON) 9.5 mg/24 hr [320668814] (Discontinued)
       Electronically signed by: Lai, Eugene C., MD on 02/12/20 0904                                              Status: Discontinued
       Ordering user: Lai, Eugene C., MD 02/12/20 0904                 Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                               Ordering mode: Standard
       Frequency: Routine Daily 02/12/20 - 365 days                    Class: Normal
       Discontinued by: Lai, Eugene C., MD 06/12/20 1626
       Reordered from: rivastigmine (EXELON) 9.5 mg/24 hr
                                                                  Order Details

          Order Details
             Priority                                    Expected                              Study Status
             Routine                                     2/13/2020 9:00 AM

          Order Details
             Frequency                        Duration                       Priority                      Order Class
             daily                            365 days                       Routine                       Normal

          Order History                                                                                                     Outpatient
             Date/Time          Action Taken              User                          Additional Information
             02/12/20 0904      Sign                      Lai, Eugene C., MD            Reorder from Order: 9125750
             02/12/20 0904      Taking Flag Checked       Lai, Eugene C., MD
             06/12/20 1558      Reorder                   Lai, Eugene C., MD            To Order: 335306861
             06/12/20 1626      Discontinue               Lai, Eugene C., MD

          rivastigmine (EXELON) 9.5 mg/24 hr [320668814] DISCONTINUED
             Dose: 1 patch                           Route: transdermal                 Frequency: daily
             Dispense Quantity: 90 patch             Refills: 3

             Sig: Place 1 patch on the skin daily.

             Start Date: 02/12/20               End Date: 06/12/20 (ordered for 365 doses)
             Discontinued by: Lai, Eugene C., MD on 6/12/2020 16:26

             Written Date: 02/12/20              Expiration Date: 02/11/21
             Original Order: rivastigmine (EXELON) 9.5 mg/24 hr [9125750]
             Providers

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                                                HMH SCURLOCK                     Brockman, Robert T
                                                6560 Fannin                      MRN: 003768603, DOB:           1941, Sex: M
                                                HOUSTON TX 77030                 Visit date: 2/12/2020
                    02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

                Ordering Provider and Authorizing Provider:
                 Lai, Eugene C., MD
                 6560 FANNIN ST SUITE 802, HOUSTON TX
                77030
                 Phone: 713-441-0239 Fax: 713-790-5044
                 NPI: 1790871002

                Ordering User: Lai, Eugene C., MD


             Pharmacy
                 Briargrove Pharmacy - Houston, TX - 6435 San Felipe
                 6435 San Felipe, Houston TX 77057
                 Phone: 713-783-5704 Fax: 713-783-5482


          Pharmacist Clinical Review History
              This prescription has not been clinically reviewed.




                            02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                       All Parent Orders


                                                         Medications - All Orders
apixaban (ELIQUIS) 2.5 mg tablet [320668813]
 Electronically signed by: Lai, Eugene C., MD on 02/12/20 0904                                                      Status: Discontinued
 Ordering user: Lai, Eugene C., MD 02/12/20 0904                       Ordering provider: Lai, Eugene C., MD
 Authorized by: Lai, Eugene C., MD                                     Ordering mode: Standard
 Frequency: Routine BID 02/12/20 - 365 days                            Class: Normal
 Discontinued by: Atassi, Farah 07/14/20 1338
 Reordered from: apixaban (ELIQUIS) 2.5 mg tablet [9125746]

rivastigmine (EXELON) 9.5 mg/24 hr [320668814]
 Electronically signed by: Lai, Eugene C., MD on 02/12/20 0904                                                      Status: Discontinued
 Ordering user: Lai, Eugene C., MD 02/12/20 0904                       Ordering provider: Lai, Eugene C., MD
 Authorized by: Lai, Eugene C., MD                                     Ordering mode: Standard
 Frequency: Routine Daily 02/12/20 - 365 days                          Class: Normal
 Discontinued by: Lai, Eugene C., MD 06/12/20 1626
 Reordered from: rivastigmine (EXELON) 9.5 mg/24 hr [9125750]


                    02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Vitals
                                                                                          Most recent update: 2/12/2020 8:21 AM by Riley,
   Vital Signs - Last Recorded                                                                                               Lillian R, MA
         BP                    Pulse                 Ht                       Wt                                      BMI
         129/80 (BP            75                    6' 0.5"                  87.5 kg (193 lb)                        25.82 kg/m²
         Location: Left
         arm, Patient
         Position:
         Standing)


Flowsheets

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                                                HMH SCURLOCK               Brockman, Robert T
                                                6560 Fannin                MRN: 003768603, DOB:    1941, Sex: M
                                                HOUSTON TX 77030           Visit date: 2/12/2020
                  02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Flowsheets (continued)

      Custom Formula Data
         Row Name            02/12/20 0820          02/12/20 0817
         Adult IBW/VT Calculations
          IBW/kg             —                      78.75
          (Calculated)                              -LR at 02/12/20 0818
          Low Range Vt       —                      472.5 mL/kg
          6mL/kg                                    -LR at 02/12/20 0818
          Adult Moderate     —                      630 mL/kg
          Range Vt 8mL/kg                           -LR at 02/12/20 0818
          Adult High Range —                        787.5 mL/kg
          Vt 10mL/kg                                -LR at 02/12/20 0818
          IBW/kg             —                      173.61
          (Calculated) (lbs)                        -LR at 02/12/20 0818

         OTHER
          BMI (Calculated)   —                      25.8
                                                    -LR at 02/12/20 0818
         IBW/kg              —                      78.75 kg
         (Calculated) Male                          -LR at 02/12/20 0818
         IBW/kg              —                      74.25 kg
         (Calculated)                               -LR at 02/12/20 0818
         Female
         BMI                 —                      25.8
                                                    -LR at 02/12/20 0818
         Total Weight        —                      193
         Change                                     -LR at 02/12/20 0818
         Total Weight        —                      +193
         Change                                     -LR at 02/12/20 0818
         Weight Change       —                      4
         Since Last Visit                           -LR at 02/12/20 0818
         Weight Change       —                      +4
         Since Last Visit                           -LR at 02/12/20 0818
         Internal Initial    —                      0
         Weight -                                   -LR at 02/12/20 0818
         Reference Only
         Fluid Needs         —                      63260
                                                    -LR at 02/12/20 0818
         BSA (Calculated     —                      2.11 sq meters
         - sq m)                                    -LR at 02/12/20 0818
         MAP (Calculated)    96.33                  88.67
                             -LR at 02/12/20 0821   -LR at 02/12/20 0819
         Body Composition Analysis
          BMI               —                       25.8
                                                    -LR at 02/12/20 0818
         Dietitian Vitals
          BMI (Calculated)   —                      25.8
                                                    -LR at 02/12/20 0818
         IBW/kg              —                      78.75
         (Calculated)                               -LR at 02/12/20 0818
         IBW/kg              —                      74.25 kg
         (Calculated)                               -LR at 02/12/20 0818
         Female
         IBW/kg              —                      78.75
         (Calculated)                               -LR at 02/12/20 0818
         Males
         Fluid Needs
          Total Fluid        —                      63260
          Estimated Needs                           -LR at 02/12/20 0818




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                                                 HMH SCURLOCK                    Brockman, Robert T
                                                 6560 Fannin                     MRN: 003768603, DOB:           1941, Sex: M
                                                 HOUSTON TX 77030                Visit date: 2/12/2020
                     02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Flowsheets (continued)

       Data
          Row Name            02/12/20 0820           02/12/20 0817
         OTHER
          Change in SBP       -3                      132
                              -LR at 02/12/20 0821    -LR at 02/12/20 0819



       Encounter Vitals
          Row Name            02/12/20 0820           02/12/20 0817
         Enc Vitals
          BP                  129/80                  132/67
                              -LR at 02/12/20 0821    -LR at 02/12/20 0819
          Pulse               75                      78
                              -LR at 02/12/20 0821    -LR at 02/12/20 0819
          Weight              —                       87.5 kg (193 lb)
                                                      -LR at 02/12/20 0818
          Height              —                       6' 0.5"
                                                      -LR at 02/12/20 0818
         Vital Signs
          BP Location         Left arm                Left arm
                              -LR at 02/12/20 0821    -LR at 02/12/20 0819
          Patient Position    Standing                Sitting
                              -LR at 02/12/20 0821    -LR at 02/12/20 0819



       Social Determinants
          Row Name            02/12/20 08:18:38
         Alcohol Use
          How often do you     Never Data migrated
          have a drink        from History
                               -LR at 05/18/21 1428
          containing
          alcohol?


       Vital Signs
          Row Name            02/12/20 0913
         OTHER
          Stimulants          000
                              -DH at 02/12/20 0813
          Sedatives           160
                              -DH at 02/12/20 0813
          Narcotics           080
                              -DH at 02/12/20 0813

       User Key                                                                      (r) = Recorded By, (t) = Taken By, (c) = Cosigned By
          Initials      Name                               Effective Dates            Provider Type            Discipline
          DH            Hm Interface, Documentation        —                          —                        —
                        Incoming
          LR            Riley, Lillian R, MA               01/08/20 - 05/17/20        Medical Assistant        —



Patient Instructions


Will benefit from physical and occupational therapies at TIRR Memorial city.
Continue present medications.
Keep physically and mentally active. Exercise regularly.
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                                             HMH SCURLOCK                        Brockman, Robert T
                                             6560 Fannin                         MRN: 003768603, DOB:    1941, Sex: M
                                             HOUSTON TX 77030                    Visit date: 2/12/2020
                  02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Patient Instructions (continued)




                          02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                    Patient Instuctions
Patient Instructions History
   Patient Instructions Revisions                                       Status      Date&Time            By User
   Will benefit from physical and occupational therapies at TIRR        Addendum    02/21/2020 7:29 PM   LAI, EUGENE
   Memorial city. Continue present medications. Keep physically and
   mentally active. Exercise regularly.
   Will benefit from physical and occupational therapies at YIRR        Addendum    02/12/2020 9:08 AM   LAI, EUGENE
   Memorial city. Continue present medications. Keep physically and
   mentally active. Exercise regularly.
   Continue present medications. Keep physically and mentally active.   Signed      02/12/2020 8:33 AM   LAI, EUGENE
   Exercise regularly.




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                                         HMH SCURLOCK            Brockman, Robert T
                                         6560 Fannin             MRN: 003768603, DOB:     1941, Sex: M
                                         HOUSTON TX 77030        Visit date: 2/12/2020

                 02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary




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                                         HMH SCURLOCK            Brockman, Robert T
                                         6560 Fannin             MRN: 003768603, DOB:     1941, Sex: M
                                         HOUSTON TX 77030        Visit date: 2/12/2020
                 02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary (continued)




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                                         HMH SCURLOCK              Brockman, Robert T
                                         6560 Fannin               MRN: 003768603, DOB:        1941, Sex: M
                                         HOUSTON TX 77030          Visit date: 2/12/2020
                 02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary (continued)




                         02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                  Diagnosis Summary

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                                                HMH SCURLOCK                        Brockman, Robert T
                                                6560 Fannin                         MRN: 003768603, DOB:              941, Sex: M
                                                HOUSTON TX 77030                    Visit date: 2/12/2020
                            02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                              Diagnosis Summary (continued)
Visit Information
   Date & Time                         Provider                           Department                          Encounter #
   2/12/2020 8:00 AM                   Lai, Eugene C., MD                 HMNI Stanley H Appel Dept of        2100073526625
                                                                          Neurology

Coding Summary for this Encounter
   Code             Description                                            Service Date          Service Provider                    Qty
   99214            PR OFFICE OUTPATIENT VISIT 25 MINUTES                  2/12/2020             Lai, Eugene C., MD                  1
                     Dx: Parkinson's disease [G20], Mild cognitive impairment, so stated [G31.84], Other specified anxiety disorders [F41.8],
                     Hereditary and idiopathic neuropathy, unspecified [G60.9]




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                                               HMH SCURLOCK                        Brockman, Robert T
                                               6560 Fannin                         MRN: 003768603, DOB:           1941, Sex: M
                                               HOUSTON TX 77030                    Visit date: 2/3/2020

                            02/03/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Provider Information
       Encounter Provider
       Atassi, Farah

   Department
       Name                                     Address                                Phone                      Fax
       HMNI Stanley H Appel Dept of             6560 Fannin Street Suite 802           713-441-3780               713-790-5079
       Neurology                                Houston TX 77030-2725



Research Study Linked to Orders Only on 2/3/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 2/3/2020
      Problems last reviewed by Lai, Eugene C., MD on 1/8/2020 1538

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
        Diagnosis: Dementia associated with         Noted on: 01/08/2020                      Chronic: No
        Parkinson's disease (HCC)

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
        Diagnosis: Parkinson's disease (HCC)        Noted on: 01/08/2020                      Chronic: No


   Allergies as of 2/3/2020
      Allergies last reviewed by Lai, Eugene C., MD on 1/8/2020 1538
      No Known Allergies


   History as of 2/3/2020
       Medical History as of 2/3/2020
                Medical last reviewed by Lai, Eugene C., MD on 1/8/2020
                None


       Surgical History as of 2/3/2020
                Surgical last reviewed by Lai, Eugene C., MD on 1/8/2020
                None


       Family History as of 2/3/2020
           Family History as of 2/3/2020



       Substance & Sexuality History as of 2/3/2020
           Tobacco Use as of 2/3/2020
                      Tobacco Use last reviewed by Lai, Eugene C., MD on 1/8/2020

              Smoking Status                        Smoking Start Date         Smoking Quit Date      Packs/Day        Years Used
              Never Smoker                          —                          —                      —                —
              Types                                 Comments                   Smokeless Tobacco      Smokeless        Source

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                                               HMH SCURLOCK                          Brockman, Robert T
                                               6560 Fannin                           MRN: 003768603, DOB:            1941, Sex: M
                                               HOUSTON TX 77030                      Visit date: 2/3/2020
                  02/03/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

                                                                            Status                    Tobacco Quit
                                                                                                      Date
            —                                      —                        Never Used                —                 Provider


          Alcohol Use as of 2/3/2020
                  Alcohol Use last reviewed by Riley, Lillian R, MA on 1/8/2020

              Alcohol Use                  Drinks/Week                 Alcohol/Week                Comments                  Source
              Never                                                    —                           —                         Provider


          Drug Use as of 2/3/2020
                  Drug Use last reviewed by Riley, Lillian R, MA on 1/8/2020

              Drug Use                     Types                       Frequency                   Comments                  Source
              Never                        —                           —                           —                         Provider


          Sexual Activity as of 2/3/2020
                  Sexual Activity last reviewed by Riley, Lillian R, MA on 1/8/2020

              Sexually Active              Birth Control               Partners                    Comments                  Source
              Defer                        —                           —                           —                         Provider



       Socioeconomic History as of 2/3/2020
           Socioeconomic as of 2/3/2020
              Marital       Spouse         Number of       Years       Education     Preferred
              Status        Name           Children        Education   Level         Language      Ethnicity     Race        Source
              Married       —              —               —           —             English       Not           Caucasian   —
                                                                                                   Hispanic or
                                                                                                   Latino




Medication List
   Medication List
      This report is for documentation purposes only. The patient should not follow medication instructions within.
      For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.

       Active at the End of Visit
         Medications last reviewed by Lai, Eugene C., MD on 1/8/2020 1538

           apixaban (ELIQUIS) 2.5 mg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: TAKE 1 TABLET TWICE DAILY
            Entered by: Riley, Lillian R, MA                                Entered on: 1/8/2020
            Start date: 8/4/2018                                            End date: 2/12/2020

           buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Start date: 10/9/2019                                            Informant: Family Member

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                                                HMH SCURLOCK                           Brockman, Robert T
                                                6560 Fannin                            MRN: 003768603, DOB:     1941, Sex: M
                                                HOUSTON TX 77030                       Visit date: 2/3/2020
                  02/03/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

         carbidopa-levodopa (SINEMET) 25-100 mg per tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
          Instructions: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
          Entered by: Riley, Lillian R, MA                      Entered on: 1/8/2020
          Start date: 10/9/2019                                 End date: 3/12/2020

         levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
          Instructions: Take 75 mcg by mouth every morning.
          Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
          Start date: 10/9/2019                                                Informant: Family Member

         rivastigmine (EXELON) 9.5 mg/24 hr [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
          Instructions: Place 9.5 mg onto the skin daily.
          Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
          Start date: 11/11/2019                                               End date: 2/12/2020

         testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
         1/8/2020 1311]
          Instructions: Place 1 Squirt on the skin daily.
          Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
          Informant: Family Member

         traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
          Instructions: Take 50 mg by mouth nightly.
          Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
          Start date: 3/13/2019                                                Informant: Family Member

         omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
          Instructions: Take 1 capsule by mouth daily.
          Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
          Informant: Family Member

         levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
          Instructions: Take 1 tablet by mouth daily.
          Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
          Start date: 10/1/2019                                                End date: 6/1/2021
          Informant: Family Member

         clonAZEPAM (KlonoPIN) 0.5 MG tablet
          Instructions: Take 1 tablet (0.5 mg total) by mouth nightly for 90 days.
          Authorized by: Lai, Eugene C., MD                                   Ordered on: 1/8/2020
          Start date: 1/8/2020                                                End date: 7/14/2020
          Quantity: 30 tablet                                                 Refill: 2 refills by 7/6/2020


       Stopped in Visit
         None




                  02/03/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders
   Outpatient Referral
       Ambulatory referral to Occupational Therapy [320668811] (Discontinued)
       Electronically signed by: Lai, Eugene C., MD on 02/03/20 1313                                               Status: Discontinued
       Mode: Ordering in Verbal with readback mode                             Communicated by: Atassi, Farah
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                                               HMH SCURLOCK                           Brockman, Robert T
                                               6560 Fannin                            MRN: 003768603, DOB:            941, Sex: M
                                               HOUSTON TX 77030                       Visit date: 2/3/2020
                  02/03/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

      Ordering user: Atassi, Farah 02/03/20 0957                           Ordering provider: Lai, Eugene C., MD
      Authorized by: Lai, Eugene C., MD                                    Ordering mode: Verbal with readback
      Frequency: Routine 02/03/20 -                                        Class: Outgoing Referral
      Quantity: 1                                                          Discontinued by: Atassi, Farah 02/12/20 1340 [Entered in Error]
      Diagnoses
      Parkinson's disease (HCC) [G20]
        Questionnaire
          Question                                                          Answer
          Let me know if the patient declines service or is unable to be    No
          contacted?

      Order comments: LSVT- BIG Physical and occupational therapies 3 times a week for 8 weeks for Parkinson's disease
        Referral Details
            Referred By                                                      Referred To             Type             Priority
            Lai, Eugene C., MD           Diagnoses: Parkinson's disease      West, John David, PT    Occupational     Routine
            6560 FANNIN ST               (HCC)                               2305 SAN FELIPE ST      Therapy
            SUITE 802                    Reason: Specialty Services          HOUSTON TX 77019-
            HOUSTON TX 77030             Required                            3401
            Phone: 713-441-0239                                              Phone: 713-790-1221
            Fax: 713-790-5044                                                Fax: 713-790-0254
                                                                             Specialty: Occupational
                                                                             Therapy
                 Comment: LSVT- BIG Physical and occupational therapies 3 times a week for 8 weeks for Parkinson's disease
                 Question                                                    Answer
                 Let me know if the patient declines service or is unable to No
                 be contacted?:

         Indications
            Parkinson's disease (HCC) [G20 (ICD-10-CM)]

                                                                      Order Details

          Order Details
             Priority                                    Expected                                  Study Status
             Routine                                     2/3/2020

          Order Details
             Frequency                        Duration                        Priority                        Order Class
             None                             None                            Routine                         Outgoing Referral

          Order History                                                                                                           Outpatient
             Date/Time           Action Taken              User                            Additional Information
             02/03/20 0957       Sign                      Atassi, Farah                   Ordering Mode: Verbal with readback
             02/03/20 1313       Verbal Cosign             Lai, Eugene C., MD
             02/12/20 1340       Cancel                    Atassi, Farah                   Reason:Entered in Error

          Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.


      Ambulatory referral to Physical Therapy [320668810] (Discontinued)
       Electronically signed by: Lai, Eugene C., MD on 02/03/20 1313                                                 Status: Discontinued
       Mode: Ordering in Verbal with readback mode                         Communicated by: Atassi, Farah
       Ordering user: Atassi, Farah 02/03/20 0957                          Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                                   Ordering mode: Verbal with readback
       Frequency: Routine 02/03/20 -                                       Class: Outgoing Referral
       Quantity: 1                                                         Discontinued by: Atassi, Farah 02/12/20 1340 [Entered in Error]

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                                               HMH SCURLOCK                           Brockman, Robert T
                                               6560 Fannin                            MRN: 003768603, DOB:           1941, Sex: M
                                               HOUSTON TX 77030                       Visit date: 2/3/2020
                  02/03/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

      Diagnoses
      Parkinson's disease (HCC) [G20]
        Questionnaire
          Question                                                          Answer
          Services Requested                                                Evaluate and Treat
          Let me know if the patient declines service or is unable to be    No
          contacted?

      Order comments: LSVT- BIG Physical and occupational therapies 3 times a week for 8 weeks for Parkinson's disease
        Referral Details
            Referred By                                                      Referred To             Type             Priority
            Lai, Eugene C., MD           Diagnoses: Parkinson's disease      West, John David, PT    Physical         Routine
            6560 FANNIN ST               (HCC)                               2305 SAN FELIPE ST      Therapy
            SUITE 802                    Reason: Specialty Services          HOUSTON TX 77019-
            HOUSTON TX 77030             Required                            3401
            Phone: 713-441-0239                                              Phone: 713-790-1221
            Fax: 713-790-5044                                                Fax: 713-790-0254
                                                                             Specialty: Physical
                                                                             Therapy
                 Comment: LSVT- BIG Physical and occupational therapies 3 times a week for 8 weeks for Parkinson's disease
                 Question                                                    Answer
                 Services Requested:                                         Evaluate and Treat
                 Let me know if the patient declines service or is unable to No
                 be contacted?:

         Indications
            Parkinson's disease (HCC) [G20 (ICD-10-CM)]

                                                                      Order Details

          Order Details
             Priority                                    Expected                                  Study Status
             Routine                                     2/3/2020

          Order Details
             Frequency                        Duration                        Priority                       Order Class
             None                             None                            Routine                        Outgoing Referral

          Order History                                                                                                          Outpatient
             Date/Time           Action Taken              User                            Additional Information
             02/03/20 0957       Sign                      Atassi, Farah                   Ordering Mode: Verbal with readback
             02/03/20 1313       Verbal Cosign             Lai, Eugene C., MD
             02/12/20 1340       Cancel                    Atassi, Farah                   Reason:Entered in Error

          Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.


      Ambulatory referral to Speech Therapy [320668812] (Discontinued)
       Electronically signed by: Lai, Eugene C., MD on 02/03/20 1313                                                 Status: Discontinued
       Mode: Ordering in Verbal with readback mode                         Communicated by: Atassi, Farah
       Ordering user: Atassi, Farah 02/03/20 0957                          Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                                   Ordering mode: Verbal with readback
       Frequency: Routine 02/03/20 -                                       Class: Outgoing Referral
       Quantity: 1                                                         Discontinued by: Atassi, Farah 02/12/20 1339 [Entered in Error]
       Diagnoses
       Parkinson's disease (HCC) [G20]

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                                               HMH SCURLOCK                           Brockman, Robert T
                                               6560 Fannin                            MRN: 003768603, DOB             1941, Sex: M
                                               HOUSTON TX 77030                       Visit date: 2/3/2020
                  02/03/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

         Questionnaire
          Question                                                            Answer
          Let me know if the patient declines service or is unable to be      No
          contacted?

      Order comments: LSVT- LOUD speech therapy 3 times a week for 8 weeks for Parkinson's Disease.
        Referral Details
            Referred By                                                      Referred To           Type                     Priority
            Lai, Eugene C., MD           Diagnoses: Parkinson's disease      West, John David, PT  Speech                   Routine
            6560 FANNIN ST               (HCC)                               2305 SAN FELIPE ST    Pathology
            SUITE 802                    Reason: Specialty Services          HOUSTON TX 77019-
            HOUSTON TX 77030             Required                            3401
            Phone: 713-441-0239                                              Phone: 713-790-1221
            Fax: 713-790-5044                                                Fax: 713-790-0254
                                                                             Specialty: Speech
                                                                             Pathology
                 Comment: LSVT- LOUD speech therapy 3 times a week for 8 weeks for Parkinson's Disease.
                 Question                                                    Answer
                 Let me know if the patient declines service or is unable to No
                 be contacted?:

         Indications
            Parkinson's disease (HCC) [G20 (ICD-10-CM)]

                                                                      Order Details

          Order Details
             Priority                                    Expected                                   Study Status
             Routine                                     2/3/2020

          Order Details
             Frequency                        Duration                          Priority                      Order Class
             None                             None                              Routine                       Outgoing Referral

          Order History                                                                                                           Outpatient
             Date/Time           Action Taken              User                             Additional Information
             02/03/20 0957       Sign                      Atassi, Farah                    Ordering Mode: Verbal with readback
             02/03/20 1313       Verbal Cosign             Lai, Eugene C., MD
             02/12/20 1339       Cancel                    Atassi, Farah                    Reason:Entered in Error

          Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.




                           02/03/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology
                                                     All Parent Orders


                                                   Outpatient Referral - All Orders
Ambulatory referral to Physical Therapy [320668810]
Electronically signed by: Lai, Eugene C., MD on 02/03/20 1313                                                            Status: Discontinued
Mode: Ordering in Verbal with readback mode                                Communicated by: Atassi, Farah
Ordering user: Atassi, Farah 02/03/20 0957                                 Ordering provider: Lai, Eugene C., MD

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                                               HMH SCURLOCK                    Brockman, Robert T
                                               6560 Fannin                     MRN: 003768603, DOB:             1941, Sex: M
                                               HOUSTON TX 77030                Visit date: 2/3/2020
                                            Outpatient Referral - All Orders (continued)
Ambulatory referral to Physical Therapy [320668810] (continued)

Authorized by: Lai, Eugene C., MD                                    Ordering mode: Verbal with readback
Frequency: Routine 02/03/20 -                                        Class: Outgoing Referral
Quantity: 1                                                          Discontinued by: Atassi, Farah 02/12/20 1340 [Entered in Error]
Diagnoses
Parkinson's disease (HCC) [G20]
   Questionnaire
    Question                                                          Answer
    Services Requested                                                Evaluate and Treat
    Let me know if the patient declines service or is unable to be    No
    contacted?

Order comments: LSVT- BIG Physical and occupational therapies 3 times a week for 8 weeks for Parkinson's disease

Ambulatory referral to Occupational Therapy [320668811]
Electronically signed by: Lai, Eugene C., MD on 02/03/20 1313                                                       Status: Discontinued
Mode: Ordering in Verbal with readback mode                          Communicated by: Atassi, Farah
Ordering user: Atassi, Farah 02/03/20 0957                           Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                    Ordering mode: Verbal with readback
Frequency: Routine 02/03/20 -                                        Class: Outgoing Referral
Quantity: 1                                                          Discontinued by: Atassi, Farah 02/12/20 1340 [Entered in Error]
Diagnoses
Parkinson's disease (HCC) [G20]
   Questionnaire
    Question                                                          Answer
    Let me know if the patient declines service or is unable to be    No
    contacted?

Order comments: LSVT- BIG Physical and occupational therapies 3 times a week for 8 weeks for Parkinson's disease

Ambulatory referral to Speech Therapy [320668812]
Electronically signed by: Lai, Eugene C., MD on 02/03/20 1313                                                       Status: Discontinued
Mode: Ordering in Verbal with readback mode                          Communicated by: Atassi, Farah
Ordering user: Atassi, Farah 02/03/20 0957                           Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                    Ordering mode: Verbal with readback
Frequency: Routine 02/03/20 -                                        Class: Outgoing Referral
Quantity: 1                                                          Discontinued by: Atassi, Farah 02/12/20 1339 [Entered in Error]
Diagnoses
Parkinson's disease (HCC) [G20]
   Questionnaire
    Question                                                          Answer
    Let me know if the patient declines service or is unable to be    No
    contacted?

Order comments: LSVT- LOUD speech therapy 3 times a week for 8 weeks for Parkinson's Disease.



                           02/03/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology
                                                   Diagnosis Summary
Visit Information
   Date & Time                         Provider                       Department                         Encounter #
   2/3/2020 9:45 AM                    Atassi, Farah                  HMNI Stanley H Appel Dept of       2100074561582
                                                                      Neurology




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                                               HMH SCURLOCK                        Brockman, Robert T
                                               6560 Fannin                         MRN: 003768603, DOB:           1941, Sex: M
                                               HOUSTON TX 77030                    Visit date: 1/20/2020

                        01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Provider Information
       Encounter Provider
       Lai, Eugene C., MD

   Department
       Name                                     Address                                Phone                      Fax
       HMNI Stanley H Appel Dept of             6560 Fannin Street Suite 802           713-441-3780               713-790-5079
       Neurology                                Houston TX 77030-2725



Research Study Linked to Scanned Document on 1/20/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 1/20/2020
      Problems last reviewed by Lai, Eugene C., MD on 1/8/2020 1538

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
        Diagnosis: Dementia associated with         Noted on: 01/08/2020                      Chronic: No
        Parkinson's disease (HCC)

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
        Diagnosis: Parkinson's disease (HCC)        Noted on: 01/08/2020                      Chronic: No


   Allergies as of 1/20/2020
      Allergies last reviewed by Lai, Eugene C., MD on 1/8/2020 1538
      No Known Allergies


   History as of 1/20/2020
       Medical History as of 1/20/2020
                Medical last reviewed by Lai, Eugene C., MD on 1/8/2020
                None


       Surgical History as of 1/20/2020
                Surgical last reviewed by Lai, Eugene C., MD on 1/8/2020
                None


       Family History as of 1/20/2020
           Family History as of 1/20/2020



       Substance & Sexuality History as of 1/20/2020
           Tobacco Use as of 1/20/2020
                      Tobacco Use last reviewed by Lai, Eugene C., MD on 1/8/2020

              Smoking Status                        Smoking Start Date         Smoking Quit Date      Packs/Day        Years Used
              Never Smoker                          —                          —                      —                —
              Types                                 Comments                   Smokeless Tobacco      Smokeless        Source

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                                                HMH SCURLOCK                            Brockman, Robert T
                                                6560 Fannin                             MRN: 003768603, DOB:             1941, Sex: M
                                                HOUSTON TX 77030                        Visit date: 1/20/2020
               01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

                                                                               Status                    Tobacco Quit
                                                                                                         Date
              —                                     —                          Never Used                —                   Provider


          Alcohol Use as of 1/20/2020
                    Alcohol Use last reviewed by Riley, Lillian R, MA on 1/8/2020

                Alcohol Use                 Drinks/Week                  Alcohol/Week                 Comments                     Source
                Never                                                    —                            —                            Provider


          Drug Use as of 1/20/2020
                    Drug Use last reviewed by Riley, Lillian R, MA on 1/8/2020

                Drug Use                    Types                        Frequency                    Comments                     Source
                Never                       —                            —                            —                            Provider


          Sexual Activity as of 1/20/2020
                    Sexual Activity last reviewed by Riley, Lillian R, MA on 1/8/2020

                Sexually Active             Birth Control                Partners                     Comments                     Source
                Defer                       —                            —                            —                            Provider



       Socioeconomic History as of 1/20/2020
             Socioeconomic as of 1/20/2020
                Marital       Spouse        Number of       Years        Education      Preferred
                Status        Name          Children        Education    Level          Language      Ethnicity     Race           Source
                Married       —             —               —            —              English       Not           Caucasian      —
                                                                                                      Hispanic or
                                                                                                      Latino




Medication List
   Medication List
      This visit is during an admission. Changes to the med list made in this visit will be reflected in the After Visit Summary of the admission.




                          01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology
                                                    All Parent Orders
All Orders
   No orders found


                          01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology
                                                   Diagnosis Summary
Visit Information
   Date & Time                          Provider                            Department                           Encounter #
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                                         HMH SCURLOCK               Brockman, Robert T
                                         6560 Fannin                MRN: 003768603, DOB:        1941, Sex: M
                                         HOUSTON TX 77030           Visit date: 1/20/2020
                     01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology
                                          Diagnosis Summary (continued)
Visit Information (continued)

   1/20/2020 9:06 AM            Lai, Eugene C., MD          HMNI Stanley H Appel Dept of   2100073968397
                                                            Neurology




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                                         HMH SCURLOCK                        Brockman, Robert T
                                         6560 Fannin                         MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030                    Visit date: 1/20/2020
                   01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology
                                        Diagnosis Summary (continued)
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans
   Patient Questionnaire
      Scan on 1/20/2020 9:09 AM: Dr. Eugene Lai new patient questionnaire.
        Scan (below)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB:     941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB:     941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                               HMH SCURLOCK                        Brockman, Robert T
                                               6560 Fannin                         MRN: 003768603, DOB:           1941, Sex: M
                                               HOUSTON TX 77030                    Visit date: 1/20/2020

                        01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Provider Information
       Encounter Provider
       Lai, Eugene C., MD

   Department
       Name                                     Address                                Phone                      Fax
       HMNI Stanley H Appel Dept of             6560 Fannin Street Suite 802           713-441-3780               713-790-5079
       Neurology                                Houston TX 77030-2725



Research Study Linked to Scanned Document on 1/20/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 1/20/2020
      Problems last reviewed by Lai, Eugene C., MD on 1/8/2020 1538

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
        Diagnosis: Dementia associated with         Noted on: 01/08/2020                      Chronic: No
        Parkinson's disease (HCC)

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
        Diagnosis: Parkinson's disease (HCC)        Noted on: 01/08/2020                      Chronic: No


   Allergies as of 1/20/2020
      Allergies last reviewed by Lai, Eugene C., MD on 1/8/2020 1538
      No Known Allergies


   History as of 1/20/2020
       Medical History as of 1/20/2020
                Medical last reviewed by Lai, Eugene C., MD on 1/8/2020
                None


       Surgical History as of 1/20/2020
                Surgical last reviewed by Lai, Eugene C., MD on 1/8/2020
                None


       Family History as of 1/20/2020
           Family History as of 1/20/2020



       Substance & Sexuality History as of 1/20/2020
           Tobacco Use as of 1/20/2020
                      Tobacco Use last reviewed by Lai, Eugene C., MD on 1/8/2020

              Smoking Status                        Smoking Start Date         Smoking Quit Date      Packs/Day        Years Used
              Never Smoker                          —                          —                      —                —
              Types                                 Comments                   Smokeless Tobacco      Smokeless        Source

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          Ex. 156, p. 128 of 157
                                                HMH SCURLOCK                            Brockman, Robert T
                                                6560 Fannin                             MRN: 003768603, DOB:              941, Sex: M
                                                HOUSTON TX 77030                        Visit date: 1/20/2020
               01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

                                                                               Status                    Tobacco Quit
                                                                                                         Date
              —                                     —                          Never Used                —                   Provider


          Alcohol Use as of 1/20/2020
                    Alcohol Use last reviewed by Riley, Lillian R, MA on 1/8/2020

                Alcohol Use                 Drinks/Week                  Alcohol/Week                 Comments                     Source
                Never                                                    —                            —                            Provider


          Drug Use as of 1/20/2020
                    Drug Use last reviewed by Riley, Lillian R, MA on 1/8/2020

                Drug Use                    Types                        Frequency                    Comments                     Source
                Never                       —                            —                            —                            Provider


          Sexual Activity as of 1/20/2020
                    Sexual Activity last reviewed by Riley, Lillian R, MA on 1/8/2020

                Sexually Active             Birth Control                Partners                     Comments                     Source
                Defer                       —                            —                            —                            Provider



       Socioeconomic History as of 1/20/2020
             Socioeconomic as of 1/20/2020
                Marital       Spouse        Number of       Years        Education      Preferred
                Status        Name          Children        Education    Level          Language      Ethnicity     Race           Source
                Married       —             —               —            —              English       Not           Caucasian      —
                                                                                                      Hispanic or
                                                                                                      Latino




Medication List
   Medication List
      This visit is during an admission. Changes to the med list made in this visit will be reflected in the After Visit Summary of the admission.




                          01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology
                                                    All Parent Orders
All Orders
   No orders found


                          01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology
                                                   Diagnosis Summary
Visit Information
   Date & Time                          Provider                            Department                           Encounter #
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                                         HMH SCURLOCK               Brockman, Robert T
                                         6560 Fannin                MRN: 003768603, DOB:        1941, Sex: M
                                         HOUSTON TX 77030           Visit date: 1/20/2020
                     01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology
                                          Diagnosis Summary (continued)
Visit Information (continued)

   1/20/2020 9:12 AM            Lai, Eugene C., MD          HMNI Stanley H Appel Dept of   2100073969105
                                                            Neurology




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                                          HMH SCURLOCK                       Brockman, Robert T
                                          6560 Fannin                        MRN: 003768603, DOB:    1941, Sex: M
                                          HOUSTON TX 77030                   Visit date: 1/20/2020
                   01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology
                                        Diagnosis Summary (continued)
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans
   Outside Medical Record - Note
      Scan on 1/20/2020 9:18 AM: Dr. Michele York clinical note 03/01/2019
        Scan (below)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB:     941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB     1941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB:     941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB:    1941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                         HMH SCURLOCK        Brockman, Robert T
                                         6560 Fannin         MRN: 003768603, DOB:     941, Sex: M
                                         HOUSTON TX 77030    Visit date: 1/20/2020
            01/20/2020 - Scanned Document in HMNI Stanley H Appel Dept of Neurology (continued)
Entire Encounter Scans (continued)




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                                                 HMH SCURLOCK                        Brockman, Robert T
                                                 6560 Fannin                         MRN: 003768603, DOB:       1941, Sex: M
                                                 HOUSTON TX 77030                    Visit date: 1/8/2020

                            01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Provider Information
       Encounter Provider                            Authorizing Provider                       Referring Provider
       Lai, Eugene C., MD                            Lai, Eugene C., MD                         Pool, James L., MD

   Department
       Name                                      Address                                 Phone                  Fax
       HMNI Stanley H Appel Dept of              6560 Fannin Street Suite 802            713-441-3780           713-790-5079
       Neurology                                 Houston TX 77030-2725

   Follow-up and Dispositions
      ·    Return in about 1 month (around 2/8/2020) for Next scheduled follow up.


   Level of Service
       Level of Service
       PR OFFICE CONSULTATION NEW/ESTAB PATIENT 80 MIN



Research Study Linked to Office Visit on 1/8/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 1/8/2020
      Problems last reviewed by Lai, Eugene C., MD on 1/8/2020 1538

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
          Diagnosis: Dementia associated with        Noted on: 01/08/2020                       Chronic: No
          Parkinson's disease (HCC)

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
          Diagnosis: Parkinson's disease (HCC)       Noted on: 01/08/2020                       Chronic: No


   Allergies as of 1/8/2020
      Allergies last reviewed by Lai, Eugene C., MD on 1/8/2020 1538
      No Known Allergies


   History as of 1/8/2020
       Medical History as of 1/8/2020
                 Medical last reviewed by Lai, Eugene C., MD on 1/8/2020
                 None


       Surgical History as of 1/8/2020
                 Surgical last reviewed by Lai, Eugene C., MD on 1/8/2020
                 None


       Family History as of 1/8/2020
            Family History as of 1/8/2020




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                                               HMH SCURLOCK                       Brockman, Robert T
                                               6560 Fannin                        MRN: 003768603, DOB:            1941, Sex: M
                                               HOUSTON TX 77030                   Visit date: 1/8/2020
                   01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)


       Substance & Sexuality History as of 1/8/2020
           Tobacco Use as of 1/8/2020
                   Tobacco Use last reviewed by Lai, Eugene C., MD on 1/8/2020

               Smoking Status                        Smoking Start Date      Smoking Quit Date         Packs/Day           Years Used
               Never Smoker                          —                       —                         —                   —
                                                                                                       Smokeless
                                                                             Smokeless Tobacco         Tobacco Quit
               Types                                 Comments                Status                    Date                Source
               —                                     —                       Never Used                —                   Provider


           Alcohol Use as of 1/8/2020
                   Alcohol Use last reviewed by Riley, Lillian R, MA on 1/8/2020

               Alcohol Use                  Drinks/Week               Alcohol/Week                  Comments                  Source
               Never                                                  —                             —                         Provider


           Drug Use as of 1/8/2020
                   Drug Use last reviewed by Riley, Lillian R, MA on 1/8/2020

               Drug Use                     Types                     Frequency                     Comments                  Source
               Never                        —                         —                             —                         Provider


           Sexual Activity as of 1/8/2020
                   Sexual Activity last reviewed by Riley, Lillian R, MA on 1/8/2020

               Sexually Active              Birth Control             Partners                      Comments                  Source
               Defer                        —                         —                             —                         Provider



       Socioeconomic History as of 1/8/2020
           Socioeconomic as of 1/8/2020
              Marital       Spouse          Number of   Years        Education     Preferred
              Status        Name            Children    Education    Level         Language     Ethnicity      Race          Source
              Married       —               —           —            —             English      Not            Caucasian     —
                                                                                                Hispanic or
                                                                                                Latino




Medication List
   Medication List
      This report is for documentation purposes only. The patient should not follow medication instructions within.
      For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.

       Active at the End of Visit
         Medications last reviewed by Lai, Eugene C., MD on 1/8/2020 1538

           apixaban (ELIQUIS) 2.5 mg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]

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                                                HMH SCURLOCK                           Brockman, Robert T
                                                6560 Fannin                            MRN: 003768603, DOB:           1941, Sex: M
                                                HOUSTON TX 77030                       Visit date: 1/8/2020
                   01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

         Instructions: TAKE 1 TABLET TWICE DAILY
         Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
         Start date: 8/4/2018                                                 End date: 2/12/2020

         buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
          Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
          Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
          Start date: 10/9/2019                                            Informant: Family Member

         carbidopa-levodopa (SINEMET) 25-100 mg per tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
          Instructions: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
          Entered by: Riley, Lillian R, MA                      Entered on: 1/8/2020
          Start date: 10/9/2019                                 End date: 3/12/2020

         levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
          Instructions: Take 75 mcg by mouth every morning.
          Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
          Start date: 10/9/2019                                                Informant: Family Member

         rivastigmine (EXELON) 9.5 mg/24 hr [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
          Instructions: Place 9.5 mg onto the skin daily.
          Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
          Start date: 11/11/2019                                               End date: 2/12/2020

         testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
         1/8/2020 1311]
          Instructions: Place 1 Squirt on the skin daily.
          Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
          Informant: Family Member

         traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
          Instructions: Take 50 mg by mouth nightly.
          Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
          Start date: 3/13/2019                                                Informant: Family Member

         omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
          Instructions: Take 1 capsule by mouth daily.
          Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
          Informant: Family Member

         levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
          Instructions: Take 1 tablet by mouth daily.
          Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
          Start date: 10/1/2019                                                End date: 6/1/2021
          Informant: Family Member

         clonAZEPAM (KlonoPIN) 0.5 MG tablet
          Instructions: Take 1 tablet (0.5 mg total) by mouth nightly for 90 days.
          Authorized by: Lai, Eugene C., MD                                   Ordered on: 1/8/2020
          Start date: 1/8/2020                                                End date: 7/14/2020
          Quantity: 30 tablet                                                 Refill: 2 refills by 7/6/2020


       Stopped in Visit
         None




Generated by 1043159 at 6/2/21 3:28 PM                                                                                               Page 139

         Ex. 156, p. 139 of 157
                                            HMH SCURLOCK                    Brockman, Robert T
                                            6560 Fannin                     MRN: 003768603, DOB:          1941, Sex: M
                                            HOUSTON TX 77030                Visit date: 1/8/2020
                 01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes
   Progress Notes
      Lai, Eugene C., MD at 1/8/2020 1300
         Author: Lai, Eugene C., MD              Service: —                               Author Type: Physician
         Filed: 1/18/2020 1:17 PM                Encounter Date: 1/8/2020                 Creation Time: 1/18/2020 1:01 PM
         Status: Signed                          Editor: Lai, Eugene C., MD (Physician)

INITIAL NEUROLOGICAL CONSULTATION


CHIEF COMPLAINT: Progressive Parkinson’s disease symptoms, cognitive decline, depression, and sleep
disturbance.

HISTORY OF PRESENT ILLNESS: The patient is a 78-year-old, ambidextrous Caucasian-American man, the CEO
and Founder of Reynolds Computer Software Company, who presents with progressive Parkinson’s disease
symptoms, cognitive decline, depression, and sleep disturbance. He is kindly referred to me for further neurological
consultation by James Pool, M.D. He comes with his wife, Dorothy, for this clinic visit. He has a 3-4 year history of
memory decline. He is repeating himself, misplacing personal objects, and losing his train of thought. He has difficulty
with multi-tasking, taking medications, spelling, and word-finding. He has difficulty managing his personal finances
and he has a bookkeeper. He does not initiate activities as he used to. His wife states that his ability to make
decisions fluctuates. He has episodes of blanking or tuning out associated with reduced interactions with his
surroundings. He was advised not to drive by his physician, but he is still driving in closeby familiar areas. About 2½
years ago, he started slowing down with imbalance and walking changes. His steps became shorter and he
developed a stooped posture. He also experienced depression later and bupropion was started which has helped to
improve his thinking and memory. He notices improvement with his stiffness after exercise. His handwriting is messier
and smaller. He stopped signing employee certificates and he is using a stamp with his signature lately. He has
difficulty with fine motor functions. His voice is softer and he has some difficulty swallowing food and medications. He
has excessive saliva. He has some difficulty turning in bed. He has had reduced sense of smell for about 10 years.
He has been experiencing insomnia for about 10 years. He began snoring, kicking, punching, and acting out his
dreams during sleep about 2-3 years ago. He was diagnosed with REM sleep behavior disorder and was prescribed
clonazepam that has helped his symptoms. He reports one episode of visual disturbance when he saw a rainbow
about 8 years ago, and he was diagnosed with ocular migraine with possible visual aura. He saw Dr. Joseph Jankovic
on 01/30/2019 and he was diagnosed with Parkinson’s disease. He was started on carbidopa/levodopa 25/100 3
times a day. He had slight improvement in his motor functioning initially, but his motor and mental functioning
worsened when he increased the medication to 2 tablets 3 times a day, due to interactions with Cardizem and Vytorin.
At present time, he is able to tolerate carbidopa/levodopa 25/100 2 tablets 3 times a day after he stopped the other
medications, and he has noticeable improvement in his Parkinson’s symptoms. He had a DaTscan of the brain on
2/15/2019 that showed significant loss of dopaminergic signals. On 3/1/2019, he had a neuropsychological evaluation
by Dr. Michele York that was consistent with Dementia with Lewy Bodies due to finding of parkinsonism, dementia,
new onset visual hallucination, potential visual illusion, and REM sleep behavior disorder. During the testing, he saw a
bug on the floor in the room that was not present. He was started on Exelon patch on 3/13/2019 and he feels there is
some improvement in his memory. He was also evaluated by Dr. Melissa Yu. He has urinary frequency and urgency.
He has hearing loss and numbness in his feet. Otherwise, he denies recent headache, dizziness, vertigo, loss of
consciousness, nausea/vomiting, vision or hearing change, focal weakness, and falling. There is no previous history
of head trauma or toxic exposure.

PAST MEDICAL HISTORY: He has a history of Parkinson’s disease, dementia, ocular migraine, hyperlipidemia,
hypothyroidism, paroxysmal atrial fibrillation, pericarditis, bladder cancer, melanoma, basal cell skin cancer, urinary
tract infection, prostatitis, erectile dysfunction, low testosterone, pseudoexfoliation glaucoma, plantar fasciitis, and
depression.



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                                         HMH SCURLOCK                 Brockman, Robert T
                                         6560 Fannin                  MRN: 003768603, DOB:        1941, Sex: M
                                         HOUSTON TX 77030             Visit date: 1/8/2020
                 01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

PAST SURGICAL HISTORY: He underwent tonsillectomy in 1945, transurethral resection of the prostate in 2006,
bilateral cataract surgeries, polypectomy, dental surgery, basal cell carcinoma removal, and melanoma excision.

ALLERGIES: No known drug allergies.
MEDICATIONS: Carbidopa/levodopa 25/100 2 tablets t.i.d.; Eliquis 2.5 mg b.i.d.; levothyroxine 75 mcg daily;
rivastigmine patch 9.5 mg daily; bupropion SR 100 mg b.i.d.; trazodone 50 mg q.h.s.; testosterone gel daily; omega 3-
dha-epa-fish oil 100-160-1000 mg daily; and levomefolate calcium daily.
FAMILY HISTORY: His father died at age 78 of chronic obstructive pulmonary disease. His mother died at age 92
and she had a history of diabetes mellitus and mediastinal mass/possible lymphoma. He has one brother, age 72, who
has Asperger’s syndrome and some memory problems, but he is not tested. He has one son, age 45, who is healthy.
There is no known family history of movement disorder or other significant neurological diseases.

SOCIAL HISTORY: He has a Bachelor’s degree in Business Administration and attended graduate school for one
year in Marketing at the University of Florida. He is the Chairman and CEO of Reynolds Computer Software
Company. He is married and lives with his wife. He leads an active lifestyle. He exercises 3 times a week at the
Houstonian for 1½ to 2 hours. He never smoked cigarettes. He used to consume alcoholic beverages heavily during
fly-fishing trips and he stopped 3-4 years ago due to atrial fibrillation.

REVIEW OF SYSTEM: His sleep is irregular. He wakes early and has difficulty going back to sleep occasionally. He
states that in the last 2 days, he had difficulty sleeping from 1 am until 5 am, and then he went to sleep until 10 am.
He moves and talks during sleep. His appetite is good and his weight is stable. Otherwise, he denies recent fever,
chills, chest pain, shortness of breath, abdominal discomfort, dysuria, skin rash, or joint pain.

PHYSICAL EXAMINATION: Vital Signs: BP = 118/63. P = 36. W = 189 lbs. H = 5’ 11.5”. BMI = 25.99. General
Appearance: This is a well-developed, well-nourished, elderly man in no acute distress. He is pleasant and
cooperative. HEENT: Unremarkable. Neck and Back: Supple with full range of motion. There is no tenderness to
palpation or deformity. Lymphadenopathy and carotid bruit are not noted. Cardiac: Irregular and bradycardic. Lungs:
Clear to auscultation. Abdomen: Soft and nontender. Extremities: Without clubbing, cyanosis or edema. Skin:
Without rash or lesion.

NEUROEXAMINATION: Mental Status: He is alert and oriented to person, place, time, and situation. Montreal
Cognitive Assessment (MoCA) score is 20/30, missing 2 points with visuospatial/executive function, 2 points with
serial 7 subtraction, 1 point with language fluency, and 5 points with delayed recall. Mood and affect are appropriate.
Speech is slightly hesitant. Comprehension and expression are slower. Insight and judgment are impaired. Cranial
Nerves: II. – Visual fields are intact to confrontation. Fundi appear benign. III., IV., VI. – Pupils are post-surgical.
Extraocular muscles are full without nystagmus, ptosis, or diplopia. V. – Sensation is intact in all divisions tested.
Temporalis and masseter muscles are full. VII. – Face is symmetrical. VIII. – Hearing is decreased to finger rubs
bilaterally, R>L. IX., X. – The palate elevates symmetrically. XI. – Trapezius and sternocleidomastoid muscles are
full. XII. – The tongue protrudes in the midline without atrophy or fibrillation. Motor Examination: Strength is
symmetrical, 5/5 except in the hip flexors that is 5-/5. Muscle tone is slightly increased bilaterally, L>R. He has no
tremor or other abnormal movements. There is no atrophy, contracture, or fasciculation. Sensory Examination: Intact
to pinprick and light touch, but decreased to proprioception and vibration in both feet. Coordination: Finger-nose-finger
and heel-to-shin are without dysmetria. Rapid alternating movements are slower bilaterally. Reflexes: 1+ and
symmetrical. Planter responses are flexor bilaterally. Gait: He is able to arise from his chair without pushing. He
walks with a slightly wide-based gait. His bilateral arm swings are decreased. His turning is hesitant. He is able to
perform heel and toe walking, but not tandem walking. Posture is stable to the Pull Test but Romberg is positive with
body swaying.

PREVIOUS STUDIES: All the medical records from Epic are carefully reviewed. MRI of the brain (11/06/2018)
showed no intracranial abnormalities, particularly no disproportionate lobar


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                                            HMH SCURLOCK                   Brockman, Robert T
                                            6560 Fannin                    MRN: 003768603, DOB:      1941, Sex: M
                                            HOUSTON TX 77030               Visit date: 1/8/2020
                 01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

atrophy. DaTscan of the brain (02/15/2019) showed severe loss of dopaminergic neuronal function in the bilateral
dorsal striata with loss greater on the right compared to the left.

IMPRESSION: This 78-year-old man presents with a 3-year history of progressive Parkinson’s disease symptoms,
cognitive decline, depression, and insomnia. His MoCA test score is 20/30. His neurological examination is significant
for cognitive deficits, rigidity, bradykinesia, sensory impairment, and unsteadiness. Therefore, his clinical findings are
most consistent with the diagnosis of Parkinson’s disease with mild to moderate cognitive impairment. Differential
diagnoses include: dementia with Lewy bodies, vascular parkinsonism, other secondary parkinsonism, or Parkinson
plus syndromes. He has signs of peripheral polyneuropathy with gait imbalance. He also has rapid eye movement
(REM) sleep behavior disorder.

PLAN: His neurological condition is discussed thoroughly with the patient and his wife. At this time, I will review his
previous neuropsychological evaluation. I will review his laboratory test results from Dr. Pool’s office. I will start
clonazepam 0.5 mg one tablet at bedtime for his sleep disturbance. The benefits and potential side-effects of the new
medication are explained in detail. He will continue trazodone 50 mg at bedtime. He will continue carbidopa/levodopa
25/100 2 tablets 3X/day and rivastigmine patch 9.5 mg daily and his other current medications. He will benefit from
physical and occupational therapies, especially LSVT BIG and LOUD programs. He is advised to keep active
physically and mentally and exercise regularly. He should avoid stress and anxiety as well as reduce his business
responsibilities. Follow-up with Dr. Pool or Cardiology for bradycardia and atrial fibrillation. He or his wife will call if
they have any further question or concern. He will return for a follow-up clinic visit in 1 month.

Total initial neurological consultation time = 70 minutes.
More than 50% of visit time is spent in counseling and patient education.




Eugene C. Lai, M.D., Ph.D.
Robert W. Hervey Distinguished Endowed Chair in Parkinson's Disease
Professor of Neurology and Neuroscience
Director, Neurodegenerative Disease Clinic

Stanley H. Appel Department of Neurology
Houston Methodist Neurological Institute &
Weill Cornell Medical School
6560 Fannin, Suite 802
Houston, Texas 77030
TEL. 713-441-0239
FAX. 713-790-5044



        Electronically signed by Lai, Eugene C., MD at 1/18/2020 1:17 PM




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                                          HMH SCURLOCK                      Brockman, Robert T
                                          6560 Fannin                       MRN: 003768603, DOB:   1941, Sex: M
                                          HOUSTON TX 77030                  Visit date: 1/8/2020

                    01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Note Scans
   Clinic Progress Note - Scan on 1/20/2020 9:04 AM: MoCA test 01/08/2020
     Scan (below)




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                                          HMH SCURLOCK                       Brockman, Robert T
                                          6560 Fannin                        MRN: 003768603, DOB:   941, Sex: M
                                          HOUSTON TX 77030                   Visit date: 1/8/2020
                    01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Note Scans (continued)

   Clinic Progress Note - Scan on 1/20/2020 9:05 AM: UPDRS test 01/08/2020
     Scan (below)




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                                         HMH SCURLOCK                  Brockman, Robert T
                                         6560 Fannin                   MRN: 003768603, DOB:   1941, Sex: M
                                         HOUSTON TX 77030              Visit date: 1/8/2020
                 01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Note Scans (continued)




                 01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders
   Medications
      clonAZEPAM (KlonoPIN) 0.5 MG tablet [320668809] (Discontinued)

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         Ex. 156, p. 145 of 157
                                              HMH SCURLOCK                          Brockman, Robert T
                                              6560 Fannin                           MRN: 003768603, DOB:           1941, Sex: M
                                              HOUSTON TX 77030                      Visit date: 1/8/2020
                  01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

      Electronically signed by: Lai, Eugene C., MD on 01/08/20 1536                                                Status: Discontinued
      Ordering user: Lai, Eugene C., MD 01/08/20 1536                 Ordering provider: Lai, Eugene C., MD
      Authorized by: Lai, Eugene C., MD                               Ordering mode: Standard
      Frequency: Routine Nightly 01/08/20 - 90 days                   Class: Normal
      Discontinued by: Atassi, Farah 07/14/20 1338
                                                                  Order Details

          Order Details
             Priority                                   Expected                                 Study Status
             Routine                                    1/8/2020 9:00 PM

          Order Details
             Frequency                       Duration                          Priority                    Order Class
             at bedtime                      90 days                           Routine                     Normal

          Order History                                                                                                       Outpatient
             Date/Time          Action Taken               User                           Additional Information
             01/08/20 1536      Sign                       Lai, Eugene C., MD
             02/12/20 0818      Taking Flag Checked        Riley, Lillian R, MA
             07/14/20 1214      Reorder                    Atassi, Farah                  To Order: 335306863
             07/14/20 1338      Discontinue                Atassi, Farah

          clonAZEPAM (KlonoPIN) 0.5 MG tablet [320668809] DISCONTINUED
             Dose: 0.5 mg                           Route: oral                           Frequency: at bedtime
             Dispense Quantity: 30 tablet           Refills: 2

             Sig: Take 1 tablet (0.5 mg total) by mouth nightly for 90 days.

             Start Date: 01/08/20                End Date: 07/14/20 (ordered for 90 doses)
             Discontinued by: Atassi, Farah on 7/14/2020 13:38

             Written Date: 01/08/20                 Expiration Date: 07/06/20
             Providers
                Ordering Provider and Authorizing Provider:
                Lai, Eugene C., MD
                6560 FANNIN ST SUITE 802, HOUSTON TX
                77030
                Phone: 713-441-0239 Fax: 713-790-5044
                NPI: 1790871002

                Ordering User: Lai, Eugene C., MD


             Pharmacy
                Briargrove Pharmacy - Houston, TX - 6435 San Felipe
                6435 San Felipe, Houston TX 77057
                Phone: 713-783-5704 Fax: 713-783-5482


          Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.



   Outpatient Referral
      Ambulatory referral to Neurology [9125745] (Active)
       Awaiting signature from: HM HIM ADMINISTRATOR                                                                      Status: Active

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                                               HMH SCURLOCK                           Brockman, Robert T
                                               6560 Fannin                            MRN: 003768603, DOB:          941, Sex: M
                                               HOUSTON TX 77030                       Visit date: 1/8/2020
                  01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

      Mode: Ordering in Verbal with readback mode                    Communicated by: User, Transcribing Order
      This order may be acted on in another encounter.
      Ordering user: Garza, Maria 12/27/19 0850                      Ordering provider: Lai, Eugene C., MD
      Authorized by: Lai, Eugene C., MD                              Ordering mode: Verbal with readback
      Frequency: Routine 12/27/19 -                                  Class: Internal Referral
      Quantity: 1                                                    Instance released by: Choksi, Krupa 1/8/2020 1:01 PM
      Diagnoses
      Dementia associated with Parkinson's disease (HCC) [G20, F02.80]
        Questionnaire
          Question                                                             Answer
          Let me know if the patient declines service or is unable to be       No
          contacted?
          File referral to ordering clinic?                                    Keep

         Referral Details
            Referred By                                                          Referred To              Type             Priority
            Pool, James L., MD           Diagnoses: Dementia associated          Lai, Eugene C., MD       Consultation     Routine
            1977 Butler Blvd             with Parkinson's disease (HCC)          6560 FANNIN ST
            Suite E6.150                 Order: Ambulatory Referral To           SUITE 802
            HOUSTON TX 77030             Neurology                               HOUSTON TX 77030
            Phone: 713-798-0180          Reason: Specialty Services              Phone: 713-441-0239
            Fax: 713-798-0174            Required                                Fax: 713-790-5044
                                                                                 Specialty: Neurology
                 Question                                                        Answer
                 Let me know if the patient declines service or is unable to     No
                 be contacted?:
                 File referral to ordering clinic?:                              Keep

         Indications
            Dementia Associated With Parkinson's Disease (Hcc) [G20, F02.80 (ICD-10-CM)]

                                                                      Order Details

          Order Details
             Priority                                    Expected                                  Study Status
             Routine                                     12/27/2019 8:50 AM

          Order Details
             Frequency                        Duration                          Priority                    Order Class
             None                             None                              Routine                     Internal Referral

          Order History                                                                                                          Outpatient
             Date/Time           Action Taken              User                            Additional Information
             01/08/20 1301       Release                   Choksi, Krupa                   From Order: 9125744

          Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.




                            01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                       All Parent Orders


                                                         Medications - All Orders

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                                                HMH SCURLOCK                    Brockman, Robert T
                                                6560 Fannin                     MRN: 003768603, DOB:            1941, Sex: M
                                                HOUSTON TX 77030                Visit date: 1/8/2020
                                                Medications - All Orders (continued)
apixaban (ELIQUIS) 2.5 mg tablet [9125746] Patient-reported historical medication
Ordering date: 01/08/20 1311                                          Authorized by: Provider, Historical, MD
Ordering mode: Standard
Frequency: Routine 08/04/18 - 02/12/20                                Class: Historical Med
Discontinued by: Lai, Eugene C., MD 02/12/20 0904 [Reorder]

buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [9125747] Patient-reported historical medication
Ordering date: 01/08/20 1311                                          Authorized by: Provider, Historical, MD
Ordering mode: Standard
Frequency: Routine TID 10/09/19 - Until Discontinued                  Class: Historical Med
Admin instructions: 2 tablets every morning, 1 tablet every evening
Status
Francia, Loi S 06/01/21 1245 (Admin Instructions edited)

carbidopa-levodopa (SINEMET) 25-100 mg per tablet [9125748] Patient-reported historical medication
Ordering date: 01/08/20 1311                                          Authorized by: Provider, Historical, MD
Ordering mode: Standard
Frequency: Routine 10/09/19 - 03/12/20                                Class: Historical Med
Discontinued by: Lai, Eugene C., MD 03/12/20 1244

levothyroxine (SYNTHROID) 75 mcg tablet [9125749] Patient-reported historical medication
Ordering date: 01/08/20 1311                                          Authorized by: Provider, Historical, MD
Ordering mode: Standard
Frequency: Routine QAM 10/09/19 - Until Discontinued                  Class: Historical Med

rivastigmine (EXELON) 9.5 mg/24 hr [9125750] Patient-reported historical medication
Ordering date: 01/08/20 1311                                          Authorized by: Provider, Historical, MD
Ordering mode: Standard
Frequency: Routine 11/11/19 - 02/12/20                                Class: Historical Med
Discontinued by: Lai, Eugene C., MD 02/12/20 0904 [Reorder]

testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [9125751] Patient-reported historical medication
Ordering date: 01/08/20 1311                                          Authorized by: Provider, Historical, MD
Ordering mode: Standard
Frequency: Routine Daily - Until Discontinued                         Class: Historical Med

traZODone (DESYREL) 50 MG tablet [9125752] Patient-reported historical medication
Ordering date: 01/08/20 1311                                          Authorized by: Provider, Historical, MD
Ordering mode: Standard
Frequency: Routine Nightly 03/13/19 - Until Discontinued              Class: Historical Med

omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [320668807] Patient-reported historical medication
Ordering date: 01/08/20 1311                                          Authorized by: Provider, Historical, MD
Ordering mode: Standard
Frequency: Routine Daily - Until Discontinued                         Class: Historical Med

levomefolate calcium (L-METHYLFOLATE ORAL) [320668808] Patient-reported historical medication
Ordering date: 01/08/20 1314                                          Authorized by: Provider, Historical, MD
Ordering mode: Standard
Frequency: Routine Daily 10/01/19 - 06/01/21                          Class: Historical Med
Discontinued by: Francia, Loi S 06/01/21 1253

clonAZEPAM (KlonoPIN) 0.5 MG tablet [320668809]
Electronically signed by: Lai, Eugene C., MD on 01/08/20 1536                                                      Status: Discontinued
Ordering user: Lai, Eugene C., MD 01/08/20 1536                       Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                     Ordering mode: Standard
Frequency: Routine Nightly 01/08/20 - 90 days                         Class: Normal
Discontinued by: Atassi, Farah 07/14/20 1338


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                                                  HMH SCURLOCK                  Brockman, Robert T
                                                  6560 Fannin                   MRN: 003768603, DOB:             1941, Sex: M
                                                  HOUSTON TX 77030              Visit date: 1/8/2020

                    01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Vitals
                                                                                     Most recent update: 1/8/2020 1:14 PM by Riley, Lillian
   Vital Signs - Last Recorded                                                                                                     R, MA
         BP                    Pulse                  Ht                      Wt                                       BMI
         118/63 (BP            36                     5' 11.5"                85.7 kg (189 lb)                         25.99 kg/m²
         Location: Left
         arm, Patient
         Position:
         Standing)


Flowsheets
         Custom Formula Data
           Row Name            01/08/20 1312           01/08/20 1309
           Adult IBW/VT Calculations
            IBW/kg             —                       76.45
            (Calculated)                               -LR at 01/08/20 1309
            Low Range Vt       —                       458.7 mL/kg
            6mL/kg                                     -LR at 01/08/20 1309
            Adult Moderate     —                       611.6 mL/kg
            Range Vt 8mL/kg                            -LR at 01/08/20 1309
            Adult High Range —                         764.5 mL/kg
            Vt 10mL/kg                                 -LR at 01/08/20 1309
            IBW/kg             —                       168.54
            (Calculated) (lbs)                         -LR at 01/08/20 1309

           OTHER
            BMI (Calculated)    —                      26
                                                       -LR at 01/08/20 1309
           IBW/kg               —                      76.45 kg
           (Calculated) Male                           -LR at 01/08/20 1309
           IBW/kg               —                      71.95 kg
           (Calculated)                                -LR at 01/08/20 1309
           Female
           BMI                  —                      26
                                                       -LR at 01/08/20 1309
           Total Weight         —                      189
           Change                                      -LR at 01/08/20 1309
           Total Weight         —                      +189
           Change                                      -LR at 01/08/20 1309
           Weight Change        —                      189
           Since Last Visit                            -LR at 01/08/20 1309
           Weight Change        —                      +189
           Since Last Visit                            -LR at 01/08/20 1309
           Internal Initial     —                      0
           Weight -                                    -LR at 01/08/20 1309
           Reference Only
           Fluid Needs          —                      61980
                                                       -LR at 01/08/20 1309
           BSA (Calculated      —                      2.08 sq meters
           - sq m)                                     -LR at 01/08/20 1309
           MAP (Calculated)     81.33                  101
                               -LR at 01/08/20 1314    -LR at 01/08/20 1309
           Body Composition Analysis
            BMI               —                        26
                                                       -LR at 01/08/20 1309
           Dietitian Vitals
            BMI (Calculated)    —                      26
                                                       -LR at 01/08/20 1309
           IBW/kg               —                      76.45
                                                       -LR at 01/08/20 1309
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                                                  HMH SCURLOCK                 Brockman, Robert T
                                                  6560 Fannin                  MRN: 003768603, DOB:            941, Sex: M
                                                  HOUSTON TX 77030             Visit date: 1/8/2020
                    01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Flowsheets (continued)

         (Calculated)
         IBW/kg                —                       71.95 kg
         (Calculated)                                  -LR at 01/08/20 1309
         Female
         IBW/kg                —                       76.45
         (Calculated)                                  -LR at 01/08/20 1309
         Males
        Fluid Needs
         Total Fluid           —                       61980
         Estimated Needs                               -LR at 01/08/20 1309



      Data
         Row Name              01/08/20 1312           01/08/20 1309
         OTHER
          Change in SBP        -19                      137
                               -LR at 01/08/20 1314     -LR at 01/08/20 1309



      Encounter Vitals
         Row Name              01/08/20 1312           01/08/20 1309
         Enc Vitals
          BP                   118/63                   137/83
                               -LR at 01/08/20 1314     -LR at 01/08/20 1309
         Pulse                 (!) 36                   60
                               -LR at 01/08/20 1314     -LR at 01/08/20 1309
         Weight                —                        85.7 kg (189 lb)
                                                        -LR at 01/08/20 1309
         Height                —                        5' 11.5"
                                                        -LR at 01/08/20 1309
         Vital Signs
          BP Location          Left arm                 Left arm
                               -LR at 01/08/20 1314     -LR at 01/08/20 1309
         Patient Position      Standing                 Sitting
                               -LR at 01/08/20 1314     -LR at 01/08/20 1309



      Social Determinants
         Row Name              01/08/20 13:12:45       01/08/20 13:12:43
         Alcohol Use
          How often do you      Never Data migrated     Never Data migrated
          have a drink         from History            from History
                                -LR at 03/09/21 0050    -LR at 05/18/21 1428
          containing
          alcohol?


      Vital Signs
         Row Name              01/08/20 1401
         OTHER
          Stimulants           000
                               -DH at 01/08/20 1301
         Sedatives             000
                               -DH at 01/08/20 1301
         Narcotics             000
                               -DH at 01/08/20 1301

      User Key                                                                     (r) = Recorded By, (t) = Taken By, (c) = Cosigned By
         Initials       Name                                 Effective Dates       Provider Type             Discipline
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                                             HMH SCURLOCK                        Brockman, Robert T
                                             6560 Fannin                         MRN: 003768603, DOB:    1941, Sex: M
                                             HOUSTON TX 77030                    Visit date: 1/8/2020
                   01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Flowsheets (continued)

          DH           Hm Interface, Documentation    —                              —                   —
                       Incoming
          LR           Riley, Lillian R, MA           01/08/20 - 05/17/20            Medical Assistant   —



Patient Instructions


Start clonazepam 0.5 mg 1 tablet at bedtime for sleep.
Continue trazodone 50 mg at bedtime.
Continue present medications.
Keep physically and mentally active. Exercise regularly.




                           01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                     Patient Instuctions
Patient Instructions History
   Patient Instructions Revisions                                       Status      Date&Time            By User
   Start clonazepam 0.5 mg 1 tablet at bedtime for sleep. Continue      Addendum    01/08/2020 3:40 PM   LAI, EUGENE
   trazodone 50 mg at bedtime. Continue present medications. Keep
   physically and mentally active. Exercise regularly.
   Start clonazepam 0.5 mg 1 tablet at bedtime for sleep. Continue      Signed      01/08/2020 3:37 PM   LAI, EUGENE
   present medications. Keep physically and mentally active. Exercise
   regularly.




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                                         HMH SCURLOCK            Brockman, Robert T
                                         6560 Fannin             MRN: 003768603, DOB:     1941, Sex: M
                                         HOUSTON TX 77030        Visit date: 1/8/2020

                 01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary




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                                         HMH SCURLOCK            Brockman, Robert T
                                         6560 Fannin             MRN: 003768603, DOB:      941, Sex: M
                                         HOUSTON TX 77030        Visit date: 1/8/2020
                 01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary (continued)




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                                         HMH SCURLOCK            Brockman, Robert T
                                         6560 Fannin             MRN: 003768603, DOB:      941, Sex: M
                                         HOUSTON TX 77030        Visit date: 1/8/2020
                 01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary (continued)




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                                         HMH SCURLOCK              Brockman, Robert T
                                         6560 Fannin               MRN: 003768603, DOB:        941, Sex: M
                                         HOUSTON TX 77030          Visit date: 1/8/2020
                 01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary (continued)




                         01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                  Diagnosis Summary

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                                                 HMH SCURLOCK                      Brockman, Robert T
                                                 6560 Fannin                       MRN: 003768603, DOB:             1941, Sex: M
                                                 HOUSTON TX 77030                  Visit date: 1/8/2020
                              01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                Diagnosis Summary (continued)
Visit Information
   Date & Time                          Provider                          Department                         Encounter #
   1/8/2020 1:00 PM                     Lai, Eugene C., MD                HMNI Stanley H Appel Dept of       2100073097942
                                                                          Neurology

Coding Summary for this Encounter
   Code              Description                                            Service Date         Service Provider                   Qty
   99205             PR OFFICE OUTPATIENT NEW 60 MINUTES                    1/8/2020             Lai, Eugene C., MD                 1
                      Dx: Parkinson's disease [G20], Dementia in other diseases classified elsewhere without behavioral disturbance [F02.80]

                      01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Referral
   Consultation #5045958 [last edited by Referral, End Of Day on 12/28/2020 0529]
    Reason: Specialty Services Required                                   Priority: Routine
    Class: Incoming                                                       Status: Closed - Expired-Auto Closed
    Status updated on: 12/28/2020                                         Valid dates: From 12/27/2019 to 12/27/2020
       Referred From
           Provider: Pool, James L., MD                                 Provider phone: 713-798-0180
           Provider address: 1977 Butler Blvd Suite E6.150 HOUSTON TX 77030

       Referred To
           Specialty: Neurology                                               Provider: Lai, Eugene C., MD
           Provider phone: 713-441-0239                                       Provider address: 6560 FANNIN ST SUITE 802 HOUSTON TX
                                                                              77030

       Visits
           Requested: 1                       Authorized: 1                   Completed: 0                     Scheduled: 1

       Procedures
           Ambulatory referral to Neurology
               Provider: Lai, Eugene C., MD                                  Number requested: 1
               Number approved: 1


       Diagnoses
           ·    332.0, 294.10 (ICD-9-CM) - G20, F02.80 (ICD-10-CM) - Dementia associated with Parkinson's disease (HCC)


       Order
               Ambulatory referral to Neurology [9125744]
               Awaiting signature from: HM HIM ADMINISTRATOR                                                              Status: Active
               Mode: Ordering in Verbal with readback mode                  Communicated by: User, Transcribing Order
               Ordering user: Garza, Maria 12/27/19 0850                    Ordering provider: Lai, Eugene C., MD
               Authorized by: Lai, Eugene C., MD                            Ordered during: Transcribe Orders on 12/27/2019
               Diagnoses
               Dementia associated with Parkinson's disease (HCC) [G20, F02.80]


       Triage
           Triage Information
                Decision: None                                                 Schedule by date: 1/26/2020


       Coverages


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                                         HMH SCURLOCK             Brockman, Robert T
                                         6560 Fannin              MRN: 003768603, DOB:      941, Sex: M
                                         HOUSTON TX 77030         Visit date: 1/8/2020
                  01/08/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Referral (continued)

        Cigna
           Plan: Cigna Open         Covered: Covered         From: 1/1/2008          Member #: U3212210001
           Access/Network




                                               End of Report




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Gov. Ex. 157
                                               HMH SCURLOCK                        Brockman, Robert T
                                               6560 Fannin                         MRN: 003768603, DOB:            941, Sex: M
                                               HOUSTON TX 77030                    Visit date: 2/12/2020

                            02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Provider Information
       Encounter Provider
       Atassi, Farah

   Department
       Name                                     Address                                Phone                      Fax
       HMNI Stanley H Appel Dept of             6560 Fannin Street Suite 802           713-441-3780               713-790-5079
       Neurology                                Houston TX 77030-2725



Research Study Linked to Orders Only on 2/12/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 2/12/2020
      Problems last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
        Diagnosis: Dementia associated with         Noted on: 01/08/2020                      Chronic: No
        Parkinson's disease (HCC)

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
        Diagnosis: Parkinson's disease (HCC)        Noted on: 01/08/2020                      Chronic: No


   Allergies as of 2/12/2020
      Allergies last reviewed by Lai, Eugene C., MD on 2/12/2020 0907
      No Known Allergies


   History as of 2/12/2020
       Medical History as of 2/12/2020
                Medical last reviewed by Lai, Eugene C., MD on 2/12/2020
                None


       Surgical History as of 2/12/2020
                Surgical last reviewed by Lai, Eugene C., MD on 2/12/2020                                           GOVERNMENT
                None                                                                                                  EXHIBIT

                                                                                                                   4:21-CR-009-GCH
                                                                                                                        No. 157
       Family History as of 2/12/2020
           Family History as of 2/12/2020



       Substance & Sexuality History as of 2/12/2020
           Tobacco Use as of 2/12/2020
                      Tobacco Use last reviewed by Lai, Eugene C., MD on 2/12/2020

              Smoking Status                        Smoking Start Date         Smoking Quit Date      Packs/Day         Years Used
              Never Smoker                          —                          —                      —                 —
              Types                                 Comments                   Smokeless Tobacco      Smokeless         Source

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                                                HMH SCURLOCK                         Brockman, Robert T
                                                6560 Fannin                          MRN: 003768603, DOB:           1941, Sex: M
                                                HOUSTON TX 77030                     Visit date: 2/12/2020
                   02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

                                                                            Status                   Tobacco Quit
                                                                                                     Date
            —                                       —                       Never Used               —                 Provider


          Alcohol Use as of 2/12/2020
                  Alcohol Use last reviewed by Riley, Lillian R, MA on 2/12/2020

              Alcohol Use                   Drinks/Week                 Alcohol/Week               Comments                  Source
              Never                                                     —                          —                         Provider


          Drug Use as of 2/12/2020
                  Drug Use last reviewed by Riley, Lillian R, MA on 2/12/2020

              Drug Use                      Types                       Frequency                  Comments                  Source
              Never                         —                           —                          —                         Provider


          Sexual Activity as of 2/12/2020
                  Sexual Activity last reviewed by Riley, Lillian R, MA on 2/12/2020

              Sexually Active               Birth Control               Partners                   Comments                  Source
              Defer                         —                           —                          —                         Provider



       Socioeconomic History as of 2/12/2020
           Occupational as of 2/12/2020
                   Occupational last reviewed by Riley, Lillian R, MA on 2/12/2020
                   None



           Socioeconomic as of 2/12/2020
                   Socioeconomic last reviewed by Riley, Lillian R, MA on 2/12/2020

                Marital      Spouse         Number of       Years       Education      Preferred
                Status       Name           Children        Education   Level          Language    Ethnicity     Race        Source
                Married      —              —               —           —              English     Not           Caucasian   —
                                                                                                   Hispanic or
                                                                                                   Latino



       Social Documentation History as of 2/12/2020
                Social Documentation last reviewed by Riley, Lillian R, MA on 2/12/2020
                None




Medication List
   Medication List
      This report is for documentation purposes only. The patient should not follow medication instructions within.
      For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.


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                                                HMH SCURLOCK                           Brockman, Robert T
                                                6560 Fannin                            MRN: 003768603, DOB:        1941, Sex: M
                                                HOUSTON TX 77030                       Visit date: 2/12/2020
                  02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

       Active at the End of Visit
         Medications last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

          buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Start date: 10/9/2019                                            Informant: Family Member

          carbidopa-levodopa (SINEMET) 25-100 mg per tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
           Entered by: Riley, Lillian R, MA                      Entered on: 1/8/2020
           Start date: 10/9/2019                                 End date: 3/12/2020

          levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 75 mcg by mouth every morning.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Start date: 10/9/2019                                                Informant: Family Member

          testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
          1/8/2020 1311]
           Instructions: Place 1 Squirt on the skin daily.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Informant: Family Member

          traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 50 mg by mouth nightly.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Start date: 3/13/2019                                                Informant: Family Member

          omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 1 capsule by mouth daily.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Informant: Family Member

          levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
           Instructions: Take 1 tablet by mouth daily.
           Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
           Start date: 10/1/2019                                                End date: 6/1/2021
           Informant: Family Member

          clonAZEPAM (KlonoPIN) 0.5 MG tablet
           Instructions: Take 1 tablet (0.5 mg total) by mouth nightly for 90 days.
           Authorized by: Lai, Eugene C., MD                                   Ordered on: 1/8/2020
           Start date: 1/8/2020                                                End date: 7/14/2020
           Quantity: 30 tablet                                                 Refill: 2 refills by 7/6/2020

          apixaban (ELIQUIS) 2.5 mg tablet
           Instructions: Take 1 tablet (2.5 mg total) by mouth 2 (two) times a day.
           Authorized by: Lai, Eugene C., MD                                  Ordered on: 2/12/2020
           Start date: 2/12/2020                                              End date: 7/14/2020
           Quantity: 180 tablet                                               Refill: 3 refills by 2/11/2021

          rivastigmine (EXELON) 9.5 mg/24 hr
           Instructions: Place 1 patch on the skin daily.
           Authorized by: Lai, Eugene C., MD                                    Ordered on: 2/12/2020
           Start date: 2/12/2020                                                End date: 6/12/2020
           Quantity: 90 patch                                                   Refill: 3 refills by 2/11/2021

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                                               HMH SCURLOCK                           Brockman, Robert T
                                               6560 Fannin                            MRN: 003768603, DOB:          1941, Sex: M
                                               HOUSTON TX 77030                       Visit date: 2/12/2020
                   02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)



       Stopped in Visit
         None




                   02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders
   Outpatient Referral
       Ambulatory referral to Occupational Therapy [320668816] (Active)
       Electronically signed by: Lai, Eugene C., MD on 02/12/20 1659                                                        Status: Active
       Mode: Ordering in Verbal with readback mode                          Communicated by: Atassi, Farah
       Ordering user: Atassi, Farah 02/12/20 1406                           Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                                    Ordering mode: Verbal with readback
       Frequency: Routine 02/12/20 -                                        Class: Outgoing Referral
       Quantity: 1
       Diagnoses
       Parkinson's disease (HCC) [G20]
          Questionnaire
           Question                                                          Answer
           Let me know if the patient declines service or is unable to be    No
           contacted?

       Order comments: LSVT BIG and LOUD occupational therapy 3 times a week for 8 weeks
         Referral Details
               Referred By                                                      Referred To                Type            Priority
               Lai, Eugene C., MD         Diagnoses: Parkinson's disease        TIRR Memorial              Occupational    Routine
               6560 FANNIN ST             (HCC)                                 Hermann Memorial           Therapy
               SUITE 802                  Order: Ambulatory Referral To         City OP Rehab POS
               HOUSTON TX 77030           Occupational Therapy                  929B N Gessner Rd 108
               Phone: 713-441-0239        Reason: Specialty Services            Houston TX 77024-2659
               Fax: 713-790-5044          Required                              Phone: 713-797-5942
                                                                                Specialty: Occupational
                                                                                Therapy
                    Comment: LSVT BIG and LOUD occupational therapy 3 times a week for 8 weeks
                    Question                                                    Answer
                    Let me know if the patient declines service or is unable to No
                    be contacted?:

          Indications
               Parkinson's disease (HCC) [G20 (ICD-10-CM)]

                                                                      Order Details

          Order Details
               Priority                                  Expected                                 Study Status
               Routine                                   2/12/2020

          Order Details
               Frequency                      Duration                        Priority                       Order Class
               None                           None                            Routine                        Outgoing Referral

          Order History                                                                                                          Outpatient

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                                              HMH SCURLOCK                           Brockman, Robert T
                                              6560 Fannin                            MRN: 003768603, DOB:           1941, Sex: M
                                              HOUSTON TX 77030                       Visit date: 2/12/2020
                 02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

           Date/Time          Action Taken               User                             Additional Information
           02/12/20 1406      Sign                       Atassi, Farah                    Ordering Mode: Verbal with readback
           02/12/20 1659      Verbal Cosign              Lai, Eugene C., MD

         Pharmacist Clinical Review History
            This prescription has not been clinically reviewed.


      Ambulatory referral to Physical Therapy [320668815] (Active)
       Electronically signed by: Lai, Eugene C., MD on 02/12/20 1659                                                            Status: Active
       Mode: Ordering in Verbal with readback mode                         Communicated by: Atassi, Farah
       Ordering user: Atassi, Farah 02/12/20 1406                          Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                                   Ordering mode: Verbal with readback
       Frequency: Routine 02/12/20 -                                       Class: Outgoing Referral
       Quantity: 1
       Diagnoses
       Parkinson's disease (HCC) [G20]
          Questionnaire
          Question                                                            Answer
          Services Requested                                                  Evaluate and Treat
          Let me know if the patient declines service or is unable to be      No
          contacted?

       Order comments: LSVT BIG and LOUD physical therapy 3 times a week for 8 weeks
         Referral Details
             Referred By                                                      Referred To                   Type            Priority
             Lai, Eugene C., MD          Diagnoses: Parkinson's disease       TIRR Memorial                 Physical        Routine
             6560 FANNIN ST              (HCC)                                Hermann Memorial              Therapy
             SUITE 802                   Order: Ambulatory Referral To        City OP Rehab POS
             HOUSTON TX 77030            Physical Therapy                     929B N Gessner Rd 108
             Phone: 713-441-0239         Reason: Specialty Services           Houston TX 77024-2659
             Fax: 713-790-5044           Required                             Phone: 713-797-5942
                                                                              Specialty: Physical
                                                                              Therapy
                  Comment: LSVT BIG and LOUD physical therapy 3 times a week for 8 weeks
                  Question                                                    Answer
                  Services Requested:                                         Evaluate and Treat
                  Let me know if the patient declines service or is unable to No
                  be contacted?:

          Indications
             Parkinson's disease (HCC) [G20 (ICD-10-CM)]

                                                                     Order Details

          Order Details
             Priority                                    Expected                                  Study Status
             Routine                                     2/12/2020

          Order Details
             Frequency                        Duration                         Priority                      Order Class
             None                             None                             Routine                       Outgoing Referral

          Order History                                                                                                            Outpatient
             Date/Time          Action Taken              User                             Additional Information
             02/12/20 1406      Sign                      Atassi, Farah                    Ordering Mode: Verbal with readback
             02/12/20 1659      Verbal Cosign             Lai, Eugene C., MD

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                                              HMH SCURLOCK                           Brockman, Robert T
                                              6560 Fannin                            MRN: 003768603, DOB:          1941, Sex: M
                                              HOUSTON TX 77030                       Visit date: 2/12/2020
                 02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)


         Pharmacist Clinical Review History
            This prescription has not been clinically reviewed.


      Ambulatory referral to Speech Therapy [320668817] (Active)
       Electronically signed by: Lai, Eugene C., MD on 02/12/20 1659                                                       Status: Active
       Mode: Ordering in Verbal with readback mode                         Communicated by: Atassi, Farah
       Ordering user: Atassi, Farah 02/12/20 1406                          Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                                   Ordering mode: Verbal with readback
       Frequency: Routine 02/12/20 -                                       Class: Outgoing Referral
       Quantity: 1
       Diagnoses
       Parkinson's disease (HCC) [G20]
          Questionnaire
          Question                                                          Answer
          Let me know if the patient declines service or is unable to be    No
          contacted?

       Order comments: LSVT BIG and LOUD physical therapy 3 times a week for 8 weeks
         Referral Details
             Referred By                                                      Referred To                 Type            Priority
             Lai, Eugene C., MD          Diagnoses: Parkinson's disease       TIRR Memorial               Speech          Routine
             6560 FANNIN ST              (HCC)                                Hermann Memorial            Pathology
             SUITE 802                   Order: Ambulatory Referral To        City OP Rehab POS
             HOUSTON TX 77030            Speech Therapy                       929B N Gessner Rd 108
             Phone: 713-441-0239         Reason: Specialty Services           Houston TX 77024-2659
             Fax: 713-790-5044           Required                             Phone: 713-797-5942
                                                                              Specialty: Speech
                                                                              Pathology
                  Comment: LSVT BIG and LOUD physical therapy 3 times a week for 8 weeks
                  Question                                                    Answer
                  Let me know if the patient declines service or is unable to No
                  be contacted?:

          Indications
             Parkinson's disease (HCC) [G20 (ICD-10-CM)]

                                                                     Order Details

          Order Details
             Priority                                   Expected                                 Study Status
             Routine                                    2/12/2020

          Order Details
             Frequency                       Duration                        Priority                       Order Class
             None                            None                            Routine                        Outgoing Referral

          Order History                                                                                                         Outpatient
             Date/Time          Action Taken              User                            Additional Information
             02/12/20 1406      Sign                      Atassi, Farah                   Ordering Mode: Verbal with readback
             02/12/20 1659      Verbal Cosign             Lai, Eugene C., MD

          Pharmacist Clinical Review History
             This prescription has not been clinically reviewed.



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                                               HMH SCURLOCK                    Brockman, Robert T
                                               6560 Fannin                     MRN: 003768603, DOB:          1941, Sex: M
                                               HOUSTON TX 77030                Visit date: 2/12/2020
                  02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)




                           02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology
                                                     All Parent Orders


                                                    Outpatient Referral - All Orders
Ambulatory referral to Physical Therapy [320668815]
Electronically signed by: Lai, Eugene C., MD on 02/12/20 1659                                                         Status: Active
Mode: Ordering in Verbal with readback mode                          Communicated by: Atassi, Farah
Ordering user: Atassi, Farah 02/12/20 1406                           Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                    Ordering mode: Verbal with readback
Frequency: Routine 02/12/20 -                                        Class: Outgoing Referral
Quantity: 1
Diagnoses
Parkinson's disease (HCC) [G20]
   Questionnaire
    Question                                                          Answer
    Services Requested                                                Evaluate and Treat
    Let me know if the patient declines service or is unable to be    No
    contacted?

Order comments: LSVT BIG and LOUD physical therapy 3 times a week for 8 weeks

Ambulatory referral to Occupational Therapy [320668816]
Electronically signed by: Lai, Eugene C., MD on 02/12/20 1659                                                         Status: Active
Mode: Ordering in Verbal with readback mode                          Communicated by: Atassi, Farah
Ordering user: Atassi, Farah 02/12/20 1406                           Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                    Ordering mode: Verbal with readback
Frequency: Routine 02/12/20 -                                        Class: Outgoing Referral
Quantity: 1
Diagnoses
Parkinson's disease (HCC) [G20]
   Questionnaire
    Question                                                          Answer
    Let me know if the patient declines service or is unable to be    No
    contacted?

Order comments: LSVT BIG and LOUD occupational therapy 3 times a week for 8 weeks

Ambulatory referral to Speech Therapy [320668817]
Electronically signed by: Lai, Eugene C., MD on 02/12/20 1659                                                         Status: Active
Mode: Ordering in Verbal with readback mode                          Communicated by: Atassi, Farah
Ordering user: Atassi, Farah 02/12/20 1406                           Ordering provider: Lai, Eugene C., MD
Authorized by: Lai, Eugene C., MD                                    Ordering mode: Verbal with readback
Frequency: Routine 02/12/20 -                                        Class: Outgoing Referral
Quantity: 1
Diagnoses
Parkinson's disease (HCC) [G20]
   Questionnaire
    Question                                                          Answer
    Let me know if the patient declines service or is unable to be    No
    contacted?

Order comments: LSVT BIG and LOUD physical therapy 3 times a week for 8 weeks



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                                         HMH SCURLOCK               Brockman, Robert T
                                         6560 Fannin                MRN: 003768603, DOB:        1941, Sex: M
                                         HOUSTON TX 77030           Visit date: 2/12/2020

                       02/12/2020 - Orders Only in HMNI Stanley H Appel Dept of Neurology
                                               Diagnosis Summary
Visit Information
   Date & Time                  Provider                    Department                     Encounter #
   2/12/2020 1:39 PM            Atassi, Farah               HMNI Stanley H Appel Dept of   2100074995304
                                                            Neurology




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                                                 HMH SCURLOCK                     Brockman, Robert T
                                                 6560 Fannin                      MRN: 003768603, DOB:        1941, Sex: M
                                                 HOUSTON TX 77030                 Visit date: 2/12/2020

                             02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Provider Information
       Encounter Provider                            Authorizing Provider                     Referring Provider
       Lai, Eugene C., MD                            Lai, Eugene C., MD                       Pool, James L., MD

   Department
       Name                                      Address                               Phone                  Fax
       HMNI Stanley H Appel Dept of              6560 Fannin Street Suite 802          713-441-3780           713-790-5079
       Neurology                                 Houston TX 77030-2725

   Follow-up and Dispositions
      ·    Return in about 2 months (around 4/12/2020) for Next scheduled follow up.


   Level of Service
       Level of Service
       PR OFFICE OUTPATIENT VISIT 25 MINUTES



Research Study Linked to Office Visit on 2/12/2020
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 2/12/2020
      Problems last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
          Diagnosis: Dementia associated with        Noted on: 01/08/2020                     Chronic: No
          Parkinson's disease (HCC)

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
          Diagnosis: Parkinson's disease (HCC)       Noted on: 01/08/2020                     Chronic: No


   Allergies as of 2/12/2020
      Allergies last reviewed by Lai, Eugene C., MD on 2/12/2020 0907
      No Known Allergies


   History as of 2/12/2020
       Medical History as of 2/12/2020
                 Medical last reviewed by Lai, Eugene C., MD on 2/12/2020
                 None


       Surgical History as of 2/12/2020
                 Surgical last reviewed by Lai, Eugene C., MD on 2/12/2020
                 None


       Family History as of 2/12/2020
            Family History as of 2/12/2020




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                                                HMH SCURLOCK                         Brockman, Robert T
                                                6560 Fannin                          MRN: 003768603, DOB:          1941, Sex: M
                                                HOUSTON TX 77030                     Visit date: 2/12/2020
                   02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)


       Substance & Sexuality History as of 2/12/2020
           Tobacco Use as of 2/12/2020
                   Tobacco Use last reviewed by Lai, Eugene C., MD on 2/12/2020

               Smoking Status                         Smoking Start Date       Smoking Quit Date        Packs/Day        Years Used
               Never Smoker                           —                        —                        —                —
                                                                                                        Smokeless
                                                                               Smokeless Tobacco        Tobacco Quit
               Types                                  Comments                 Status                   Date             Source
               —                                      —                        Never Used               —                Provider


           Alcohol Use as of 2/12/2020
                   Alcohol Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Alcohol Use                   Drinks/Week                 Alcohol/Week              Comments                  Source
               Never                                                     —                         —                         Provider


           Drug Use as of 2/12/2020
                   Drug Use last reviewed by Riley, Lillian R, MA on 2/12/2020

               Drug Use                      Types                       Frequency                 Comments                  Source
               Never                         —                           —                         —                         Provider


           Sexual Activity as of 2/12/2020
                   Sexual Activity last reviewed by Riley, Lillian R, MA on 2/12/2020

               Sexually Active               Birth Control               Partners                  Comments                  Source
               Defer                         —                           —                         —                         Provider



       Socioeconomic History as of 2/12/2020
           Occupational as of 2/12/2020
                   Occupational last reviewed by Riley, Lillian R, MA on 2/12/2020
                   None



           Socioeconomic as of 2/12/2020
                   Socioeconomic last reviewed by Riley, Lillian R, MA on 2/12/2020

               Marital       Spouse          Number of       Years       Education    Preferred
               Status        Name            Children        Education   Level        Language     Ethnicity     Race        Source
               Married       —               —               —           —            English      Not           Caucasian   —
                                                                                                   Hispanic or
                                                                                                   Latino



       Social Documentation History as of 2/12/2020
               Social Documentation last reviewed by Riley, Lillian R, MA on 2/12/2020
               None

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          Ex. 157, p. 10 of 24
                                                 HMH SCURLOCK                           Brockman, Robert T
                                                 6560 Fannin                            MRN: 003768603, DOB:            941, Sex: M
                                                 HOUSTON TX 77030                       Visit date: 2/12/2020
                    02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)




Medication List
   Medication List
      This report is for documentation purposes only. The patient should not follow medication instructions within.
      For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.

       Active at the End of Visit
         Medications last reviewed by Lai, Eugene C., MD on 2/12/2020 0907

           buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
            Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
            Start date: 10/9/2019                                            Informant: Family Member

           carbidopa-levodopa (SINEMET) 25-100 mg per tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
            Entered by: Riley, Lillian R, MA                      Entered on: 1/8/2020
            Start date: 10/9/2019                                 End date: 3/12/2020

           levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 75 mcg by mouth every morning.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Start date: 10/9/2019                                                Informant: Family Member

           testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
           1/8/2020 1311]
            Instructions: Place 1 Squirt on the skin daily.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Informant: Family Member

           traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 50 mg by mouth nightly.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Start date: 3/13/2019                                                Informant: Family Member

           omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
            Instructions: Take 1 capsule by mouth daily.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Informant: Family Member

           levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
            Instructions: Take 1 tablet by mouth daily.
            Entered by: Riley, Lillian R, MA                                     Entered on: 1/8/2020
            Start date: 10/1/2019                                                End date: 6/1/2021
            Informant: Family Member

           clonAZEPAM (KlonoPIN) 0.5 MG tablet
            Instructions: Take 1 tablet (0.5 mg total) by mouth nightly for 90 days.
            Authorized by: Lai, Eugene C., MD                                   Ordered on: 1/8/2020
            Start date: 1/8/2020                                                End date: 7/14/2020
            Quantity: 30 tablet                                                 Refill: 2 refills by 7/6/2020

           apixaban (ELIQUIS) 2.5 mg tablet
            Instructions: Take 1 tablet (2.5 mg total) by mouth 2 (two) times a day.
            Authorized by: Lai, Eugene C., MD                                  Ordered on: 2/12/2020
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          Ex. 157, p. 11 of 24
                                                HMH SCURLOCK                           Brockman, Robert T
                                                6560 Fannin                            MRN: 003768603, DOB:             1941, Sex: M
                                                HOUSTON TX 77030                       Visit date: 2/12/2020
                   02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

         Start date: 2/12/2020                                                End date: 7/14/2020
         Quantity: 180 tablet                                                 Refill: 3 refills by 2/11/2021

         rivastigmine (EXELON) 9.5 mg/24 hr
          Instructions: Place 1 patch on the skin daily.
          Authorized by: Lai, Eugene C., MD                                    Ordered on: 2/12/2020
          Start date: 2/12/2020                                                End date: 6/12/2020
          Quantity: 90 patch                                                   Refill: 3 refills by 2/11/2021


       Stopped in Visit
         None




Progress Notes
   Progress Notes
       Lai, Eugene C., MD at 2/12/2020 0800
          Author: Lai, Eugene C., MD                       Service: —                                   Author Type: Physician
          Filed: 2/21/2020 8:42 PM                         Encounter Date: 2/12/2020                    Creation Time: 2/12/2020 8:16 AM
          Status: Signed                                   Editor: Lai, Eugene C., MD (Physician)

NEUROLOGY FOLLOW-UP CLINIC VISIT
78-year-old ambidextrous man with a history of Parkinson's disease, mild cognitive impairment, REM sleep behavior
disorder, ocular migraine, hyperlipidemia, hypothyroidism, atrial fibrillation, bladder cancer, Glaucoma, melanoma,
basal cell skin cancer, and depression.

He comes with his wife, Dorothy, for follow-up of his Parkinson's disease. Last visit was on 1/8/2020. He reports
physically stable. Sleep is better with trazodone and clonazepam. Appetite is good. Basic activities of daily living are
independent. Gait and balance are mildly unsteady. He has no recent fall. Moods are stressed and depressed. He is
still working full time as CEO of his software company. His wife needs to help him in the office these days. Memory is
impaired but stable. He exercises regularly 3X/week in the Houstonian.

There is no new neurological complaint. His slowness and stiffness are under adequate control with
carbidopa/levodopa 25/100 2 tablets 3X/day. He denies recent headache, dizziness, pain, weakness, confusion,
dysarthria, dysphagia.

MEDICATIONS:                               Sig
• apixaban (ELIQUIS) 2.5 mg                TAKE 1 TABLET TWICE DAILY
  tablet
• buPROPion SR (WELLBUTRIN                 Take two tablets every morning and one every
  SR) 100 MG 12 hr tablet                  evening to control depression
• carbidopa-levodopa                       TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
  (SINEMET) 25-100 mg per
  tablet
• clonAZEPAM (KlonoPIN) 0.5                Take 1 tablet (0.5 mg total) by mouth nightly.
  MG tablet
• levomefolate calcium (L-                 Take one tablet by mouth daily to lower homocysteine
  METHYLFOLATE ORAL)
• levothyroxine (SYNTHROID) 75             Take one tablet every morning for hypothyroidism
  mcg tablet
Generated by 1043159 at 6/2/21 3:28 PM                                                                                                     Page 95

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                                         HMH SCURLOCK                    Brockman, Robert T
                                         6560 Fannin                     MRN: 003768603, DOB:         941, Sex: M
                                         HOUSTON TX 77030                Visit date: 2/12/2020
                 02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

 • omega 3-dha-epa-fish oil (FISH    Take by mouth.
   OIL) 100-160-1,000 mg capsule
 • rivastigmine (EXELON) 9.5         Place 9.5 mg onto the skin daily.
   mg/24 hr
 • testosterone (ANDROGEL)           Place on the skin.
   20.25 mg/1.25 gram (1.62 %)
   gel in metered-dose pump
 • traZODone (DESYREL) 50 MG         Take 50 mg by mouth.
   tablet

REVIEW OF SYSTEMS:
Constitutional: Negative for easy fatigue, lack of energy. Weight gain of about 4 lbs. since last visit.
Eyes: Positive for visual disturbance due to glaucoma.
ENT: Positive for hearing loss. No nose bleed, sore throat.
Respiratory: Negative for cough and shortness of breath.
Cardiovascular: Negative for chest pain, palpitation, leg swelling.
Gastrointestinal: Positive for mild constipation. No diarrhea, abdominal pain.
Genitourinary: Positive for nocturia, frequency, urgency. No dysuria.
Musculoskeletal: Negative for joint pain, joint swelling, muscle pain.
Skin: Negative for rash, lesion.
Hematological: Negative for bruising, bleeding, adenopathy.
Allergy/Immunology: Negative for allergy symptoms.
Psychiatric/Behavioral: Positive for anxiety, depression, insomnia. No agitation.
Neurological: See above.

FAMILY/SOCIAL HISTORY: Lives with wife. No cigarettes and rare alcohol.

EXAMINATION:
Vitals:
                 02/12/20 0817                                  02/12/20 0820
BP:              132/67                                         129/80
BP Location:     Left arm                                       Left arm
Patient          Sitting                                        Standing
Position:
Pulse:           78                                             75
Weight:          87.5 kg (193 lb)
Height:          6' 0.5"

General: Well developed and well nourished elderly man in no acute distress. He is subdued but pleasant and
cooperative.
Physical: Head and face are normal. No pain or tenderness to palpation. No edema or rash. Mild hypomimia and
hypophonia.
Neurological:
MS: He is alert and attentive. O x person, place, and time. He follows complex verbal commands. Memory is 5/5
immediate -> 0/5 delayed. Comprehension and expression are slower. Insight and judgment are mildly impaired.
MoCA score (1/8/2020) = 20/30.
CN: II-XII symmetrical and adequate except bilateral hearing loss. EOM full and tongue is midline.
Motor: Strength is 5/5 and symmetrical except bilateral hip flexors, 5-/5. No tremor and mild rigidity in limbs.
Sensory: Decreased to vibration in both feet.
Coordination: F->N->F without dysmetria. Rapid alternating movements are slower bilaterally.
Gait: He arises from sitting without assistance. He walks with a slightly wide-based gait. Decreased arm swings and
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         Ex. 157, p. 13 of 24
                                         HMH SCURLOCK                 Brockman, Robert T
                                         6560 Fannin                  MRN: 003768603, DOB:         1941, Sex: M
                                         HOUSTON TX 77030             Visit date: 2/12/2020
                 02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

hesitant in turning without assistance. He can perform heel, toe walking but not tandem walking.

     VISIT DIAGNOSES:                              ICD-10-CM
1.   Parkinson's disease (HCC)                     G20
2.   Mild cognitive impairment                     G31.84
3.   Mixed anxiety depressive disorder             F41.8
4.   Idiopathic peripheral neuropathy              G60.9

IMPRESSION:
Significant for: Clinical findings are consistent with Parkinson's disease with mild cognitive impairment.
He is under a lot of stress trying to still run his company by himself, and his wife is also stressed out.
He has signs of mild cognitive impairment and peripheral neuropathy with gait imbalance.
Neurological and cognitive examinations are without notable change from last visit.
Physical examination is stable.

PLANS:
Patient's neurologic condition is discussed with him and his wife.
He agrees to reduce his company responsibilities and work hours to decrease his stress.
He will benefit from physical and occupational therapies at TIRR Memorial city. Prescription will be sent.
Continue carbidopa/levodopa 25/100 2 tablets 3X/day for Parkinson symptoms.
Continue rivastigmine patch 9.5/24h for cognitive stabilization.
Continue trazodone 50 mg and clonazepam 0.5 mg at bedtime for sleep and RBD.
Continue bupropion 100 mg 2 tablets in the morning and 1 tablet at bedtime for mood stabilization.
Continue other present medications.
Keep physically and mentally active. Exercise regularly.
Return to clinic in 2 months.

Total Clinic Visit Time: 30 minutes.

PATIENT EDUCATION:
[ x ] Patient  [ x ] Significant other(s)
Topic:
Disease specific issues [ x ]
Medications [ x ]
Medication Side effects [ x ]
Tests [ x ]
Treatment/follow-up plans [ x ]
Consults [ ]
Surgical plan [ ]
Teaching Method:        Discussion [ x ]      Handouts [ ]
Patient/family Response:        Verbalize understanding and agree(s) with treatment plans [ x ]

Today I spent 20 minutes of visit time on counseling and patient education.




Eugene C. Lai, M.D., Ph.D.
Robert W. Hervey Distinguished Endowed Chair in Parkinson's Disease
Professor of Neurology and Neuroscience
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                                                HMH SCURLOCK                          Brockman, Robert T
                                                6560 Fannin                           MRN: 003768603, DOB:             1941, Sex: M
                                                HOUSTON TX 77030                      Visit date: 2/12/2020
                    02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

Director, Neurodegenerative Disease Clinic

Stanley H. Appel Department of Neurology
Houston Methodist Neurological Institute &
Weill Cornell Medical School
6560 Fannin, Suite 802
Houston, Texas 77030
TEL. 713-441-0239
FAX. 713-790-5044


        Electronically signed by Lai, Eugene C., MD at 2/21/2020 8:42 PM




                    02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders
   Medications
      apixaban (ELIQUIS) 2.5 mg tablet [320668813] (Discontinued)
       Electronically signed by: Lai, Eugene C., MD on 02/12/20 0904                                                    Status: Discontinued
       Ordering user: Lai, Eugene C., MD 02/12/20 0904                 Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                               Ordering mode: Standard
       Frequency: Routine BID 02/12/20 - 365 days                      Class: Normal
       Discontinued by: Atassi, Farah 07/14/20 1338
       Reordered from: apixaban (ELIQUIS) 2.5 mg tablet
                                                                  Order Details

         Order Details
               Priority                                   Expected                                 Study Status
               Routine                                    2/12/2020 9:00 PM

         Order Details
               Frequency                       Duration                          Priority                    Order Class
               2 times daily                   365 days                          Routine                     Normal

         Order History                                                                                                            Outpatient
               Date/Time          Action Taken              User                            Additional Information
               02/12/20 0904      Sign                      Lai, Eugene C., MD              Reorder from Order: 9125746
               02/12/20 0904      Taking Flag Checked       Lai, Eugene C., MD
               07/14/20 1210      Reorder                   Atassi, Farah                   To Order: 335306862
               07/14/20 1338      Discontinue               Atassi, Farah

         apixaban (ELIQUIS) 2.5 mg tablet [320668813] DISCONTINUED
               Dose: 2.5 mg                           Route: oral                           Frequency: 2 times daily
               Dispense Quantity: 180 tablet          Refills: 3

               Sig: Take 1 tablet (2.5 mg total) by mouth 2 (two) times a day.

               Start Date: 02/12/20                End Date: 07/14/20 (ordered for 730 doses)
               Discontinued by: Atassi, Farah on 7/14/2020 13:38

               Written Date: 02/12/20              Expiration Date: 02/11/21
               Original Order: apixaban (ELIQUIS) 2.5 mg tablet [9125746]

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                                              HMH SCURLOCK                        Brockman, Robert T
                                              6560 Fannin                         MRN: 003768603, DOB:          1941, Sex: M
                                              HOUSTON TX 77030                    Visit date: 2/12/2020
                  02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

           Providers
              Ordering Provider and Authorizing Provider:
              Lai, Eugene C., MD
              6560 FANNIN ST SUITE 802, HOUSTON TX
              77030
              Phone: 713-441-0239 Fax: 713-790-5044
              NPI: 1790871002

              Ordering User: Lai, Eugene C., MD


           Pharmacy
              Briargrove Pharmacy - Houston, TX - 6435 San Felipe
              6435 San Felipe, Houston TX 77057
              Phone: 713-783-5704 Fax: 713-783-5482


         Pharmacist Clinical Review History
            This prescription has not been clinically reviewed.


      rivastigmine (EXELON) 9.5 mg/24 hr [320668814] (Discontinued)
       Electronically signed by: Lai, Eugene C., MD on 02/12/20 0904                                              Status: Discontinued
       Ordering user: Lai, Eugene C., MD 02/12/20 0904                 Ordering provider: Lai, Eugene C., MD
       Authorized by: Lai, Eugene C., MD                               Ordering mode: Standard
       Frequency: Routine Daily 02/12/20 - 365 days                    Class: Normal
       Discontinued by: Lai, Eugene C., MD 06/12/20 1626
       Reordered from: rivastigmine (EXELON) 9.5 mg/24 hr
                                                                  Order Details

          Order Details
             Priority                                    Expected                              Study Status
             Routine                                     2/13/2020 9:00 AM

          Order Details
             Frequency                        Duration                       Priority                      Order Class
             daily                            365 days                       Routine                       Normal

          Order History                                                                                                     Outpatient
             Date/Time          Action Taken              User                          Additional Information
             02/12/20 0904      Sign                      Lai, Eugene C., MD            Reorder from Order: 9125750
             02/12/20 0904      Taking Flag Checked       Lai, Eugene C., MD
             06/12/20 1558      Reorder                   Lai, Eugene C., MD            To Order: 335306861
             06/12/20 1626      Discontinue               Lai, Eugene C., MD

          rivastigmine (EXELON) 9.5 mg/24 hr [320668814] DISCONTINUED
             Dose: 1 patch                           Route: transdermal                 Frequency: daily
             Dispense Quantity: 90 patch             Refills: 3

             Sig: Place 1 patch on the skin daily.

             Start Date: 02/12/20               End Date: 06/12/20 (ordered for 365 doses)
             Discontinued by: Lai, Eugene C., MD on 6/12/2020 16:26

             Written Date: 02/12/20              Expiration Date: 02/11/21
             Original Order: rivastigmine (EXELON) 9.5 mg/24 hr [9125750]
             Providers

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                                                HMH SCURLOCK                     Brockman, Robert T
                                                6560 Fannin                      MRN: 003768603, DOB:            941, Sex: M
                                                HOUSTON TX 77030                 Visit date: 2/12/2020
                    02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Other Orders (continued)

                Ordering Provider and Authorizing Provider:
                 Lai, Eugene C., MD
                 6560 FANNIN ST SUITE 802, HOUSTON TX
                77030
                 Phone: 713-441-0239 Fax: 713-790-5044
                 NPI: 1790871002

                Ordering User: Lai, Eugene C., MD


             Pharmacy
                 Briargrove Pharmacy - Houston, TX - 6435 San Felipe
                 6435 San Felipe, Houston TX 77057
                 Phone: 713-783-5704 Fax: 713-783-5482


          Pharmacist Clinical Review History
              This prescription has not been clinically reviewed.




                            02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                       All Parent Orders


                                                         Medications - All Orders
apixaban (ELIQUIS) 2.5 mg tablet [320668813]
 Electronically signed by: Lai, Eugene C., MD on 02/12/20 0904                                                      Status: Discontinued
 Ordering user: Lai, Eugene C., MD 02/12/20 0904                       Ordering provider: Lai, Eugene C., MD
 Authorized by: Lai, Eugene C., MD                                     Ordering mode: Standard
 Frequency: Routine BID 02/12/20 - 365 days                            Class: Normal
 Discontinued by: Atassi, Farah 07/14/20 1338
 Reordered from: apixaban (ELIQUIS) 2.5 mg tablet [9125746]

rivastigmine (EXELON) 9.5 mg/24 hr [320668814]
 Electronically signed by: Lai, Eugene C., MD on 02/12/20 0904                                                      Status: Discontinued
 Ordering user: Lai, Eugene C., MD 02/12/20 0904                       Ordering provider: Lai, Eugene C., MD
 Authorized by: Lai, Eugene C., MD                                     Ordering mode: Standard
 Frequency: Routine Daily 02/12/20 - 365 days                          Class: Normal
 Discontinued by: Lai, Eugene C., MD 06/12/20 1626
 Reordered from: rivastigmine (EXELON) 9.5 mg/24 hr [9125750]


                    02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Vitals
                                                                                          Most recent update: 2/12/2020 8:21 AM by Riley,
   Vital Signs - Last Recorded                                                                                               Lillian R, MA
         BP                    Pulse                 Ht                       Wt                                      BMI
         129/80 (BP            75                    6' 0.5"                  87.5 kg (193 lb)                        25.82 kg/m²
         Location: Left
         arm, Patient
         Position:
         Standing)


Flowsheets

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           Ex. 157, p. 17 of 24
                                                HMH SCURLOCK               Brockman, Robert T
                                                6560 Fannin                MRN: 003768603, DOB:    941, Sex: M
                                                HOUSTON TX 77030           Visit date: 2/12/2020
                  02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Flowsheets (continued)

      Custom Formula Data
         Row Name            02/12/20 0820          02/12/20 0817
         Adult IBW/VT Calculations
          IBW/kg             —                      78.75
          (Calculated)                              -LR at 02/12/20 0818
          Low Range Vt       —                      472.5 mL/kg
          6mL/kg                                    -LR at 02/12/20 0818
          Adult Moderate     —                      630 mL/kg
          Range Vt 8mL/kg                           -LR at 02/12/20 0818
          Adult High Range —                        787.5 mL/kg
          Vt 10mL/kg                                -LR at 02/12/20 0818
          IBW/kg             —                      173.61
          (Calculated) (lbs)                        -LR at 02/12/20 0818

         OTHER
          BMI (Calculated)   —                      25.8
                                                    -LR at 02/12/20 0818
         IBW/kg              —                      78.75 kg
         (Calculated) Male                          -LR at 02/12/20 0818
         IBW/kg              —                      74.25 kg
         (Calculated)                               -LR at 02/12/20 0818
         Female
         BMI                 —                      25.8
                                                    -LR at 02/12/20 0818
         Total Weight        —                      193
         Change                                     -LR at 02/12/20 0818
         Total Weight        —                      +193
         Change                                     -LR at 02/12/20 0818
         Weight Change       —                      4
         Since Last Visit                           -LR at 02/12/20 0818
         Weight Change       —                      +4
         Since Last Visit                           -LR at 02/12/20 0818
         Internal Initial    —                      0
         Weight -                                   -LR at 02/12/20 0818
         Reference Only
         Fluid Needs         —                      63260
                                                    -LR at 02/12/20 0818
         BSA (Calculated     —                      2.11 sq meters
         - sq m)                                    -LR at 02/12/20 0818
         MAP (Calculated)    96.33                  88.67
                             -LR at 02/12/20 0821   -LR at 02/12/20 0819
         Body Composition Analysis
          BMI               —                       25.8
                                                    -LR at 02/12/20 0818
         Dietitian Vitals
          BMI (Calculated)   —                      25.8
                                                    -LR at 02/12/20 0818
         IBW/kg              —                      78.75
         (Calculated)                               -LR at 02/12/20 0818
         IBW/kg              —                      74.25 kg
         (Calculated)                               -LR at 02/12/20 0818
         Female
         IBW/kg              —                      78.75
         (Calculated)                               -LR at 02/12/20 0818
         Males
         Fluid Needs
          Total Fluid        —                      63260
          Estimated Needs                           -LR at 02/12/20 0818




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         Ex. 157, p. 18 of 24
                                                 HMH SCURLOCK                    Brockman, Robert T
                                                 6560 Fannin                     MRN: 003768603, DOB:           1941, Sex: M
                                                 HOUSTON TX 77030                Visit date: 2/12/2020
                     02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Flowsheets (continued)

       Data
          Row Name            02/12/20 0820           02/12/20 0817
         OTHER
          Change in SBP       -3                      132
                              -LR at 02/12/20 0821    -LR at 02/12/20 0819



       Encounter Vitals
          Row Name            02/12/20 0820           02/12/20 0817
         Enc Vitals
          BP                  129/80                  132/67
                              -LR at 02/12/20 0821    -LR at 02/12/20 0819
          Pulse               75                      78
                              -LR at 02/12/20 0821    -LR at 02/12/20 0819
          Weight              —                       87.5 kg (193 lb)
                                                      -LR at 02/12/20 0818
          Height              —                       6' 0.5"
                                                      -LR at 02/12/20 0818
         Vital Signs
          BP Location         Left arm                Left arm
                              -LR at 02/12/20 0821    -LR at 02/12/20 0819
          Patient Position    Standing                Sitting
                              -LR at 02/12/20 0821    -LR at 02/12/20 0819



       Social Determinants
          Row Name            02/12/20 08:18:38
         Alcohol Use
          How often do you     Never Data migrated
          have a drink        from History
                               -LR at 05/18/21 1428
          containing
          alcohol?


       Vital Signs
          Row Name            02/12/20 0913
         OTHER
          Stimulants          000
                              -DH at 02/12/20 0813
          Sedatives           160
                              -DH at 02/12/20 0813
          Narcotics           080
                              -DH at 02/12/20 0813

       User Key                                                                      (r) = Recorded By, (t) = Taken By, (c) = Cosigned By
          Initials      Name                               Effective Dates            Provider Type            Discipline
          DH            Hm Interface, Documentation        —                          —                        —
                        Incoming
          LR            Riley, Lillian R, MA               01/08/20 - 05/17/20        Medical Assistant        —



Patient Instructions


Will benefit from physical and occupational therapies at TIRR Memorial city.
Continue present medications.
Keep physically and mentally active. Exercise regularly.
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                                             HMH SCURLOCK                        Brockman, Robert T
                                             6560 Fannin                         MRN: 003768603, DOB:    1941, Sex: M
                                             HOUSTON TX 77030                    Visit date: 2/12/2020
                  02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Patient Instructions (continued)




                          02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                    Patient Instuctions
Patient Instructions History
   Patient Instructions Revisions                                       Status      Date&Time            By User
   Will benefit from physical and occupational therapies at TIRR        Addendum    02/21/2020 7:29 PM   LAI, EUGENE
   Memorial city. Continue present medications. Keep physically and
   mentally active. Exercise regularly.
   Will benefit from physical and occupational therapies at YIRR        Addendum    02/12/2020 9:08 AM   LAI, EUGENE
   Memorial city. Continue present medications. Keep physically and
   mentally active. Exercise regularly.
   Continue present medications. Keep physically and mentally active.   Signed      02/12/2020 8:33 AM   LAI, EUGENE
   Exercise regularly.




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          Ex. 157, p. 20 of 24
                                         HMH SCURLOCK            Brockman, Robert T
                                         6560 Fannin             MRN: 003768603, DOB:     1941, Sex: M
                                         HOUSTON TX 77030        Visit date: 2/12/2020

                 02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary




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         Ex. 157, p. 21 of 24
                                         HMH SCURLOCK            Brockman, Robert T
                                         6560 Fannin             MRN: 003768603, DOB:     1941, Sex: M
                                         HOUSTON TX 77030        Visit date: 2/12/2020
                 02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary (continued)




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         Ex. 157, p. 22 of 24
                                         HMH SCURLOCK              Brockman, Robert T
                                         6560 Fannin               MRN: 003768603, DOB:        941, Sex: M
                                         HOUSTON TX 77030          Visit date: 2/12/2020
                 02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary (continued)




                         02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                  Diagnosis Summary

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                                                HMH SCURLOCK                        Brockman, Robert T
                                                6560 Fannin                         MRN: 003768603, DOB:             1941, Sex: M
                                                HOUSTON TX 77030                    Visit date: 2/12/2020
                            02/12/2020 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                              Diagnosis Summary (continued)
Visit Information
   Date & Time                         Provider                           Department                          Encounter #
   2/12/2020 8:00 AM                   Lai, Eugene C., MD                 HMNI Stanley H Appel Dept of        2100073526625
                                                                          Neurology

Coding Summary for this Encounter
   Code             Description                                            Service Date          Service Provider                    Qty
   99214            PR OFFICE OUTPATIENT VISIT 25 MINUTES                  2/12/2020             Lai, Eugene C., MD                  1
                     Dx: Parkinson's disease [G20], Mild cognitive impairment, so stated [G31.84], Other specified anxiety disorders [F41.8],
                     Hereditary and idiopathic neuropathy, unspecified [G60.9]




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Gov. Ex. 158
                                                 HMH SCURLOCK                     Brockman, Robert T
                                                 6560 Fannin                      MRN: 003768603, DOB:          1941, Sex: M
                                                 HOUSTON TX 77030                 Visit date: 2/2/2021

                             02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology
Visit Information
   Provider Information
       Encounter Provider                            Authorizing Provider                       Referring Provider
       Lai, Eugene C., MD                            Lai, Eugene C., MD                         Pool, James L., MD

   Department
       Name                                      Address                              Phone                     Fax
       HMNI Stanley H Appel Dept of              6560 Fannin Street Suite 802         713-441-3780              713-790-5079
       Neurology                                 Houston TX 77030-2725

   Follow-up and Dispositions
      ·    Return in about 4 months (around 6/2/2021) for Next scheduled follow up.


   Level of Service
       Level of Service
       PR OFFICE/OUTPATIENT ESTABLISHED MOD MDM 30-39 MIN



Research Study Linked to Office Visit on 2/2/2021
   No research study is linked to this encounter.

Patient as-of Visit
   Problem List as of 2/2/2021
      Problems last reviewed by Lai, Eugene C., MD on 2/2/2021 1008

       Dementia associated with Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1503]
          Diagnosis: Dementia associated with        Noted on: 01/08/2020                       Chronic: No
          Parkinson's disease (HCC)

       Idiopathic peripheral neuropathy [last edited by Lai, Eugene C., MD on 2/21/2020 2038]
          Diagnosis: Idiopathic peripheral           Noted on: 02/21/2020                       Chronic: No
          neuropathy

       Mixed anxiety depressive disorder [last edited by Lai, Eugene C., MD on 2/21/2020 2037]
          Diagnosis: Mixed anxiety depressive        Noted on: 02/21/2020                       Chronic: No
          disorder

       Parkinson's disease (HCC) [last edited by Lai, Eugene C., MD on 1/8/2020 1452]
          Diagnosis: Parkinson's disease (HCC)       Noted on: 01/08/2020                       Chronic: No


   Allergies as of 2/2/2021
      Allergies last reviewed by Lai, Eugene C., MD on 2/2/2021 1008
      No Known Allergies


   History as of 2/2/2021
       Medical History as of 2/2/2021
                 Medical last reviewed by Lai, Eugene C., MD on 2/2/2021                                         GOVERNMENT
                 None                                                                                              EXHIBIT

                                                                                                                4:21-CR-009-GCH
                                                                                                                     No. 158
       Surgical History as of 2/2/2021


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            Ex. 158, p. 1 of 14
                                               HMH SCURLOCK                      Brockman, Robert T
                                               6560 Fannin                       MRN: 003768603, DOB:         1941, Sex: M
                                               HOUSTON TX 77030                  Visit date: 2/2/2021
                   02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Patient as-of Visit (continued)

               Surgical last reviewed by Lai, Eugene C., MD on 2/2/2021
               None


       Family History as of 2/2/2021
           Family History as of 2/2/2021



       Substance & Sexuality History as of 2/2/2021
           Tobacco Use as of 2/2/2021
                   Tobacco Use last reviewed by Lai, Eugene C., MD on 2/2/2021

               Smoking Status                        Smoking Start Date    Smoking Quit Date       Packs/Day           Years Used
               Never Smoker                          —                     —                       —                   —
                                                                                                   Smokeless
                                                                           Smokeless Tobacco       Tobacco Quit
               Types                                 Comments              Status                  Date                Source
               —                                     —                     Never Used              —                   Provider


           Alcohol Use as of 2/2/2021
                   Alcohol Use last reviewed by Pena, Flor, MA on 2/2/2021

               Alcohol Use                  Drinks/Week             Alcohol/Week               Comments                   Source
               Never                                                —                          —                          Provider


           Drug Use as of 2/2/2021
                   Drug Use last reviewed by Pena, Flor, MA on 2/2/2021

               Drug Use                     Types                   Frequency                  Comments                   Source
               Never                        —                       —                          —                          Provider


           Sexual Activity as of 2/2/2021
                   Sexual Activity last reviewed by Pena, Flor, MA on 2/2/2021

               Sexually Active              Birth Control           Partners                   Comments                   Source
               Defer                        —                       —                          —                          Provider



       Socioeconomic History as of 2/2/2021
           Socioeconomic as of 2/2/2021
              Marital       Spouse          Number of   Years       Education    Preferred
              Status        Name            Children    Education   Level        Language    Ethnicity     Race          Source
              Married       —               —           —           —            English     Not           Caucasian     —
                                                                                             Hispanic or
                                                                                             Latino




Medication List
   Medication List
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          Ex. 158, p. 2 of 14
                                                HMH SCURLOCK                       Brockman, Robert T
                                                6560 Fannin                        MRN: 003768603, DOB:            1941, Sex: M
                                                HOUSTON TX 77030                   Visit date: 2/2/2021
                   02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

     This report is for documentation purposes only. The patient should not follow medication instructions within.
     For accurate instructions regarding medications, the patient should instead consult their physician or after visit summary.

       Active at the End of Visit
         Medications last reviewed by Lai, Eugene C., MD on 2/2/2021 1008

          buPROPion SR (WELLBUTRIN SR) 100 MG 12 hr tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 100 mg by mouth 3 (three) times a day. 2 tablets every morning, 1 tablet every evening
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Start date: 10/9/2019                                            Informant: Family Member

          levothyroxine (SYNTHROID) 75 mcg tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 75 mcg by mouth every morning.
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Start date: 10/9/2019                                            Informant: Family Member

          testosterone (ANDROGEL) 20.25 mg/1.25 gram (1.62 %) gel in metered-dose pump [reconciled by Riley, Lillian R, MA on
          1/8/2020 1311]
           Instructions: Place 1 Squirt on the skin daily.
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Informant: Family Member

          traZODone (DESYREL) 50 MG tablet [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 50 mg by mouth nightly.
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Start date: 3/13/2019                                            Informant: Family Member

          omega 3-dha-epa-fish oil (FISH OIL) 100-160-1,000 mg capsule [reconciled by Riley, Lillian R, MA on 1/8/2020 1311]
           Instructions: Take 1 capsule by mouth daily.
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Informant: Family Member

          levomefolate calcium (L-METHYLFOLATE ORAL) [reconciled by Riley, Lillian R, MA on 1/8/2020 1314]
           Instructions: Take 1 tablet by mouth daily.
           Entered by: Riley, Lillian R, MA                                 Entered on: 1/8/2020
           Start date: 10/1/2019                                            End date: 6/1/2021
           Informant: Family Member

          Exelon 9.5 mg/24 hr
           Instructions: Place 1 patch on the skin daily.
           Authorized by: Lai, Eugene C., MD                                Ordered on: 6/12/2020
           Start date: 6/12/2020                                            End date: 3/15/2021
           Quantity: 90 patch                                               Refill: 1 refill by 6/12/2021

          Eliquis 2.5 mg tablet
           Instructions: TAKE ONE tablet (2 1/2 mg total) by mouth TWO (two) times A day.
           Authorized by: Lai, Eugene C., MD                              Ordered on: 11/11/2020
           Start date: 11/11/2020                                         End date: 2/9/2021
           Quantity: 180 tablet                                           Refill: No refills remaining

          carbidopa-levodopa (SINEMET) 25-100 mg per tablet
           Instructions: TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
           Authorized by: Lai, Eugene C., MD                     Ordered on: 11/11/2020
           Start date: 11/11/2020                                End date: 3/15/2021
           Quantity: 540 tablet                                  Refill: 3 refills by 11/11/2021

          clonAZEPAM (KlonoPIN) 0.5 MG tablet

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         Ex. 158, p. 3 of 14
                                              HMH SCURLOCK                      Brockman, Robert T
                                              6560 Fannin                       MRN: 003768603, DOB:            1941, Sex: M
                                              HOUSTON TX 77030                  Visit date: 2/2/2021
                  02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Medication List (continued)

         Instructions: TAKE ONE TABLET BY MOUTH EVERY EVENING AT BEDTIME
         Authorized by: Lai, Eugene C., MD                   Ordered on: 12/22/2020
         Start date: 12/22/2020                              End date: 2/20/2021
         Quantity: 30 tablet                                 Refill: 1 refill by 6/20/2021

         rosuvastatin (CRESTOR) 5 mg tablet [reconciled by Pena, Flor, MA on 2/2/2021 0921]
          Instructions: Take 5 mg by mouth daily.
          Entered by: Pena, Flor, MA                                     Entered on: 2/2/2021
          Start date: 11/10/2020                                         Informant: Family Member

         Myrbetriq 50 mg tablet extended release 24 hr [reconciled by Pena, Flor, MA on 2/2/2021 0921]
          Instructions: Take 50 mg by mouth daily.
          Entered by: Pena, Flor, MA                                     Entered on: 2/2/2021
          Start date: 12/14/2020                                         End date: 6/1/2021
          Informant: Family Member


       Stopped in Visit
         None




Progress Notes
   Progress Notes
       Lai, Eugene C., MD at 2/2/2021 0930
          Author: Lai, Eugene C., MD                 Service: —                                 Author Type: Physician
          Filed: 2/3/2021 7:59 AM                    Encounter Date: 2/2/2021                   Creation Time: 2/2/2021 9:28 AM
          Status: Signed                             Editor: Lai, Eugene C., MD (Physician)

NEUROLOGY FOLLOW-UP CLINIC VISIT
Patient is a 79-year-old ambidextrous man with a history of Parkinson's disease, mild cognitive impairment, REM sleep
behavior disorder, ocular migraine, hyperlipidemia, hypothyroidism, atrial fibrillation, bladder cancer, glaucoma,
melanoma, basal cell skin cancer, and depression.

He comes with his wife, Dorothy, for follow-up of his Parkinson's disease. Last visit was on 2/12/2020. He reports
physically stable. He has retired as CEO of his software company but is still under a lot of stress. Sleep is better with
trazodone and clonazepam. Appetite is good. Basic activities of daily living are independent, but slower. Gait and
balance are mildly unsteady but he does not use a cane. He has no recent fall. Moods are stressed and depressed.
His wife needs to help him in organizing his responsibilities and taking care of legal issues. Memory is impaired but
stable. He uses Exelon patch 9.5/24h daily. He does not exercise regularly due to low back pain and also not able to
go to the Houstonian for exercise. He tries to walk a little with his housekeeper every other day. He takes
carbidopa/levodopa 25/100 2 tablets only 2 times a day at 8 am and 8 pm, and he typically forgets his 2 pm dose.

There is no new neurological complaint. He has slowness, stiffness, and gait imbalance. He lacks energy and is
inactive. He denies recent headache, dizziness, weakness, confusion, dysarthria, dysphagia.

MEDICATIONS:                      Sig
• Myrbetriq 50 mg tablet extended Take 50 mg by mouth daily.
  release 24 hr
• rosuvastatin (CRESTOR) 5 mg 5 mg daily.
  tablet
• clonAZEPAM (KlonoPIN) 0.5       TAKE ONE TABLET BY MOUTH EVERY EVENING
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         Ex. 158, p. 4 of 14
                                          HMH SCURLOCK                  Brockman, Robert T
                                          6560 Fannin                   MRN: 003768603, DOB:          941, Sex: M
                                          HOUSTON TX 77030              Visit date: 2/2/2021
                 02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

  MG tablet                      AT BEDTIME
• carbidopa-levodopa (SINEMET) TAKE 2 TABLETS BY MOUTH THREE TIMES DAILY
  25-100 mg per tablet
• Eliquis 2.5 mg tablet          TAKE ONE tablet (2 1/2 mg total) by mouth TWO (two)
                                 times A day.
• Exelon 9.5 mg/24 hr            Place 1 patch on the skin daily.
• buPROPion SR (WELLBUTRIN Take two tablets every morning and one every evening
  SR) 100 MG 12 hr tablet        to control depression
• levomefolate calcium (L-       Take one tablet by mouth daily to lower homocysteine
  METHYLFOLATE ORAL)
• levothyroxine (SYNTHROID) 75 Take one tablet every morning for hypothyroidism
  mcg tablet
• omega 3-dha-epa-fish oil (FISH Take by mouth.
  OIL) 100-160-1,000 mg capsule
• testosterone (ANDROGEL)        Place on the skin.
  20.25 mg/1.25 gram (1.62 %)
  gel in metered-dose pump
• traZODone (DESYREL) 50 MG Take 50 mg by mouth.
  tablet

REVIEW OF SYSTEMS:
Constitutional: Positive for easy fatigue, lack of energy. Weight loss of about 3.5 lbs. since last visit.
Eyes: Positive for visual disturbance due to glaucoma.
ENT: Positive for hearing loss. No nose bleed, sore throat.
Respiratory: Negative for cough and shortness of breath.
Cardiovascular: Negative for chest pain, palpitation, leg swelling.
Gastrointestinal: Positive for mild constipation. No diarrhea, abdominal pain.
Genitourinary: Positive for nocturia, frequency, urgency. No dysuria.
Musculoskeletal: Positive for low back pain. Negative for other joint pain, joint swelling, muscle pain.
Skin: Negative for rash, lesion.
Hematological: Negative for bruising, bleeding, adenopathy.
Allergy/Immunology: Negative for allergy symptoms.
Psychiatric/Behavioral: Positive for anxiety, depression, insomnia. No agitation.
Neurological: See above.

FAMILY/SOCIAL HISTORY: Lives with wife. No cigarettes and rare alcohol. They are in the process of moving to the
River Oaks area closer to their son.

EXAMINATION:
Vitals:
                  02/02/21 0919                                 02/02/21 0922
BP:               122/74                                        133/74
BP Location:      Left arm                                      Left arm
Patient Position: Sitting                                       Standing
Pulse:            84                                            76
Temp:             96.9 °F
Weight:           86 kg (189 lb 9.6 oz)
Height:           5' 11.5"

General: Well developed and well nourished elderly man in no acute distress. He is subdued but pleasant and
cooperative.
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         Ex. 158, p. 5 of 14
                                            HMH SCURLOCK              Brockman, Robert T
                                            6560 Fannin               MRN: 003768603, DOB:         1941, Sex: M
                                            HOUSTON TX 77030          Visit date: 2/2/2021
                 02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

Physical: Head and face are normal. No pain or tenderness to palpation. No edema or rash. Mild hypomimia and
hypophonia.
Neurological: 'On' state
MS: He is alert and attentive. O x person, place, and time. He follows complex verbal commands. Memory is 4/4
immediate -> 0/4 delayed. Comprehension and expression are slower. Insight and judgment are mildly impaired.
MoCA score (1/8/2020) = 20/30.
CN: II-XII symmetrical and adequate except bilateral hearing loss. EOM full and tongue is midline.
Motor: Strength is 5/5 and symmetrical except bilateral hip flexors, 5-/5. No tremor and mild rigidity in limbs.
Sensory: Decreased to vibration in both feet.
Coordination: F->N->F without dysmetria. Rapid alternating movements are slower bilaterally.
Gait: He arises from sitting without assistance. He walks with a slightly wide-based gait. Decreased arm swings and
hesitant in turning without assistance. He can perform heel, toe walking but not tandem walking.

     VISIT DIAGNOSES:                               ICD-10-CM
1.   Parkinson's disease (HCC)                      G20
2.   Mild cognitive impairment                      G31.84
3.   Mixed anxiety depressive disorder              F41.8
4.   Idiopathic peripheral neuropathy               G60.9

IMPRESSION:
Significant for: Clinical findings are consistent with Parkinson's disease with mild cognitive impairment.
He is under a lot of stress trying to still run his company by himself, and his wife is also stressed out.
He has signs of mild cognitive impairment and peripheral neuropathy with gait imbalance.
Neurological and cognitive examinations are without notable change from last visit.
Physical examination is stable.

PLANS:
Patient's neurologic condition and management are discussed with him and his wife at length again.
He needs to take carbidopa/levodopa 25/100 2 tablets 3 times a day at 8:30 am, 1:30 pm and 6:30 pm and on time.
Take about at least 30 minutes before or after meals.
Put Exelon patch 9.5 mg/24h topically every day on shoulders and back and rotate over 14 areas, for cognitive
stabilization. Get instructions from the Internet for "Exelon patch placement'.
Continue trazodone 50 mg and clonazepam 0.5 mg at bedtime for sleep and RBD.
Continue bupropion 100 mg 2 tablets in the morning and 1 tablet at bedtime for mood stabilization.
Continue other present medications.
I will order physical and occupational therapy at home after he moves into his new house.
He should not drive his car for now.
Keep physically and mentally active. Exercise regularly.
Follow up with Dr. James Pool, PCP.
Return to clinic in 4 months.

Total time spent today in evaluation and treatment of patient, including review of previous medical records and
counseling = 32 minutes.

PATIENT EDUCATION:
[ x ] Patient  [ x ] Significant other(s)
Topic:
Disease specific issues [ x ]
Medications [ x ]
Medication Side effects [ x ]
Tests [ x ]
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                                                 HMH SCURLOCK                   Brockman, Robert T
                                                 6560 Fannin                    MRN: 003768603, DOB:            1941, Sex: M
                                                 HOUSTON TX 77030               Visit date: 2/2/2021
                   02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Progress Notes (continued)

Treatment/follow-up plans [ x ]
Consults [ x ]
Surgical plan [ ]
Teaching Method:      Discussion [ x ]      Handouts [ ]
Patient/family Response:      Verbalize understanding and agree(s) with treatment plans [ x ]

Today I spent >50% of visit time on counseling and patient education.




Eugene C. Lai, M.D., Ph.D.
Robert W. Hervey Distinguished Endowed Chair in Parkinson's Disease
Professor of Neurology and Neuroscience
Director, Neurodegenerative Disease Clinic

Stanley H. Appel Department of Neurology
Houston Methodist Neurological Institute &
Weill Cornell Medical School
6560 Fannin, Suite 802
Houston, Texas 77030
TEL. 713-441-0239
FAX. 713-790-5044

          Electronically signed by Lai, Eugene C., MD at 2/3/2021 7:59 AM




                           02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                      All Parent Orders


                                                          Medications - All Orders
rosuvastatin (CRESTOR) 5 mg tablet [335306867] Patient-reported historical medication
 Ordering date: 02/02/21 0921                                         Authorized by: Provider, Historical, MD
 Ordering mode: Standard
 Frequency: Routine Daily 11/10/20 - Until Discontinued               Class: Historical Med

Myrbetriq 50 mg tablet extended release 24 hr [335306868] Patient-reported historical medication
 Ordering date: 02/02/21 0921                                         Authorized by: Provider, Historical, MD
 Ordering mode: Standard
 Frequency: Routine Daily 12/14/20 - 06/01/21                         Class: Historical Med
 Discontinued by: Francia, Loi S 06/01/21 1237


                   02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Vitals




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          Ex. 158, p. 7 of 14
                                                   HMH SCURLOCK                          Brockman, Robert T
                                                   6560 Fannin                           MRN: 003768603, DOB:          1941, Sex: M
                                                   HOUSTON TX 77030                      Visit date: 2/2/2021
                     02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Vitals (continued)

                                                                                             Most recent update: 2/2/2021 9:24 AM by Pena, Flor,
   Vital Signs - Last Recorded                                                                                                              MA
        BP                    Pulse                    Temp                       Ht                      Wt
        133/74 (BP            76                       96.9 °F                    5' 11.5"                86 kg (189 lb 9.6 oz)
        Location: Left
        arm, Patient
        Position:
        Standing)


        BMI
        26.08 kg/m²


Flowsheets
       Custom Formula Data
          Row Name             02/02/21 0922              02/02/21 0919
         Adult IBW/VT Calculations
          IBW/kg             —                             76.45
          (Calculated)                                     -FP at 02/02/21 0919
          Low Range Vt       —                             458.7 mL/kg
          6mL/kg                                           -FP at 02/02/21 0919
          Adult Moderate     —                             611.6 mL/kg
          Range Vt 8mL/kg                                  -FP at 02/02/21 0919
          Adult High Range —                               764.5 mL/kg
          Vt 10mL/kg                                       -FP at 02/02/21 0919
          IBW/kg             —                             168.54
          (Calculated) (lbs)                               -FP at 02/02/21 0919

         OTHER
          BMI (Calculated)      —                          26.08
                                                           -FP at 02/02/21 0919
          IBW/kg                —                          76.45 kg
          (Calculated) Male                                -FP at 02/02/21 0919
          IBW/kg                —                          71.95 kg
          (Calculated)                                     -FP at 02/02/21 0919
          Female
          BMI                   —                          26.08
                                                           -FP at 02/02/21 0919
          Total Weight          —                          189.6
          Change                                           -FP at 02/02/21 0919
          Total Weight          —                          +189.6
          Change                                           -FP at 02/02/21 0919
          Weight Change         —                          -3.4
          Since Last Visit                                 -FP at 02/02/21 0919
          Weight Change         —                          -3.4
          Since Last Visit                                 -FP at 02/02/21 0919
          Internal Initial      —                          0
          Weight -                                         -FP at 02/02/21 0919
          Reference Only
          Fluid Needs           —                          62172
                                                           -FP at 02/02/21 0919
          BSA (Calculated       —                          2.08 sq meters
          - sq m)                                          -FP at 02/02/21 0919
          ED VITALS             2                          3
          FORMULA               -FP at 02/02/21 0924       -FP at 02/02/21 0922
          MAP (Calculated)      93.67                      90
                                -FP at 02/02/21 0924       -FP at 02/02/21 0922
         Body Composition Analysis
          BMI               —                              26.08

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          Ex. 158, p. 8 of 14
                                                HMH SCURLOCK                 Brockman, Robert T
                                                6560 Fannin                  MRN: 003768603, DOB:   1941, Sex: M
                                                HOUSTON TX 77030             Visit date: 2/2/2021
                    02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Flowsheets (continued)
                                                     -FP at 02/02/21 0919
        Dietitian Vitals
         BMI (Calculated)    —                       26.08
                                                     -FP at 02/02/21 0919
         IBW/kg              —                       76.45
         (Calculated)                                -FP at 02/02/21 0919
         IBW/kg              —                       71.95 kg
         (Calculated)                                -FP at 02/02/21 0919
         Female
         IBW/kg              —                       76.45
         (Calculated)                                -FP at 02/02/21 0919
         Males
        Fluid Needs
         Total Fluid         —                       62172
         Estimated Needs                             -FP at 02/02/21 0919

        Relevant Labs and Vitals
         Temp (in Celsius) —                         36.1
                                                     -FP at 02/02/21 0922



      Data
          Row Name           02/02/21 0922           02/02/21 0919
         OTHER
          Change in SBP      11                       122
                             -FP at 02/02/21 0924     -FP at 02/02/21 0922



      Encounter Vitals
          Row Name           02/02/21 0922           02/02/21 0919
         Enc Vitals
          BP                 133/74                   122/74
                             -FP at 02/02/21 0924     -FP at 02/02/21 0922
          Pulse              76                       84
                             -FP at 02/02/21 0924     -FP at 02/02/21 0922
          Temp               —                        96.9 °F
                                                      -FP at 02/02/21 0922
          Weight             —                        86 kg (189 lb 9.6
                                                     oz)
                                                      -FP at 02/02/21 0919
          Height             —                        5' 11.5"
                                                      -FP at 02/02/21 0919
         Vital Signs
          BP Location        Left arm                 Left arm
                             -FP at 02/02/21 0924     -FP at 02/02/21 0922
          Patient Position   Standing                 Sitting
                             -FP at 02/02/21 0924     -FP at 02/02/21 0922



      Social Determinants
          Row Name           02/02/21 09:19:45
         Alcohol Use
          How often do you    Never Data migrated
          have a drink       from History
                              -FP at 05/18/21 1428
          containing
          alcohol?


      Vital Signs
          Row Name           02/02/21 1019
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         Ex. 158, p. 9 of 14
                                                      HMH SCURLOCK                Brockman, Robert T
                                                      6560 Fannin                 MRN: 003768603, DOB:           1941, Sex: M
                                                      HOUSTON TX 77030            Visit date: 2/2/2021
                     02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
Flowsheets (continued)


        OTHER
         Stimulants            000
                               -DH at 02/02/21 0919
         Sedatives             220
                               -DH at 02/02/21 0919
         Narcotics             100
                               -DH at 02/02/21 0919

       User Key                                                                       (r) = Recorded By, (t) = Taken By, (c) = Cosigned By
          Initials      Name                                Effective Dates            Provider Type             Discipline
          FP            Pena, Flor, MA                      11/21/20 - 03/15/21        Medical Assistant         —
          DH            Hm Interface, Documentation         —                          —                         —
                        Incoming



Patient Instructions


Continue carbidopa/levodopa 25/100 2 tablets at 8:30 am, 1:30 pm and 6:30 pm. Take about at least
30 minutes before or after meals.
Put Exelon patch 9.5/24h topically every day on shoulders and back. Get picture from the Internet
for "Exelon patch placement'.
Will order physical therapy after you moved to your new house.
No driving for now.
Continue other present medications.
Keep physically and mentally active. Exercise regularly.




                           02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                     Patient Instuctions
Patient Instructions History
   Patient Instructions Revisions                                       Status       Date&Time                   By User
   Continue carbidopa/levodopa 25/100 2 tablets at 8:30 am, 1:30 pm     Addendum     02/02/2021 10:06 AM         LAI, EUGENE
   and 6:30 pm. Take about at least 30 minutes before or after meals.
   Put Exelon patch 9.5/24h topically every day on shoulders and back.
   Get picture from the Internet for "Exelon patch placement'. Will
   order physical therapy after you moved to your new house. No
   driving for now. Continue other present medications. Keep physically
   and mentally active. Exercise regularly.
   Continue carbidopa/levodopa 25/100 2 tablets at 8:30 am, 1:30 pm     Signed       02/02/2021 10:05 AM         LAI, EUGENE
   and 6:30 pm. Take about at least 30 minutes before or after meals.
   Put Exelon patch 9.5/24h topically every day on shoulders and back.
   Get picture from the Internet for "Exelon patch placement'. Will
   order physical therapy after you moved to your new house. Continue
   other present medications. Keep physically and mentally active.
   Exercise regularly.




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                                         HMH SCURLOCK            Brockman, Robert T
                                         6560 Fannin             MRN: 003768603, DOB:     1941, Sex: M
                                         HOUSTON TX 77030        Visit date: 2/2/2021

                 02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary




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                                         HMH SCURLOCK            Brockman, Robert T
                                         6560 Fannin             MRN: 003768603, DOB:     1941, Sex: M
                                         HOUSTON TX 77030        Visit date: 2/2/2021
                 02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary (continued)




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                                         HMH SCURLOCK              Brockman, Robert T
                                         6560 Fannin               MRN: 003768603, DOB:        941, Sex: M
                                         HOUSTON TX 77030          Visit date: 2/2/2021
                 02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology (continued)
After Visit Summary (continued)




                         02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                                  Diagnosis Summary

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         Ex. 158, p. 13 of 14
                                                HMH SCURLOCK                        Brockman, Robert T
                                                6560 Fannin                         MRN: 003768603, DOB:             1941, Sex: M
                                                HOUSTON TX 77030                    Visit date: 2/2/2021
                            02/02/2021 - Office Visit in HMNI Stanley H Appel Dept of Neurology
                                              Diagnosis Summary (continued)
Visit Information
   Date & Time                         Provider                           Department                          Encounter #
   2/2/2021 9:30 AM                    Lai, Eugene C., MD                 HMNI Stanley H Appel Dept of        2100089907549
                                                                          Neurology

Coding Summary for this Encounter
   Code             Description                                            Service Date          Service Provider                    Qty
   99214            PR OFFICE/OUTPATIENT ESTABLISHED MOD                   2/2/2021              Lai, Eugene C., MD                  1
                    MDM 30-39 MIN
                     Dx: Parkinson's disease [G20], Mild cognitive impairment, so stated [G31.84], Other specified anxiety disorders [F41.8],
                     Hereditary and idiopathic neuropathy, unspecified [G60.9]




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           Ex. 158, p. 14 of 14
Gov. Ex. 159
  Message

  F『   om        Bob Brockman tbob̲brOckman@revrey,com〕
  Sent:          1/20/20191242:27AM
                 iStuart Yudofsky:Istuart.vudofsky@gmail・
  To:                                                       coml


  Stuart,


  The meeting today went exce‖ entty― in spite ofsome unfortunate news. My beliefis that when the whole truth comes
  out,thatissue may look somewhat differently.

  On another subiect,中


  Looking thru sohe more ofthe symptoms on Googie l have these as we‖        ...




  ‐
  bad posture caused by sunken chest

  ‐
  overa‖ lack ofstamina and strength


  ‐
  majorioss of balance― I couldn't stand up on the foredeck of a ftats boat

  ―
  skin conditions― dryness,scaly skin,pretty much a‖        over

  ―
  swa‖ owing has changed一 iots more saliva′ tendency to partially choke a little on food happening more often

  ‐
  depression

  ―
  ED― starting about a vear ago

  ―
  close to the edge on incontinence― requires thoughtfui planning of opportunities for urination―      which is sometirγ les
  every hour

  ―
  reduced confidence in my ability to deat with rush hour traffic
                                                                                                                     GOVERNMENT
  ‐
  reduced memory ability                                                                                               EXHIBIT

                                                                                                                 4:21-CR-009-GCH
  ―
  reduced organizational abititv                                                                                      No. 159


  CONCLUSiON

  Please direct me to the right doctor as soon as possibie. ianl tied up on Tuesday. Friday t am in San Francisco―      cOnlingI
  home on Sunday evening.

  lam homethe whole week of1/28.

  Thanks for your help.


  Bob


                                                                                                             COVERNMENT
                                                                                                                     EXHIBIT
                                                                                                                          1
                                                                                                                     '」


CONFIDENTIAL TREATMENT REQUESTED BY                                                                                  UCSH 0221872
UNIVERSAL COMPUTER SYSTEMS HOLDING,INC.


Ex. 159, p. 1 of 1
Gov. Ex. 160
         Interview with Frank Gutierrez by Marc Agronin,MD on October3,2021

         Frank Gutierrez is a personal aide to Robert Brockman,Hc has worked、 Alith Mr.Brockman for
         the past year ptus and has seen hirYl SIOヽ ly but stead‖ y dec‖ ne physica‖ y and menta‖ y.Mr,
                                                  Aサ



         Brockman has nceded significant assistance、 lvith daity functioning over the past year,and it has
         worsened sincc the most recerit serics of hospitalizations,Mr.Brockman had a recurrent
         urinary tract infection 2‑3 weeks ago in hospital.Priorto the hospitat he seemed different,not
         coherent,vveak,not alert,fever 99‑100 and then 102.3,He had a giazed iook,not eating.
         Since conling homei Sieep,varies but OKo Appetite:Not great since hospital――onty 10‐ 200/O but
         irnproving.There is a lot of confusion vvith needing reminding and cucing.Does not make PB
        sandvvich as he stated but with supervision.He recently fe‖ in the bathroom and had a m‖ d
        head bump,and redness on his shoulder and no swe‖ ing,There is some mild agitation every
        once in a vvh‖ e when he wants tO do something and will pack a briefcase and try to go out asif
        he has meetingo Frank and Dorothy hen hc has to te‖     hinl he is at home and not working atthe
        office‐   ‐and he gets angry.


        Current medications:

        MORNING:
        AZO cranberrv urinary tract health l capsule in AM
        Exelon patch 9.5 mg
        Miralax capful
        Carbidopa― levodopa 25‑100 2 tablets
        Bupropion SR 200 rng                                                                           GOVERNMENT
        Synthroid 75 mcg                                                                                 EXHIBIT

        Eliquis 2.5 rYlg                                                                              4:21-CR-009-GCH
        Stool softener 240 rng softgel                                                                     No. 160

        Vit D3 20001U 2 p‖    Is

        Acidophilus softge1 l pill


        N00N:
        Carbidopa‐ levodopa 25‑100 2 tablets
        Cephalexin 250 rYlg


        4 prni Carbidopa‐ levodopa 25‐ 100 2 tablets


        N:GHT:
        Trazodone 50 mg
        BupropiOn SR 100
        Eliquis 2.5 mg
        Rosuvastatin 5 mg
        QuCtiapine 25 mg



                                                                                                COVERNMENT
                                                                                                     EXHIBIT
                                                                                                     ,あ   0
CONFIDENTIAL                                                                                    Brockman 0002176

 Ex. 160, p. 1 of 1
